EXHIBIT A
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15
                Attorneys for Defendant
16
17                                   UNITED STATES DISTRICT COURT
18                                 SOUTHERN DISTRICT OF CALIFORNIA
19
   SHEILA DASHNAW, WILLIAM                           Case No. 3:17-cv-00159-L-JLB
20 MEIER, and SHERRYL JONES,
   individually, and on behalf of all others
21
   similarly situated,                               SETTLEMENT AGREEMENT
22
                     Plaintiffs,                     Magistrate Judge: Hon. Jill L. Burkhardt
23
24                   v.                              Judge: Hon. M. James Lorenz
25
   NEW BALANCE ATHLETICS, INC.,
26 a corporation; and DOES 1 through 50,
   inclusive,
27
28                   Defendants.

     CcSTIPUC




      SETTLEMENT AGREEMENT                                               CASE NO. 17-CV-00159-L-JLB
 1         IT IS HEREBY STIPULATED AND AGREED, by, between and among
 2 Plaintiffs Sheila Dashnaw, William Meier, and Sherryl Jones (“Plaintiffs”), and
 3 Defendant New Balance Athletics, Inc. (“New Balance”), with all terms as defined
 4 below, through their duly-authorized counsel, that the above-captioned action, Sheila
 5 Dashnaw, et al. v. New Balance Athletics, Inc., Case Number 17-CV-00159-L-JLB
 6 (S.D. Cal.), and the matters raised therein, are settled, compromised, and dismissed
 7 on the merits with prejudice, on the terms and conditions set forth in this Settlement
 8 Agreement and the release set forth herein, subject to the approval of the Court.
 9    I.   INTRODUCTION
10            A. There is a purported class action pending in the United States District
11 Court for the Southern District of California against New Balance alleging that New
12 Balance engaged in untrue and deceptive advertising with respect to certain shoes that
13 New Balance labels as “Made in USA.” This action is Sheila Dashnaw, et al. v. New
14 Balance Athletics, Inc., Case Number 17-CV-00159-L-JLB (S.D. Cal.) (the
15 “Action”). The Amended Complaint filed in this action (ECF No. 16) alleges that
16 New Balance’s practice of labeling certain of its shoes “Made in USA” constitutes
17 false and deceptive advertising, unfair trade practices, a violation of California’s
18 “Made in the USA” statute, breach of express warranty, and negligent
19 misrepresentation.
20            B. Plaintiffs filed a Complaint in California state court on December 27,
21 2016 and New Balance removed the action to the United States District Court for the
22 Southern District of California on January 26, 2017. Plaintiffs brought this Complaint
23 on behalf of a purported class of California purchasers of New Balance shoes
24 identified as “Made in USA” alleging claims against New Balance under California’s
25 False Advertising Law (“FAL”) (Cal. Bus. & Prof. Code § 17500, et seq.),
26 California’s Consumer Legal Remedies Act (“CLRA”) (Cal. Civ. Code § 1750, et
27 seq.), Cal. Bus. & Prof. Code § 17533.7, California’s Unfair Competition law
28 (“UCL”) (Cal. Bus. & Prof. Code § 17204), and for breach of express warranty,
                                              -1-
     SETTLEMENT AGREEMENT                                           CASE NO. 17-CV-00159-L-JLB
 1 negligent misrepresentation, and unjust enrichment.         Plaintiffs sought damages
 2 including individual restitution, restitutionary disgorgement, economic, monetary,
 3 actual, consequential, and compensatory damages, declaratory and injunctive relief,
 4 reasonable attorneys’ fees and costs, statutory pre- and post-judgment interest, and
 5 any other relief that the Court may deem just and proper.
 6            C. Plaintiffs filed the Action “on behalf of themselves and all others
 7 similarly situated” and defined the Class to include: “All persons located within the
 8 State of California who purchased any New Balance shoe model labeled or advertised
 9 as made in the United States at any time beginning four (4) years prior to the filing of
10 this action on December 27, 2016 and ending at the time this action settles or proceeds
11 to final judgment.” See ECF No. 16.
12            D. New Balance filed an Answer to both the Complaint and Plaintiffs’
13 Amended Complaint. See ECF Nos. 12, 25. In each of its Answers, New Balance
14 expressly denied and continues to deny any and all wrongdoing alleged in this action,
15 and neither admits nor concedes any actual or potential fault, wrongdoing, or liability
16 in connection with any facts or claims that have been or could have been alleged
17 against it in these actions.
18            E. Class Counsel (also referred to as “Plaintiffs’ Counsel”) have conducted
19 an extensive and thorough examination, investigation, and evaluation of the relevant
20 law, facts and allegations to assess the merits of the claims and potential claims to
21 determine the strength of both defenses and liability sought in the Action.
22            F. New Balance produced to Plaintiffs, through Class Counsel, extensive
23 discovery. Plaintiffs and Class Counsel have thoroughly reviewed the documents. In
24 particular, New Balance produced voluminous documentation to Class Counsel
25 regarding the “Made in USA” Shoes in the following categories: (i) sales and
26 accounting records; (ii) images of products, packaging, labels, and New Balance’s
27 website; (iii) advertisements, marketing, media, and public relations; (iv)
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                                              -2-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1 manufacturing specifications; and (v) consumer helpdesk communications. In total,
 2 New Balance produced over 15,000 pages of documents.
 3            G. On February 21, 2018, the Parties participated in a mediation with Eric
 4 Green in Boston, Massachusetts. Notwithstanding their disagreements, at the
 5 mediation the Parties reached an agreement in principle for the settlement of this
 6 matter, subject to obtaining the necessary approval from the Court.
 7            H. Based upon their review, investigation, and evaluation of the facts and
 8 law relating to the matters alleged in the pleadings, Plaintiffs and Class Counsel, on
 9 behalf of the other members of the proposed Class, have agreed to settle the Action
10 pursuant to the provisions of this Agreement, after considering, among other things:
11 (1) the substantial benefits to Plaintiffs and the other Class Members under the terms
12 of this Agreement; (2) the risks, costs and uncertainty of protracted litigation,
13 especially in complex actions such as this, as well as the difficulties and delays
14 inherent in such litigation; and (3) the desirability of consummating this Agreement
15 promptly in order to provide effective relief to Plaintiffs and the other Class Members.
16            I. New Balance expressly denies any wrongdoing alleged in the pleadings
17 and does not admit or concede any actual or potential fault, wrongdoing, or liability
18 in connection with any facts or claims that have been or could have been alleged
19 against it in the Action and/or any other actions. Even though New Balance expressly
20 denies any wrongdoing, New Balance considers it desirable for this case to be settled
21 and dismissed, because this Settlement will finally put Plaintiffs’ claims and the
22 underlying matters to rest and will avoid the substantial expense, burdens, and
23 uncertainties associated with the continued litigation of these claims and cases.
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                                               -3-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1   II.   DEFINITIONS
 2            A. As used in this Agreement and the attached exhibits (which are an integral part
 3 of this Agreement and are incorporated in their entirety by reference), the following terms
 4 have the following meanings, unless this Agreement specifically provides otherwise:
 5                   1. “Action” means Sheila Dashnaw, et al. v. New Balance Athletics,
 6 Inc., Case No. 17-CV-00159-L-JLB (S.D. Cal.).
 7                   2. “Agreement” or “Settlement Agreement” means this Settlement
 8 Agreement and the exhibits attached hereto or incorporated herein, including any
 9 subsequent amendments and any exhibits to such amendments.
10                   3. “Authorized Retailers” means retailers who are specifically
11 authorized by New Balance to sell New Balance shoes and who purchase from New
12 Balance at wholesale including, without limitation, New Balance U.S. Retailers, New
13 Balance Stores, shopnewbalance.com, joesnewbalanceoutlet.com, New Balance
14 Outlets and/or other third party retailers.
15                   4. “Attorneys’ Fees and Expenses” means such funds as may be
16 awarded by the Court to Class Counsel from New Balance to compensate all Class
17 Counsel for their fees and expenses in connection with the Actions and the Settlement,
18 as described in Section VIII of this Agreement (below).
19                   5. “Claim” means the claim of a Class Member or his or her
20 representative submitted on a Claim Form as provided in this Agreement.
21                   6. “Claimant” means a Class Member who has submitted a Claim.
22                   7. “Claim Form” means the document, in substantially the same form
23 as Exhibit 1 attached to this Agreement.
24                   8. “Claim Period” means the time period in which Class Members
25 must submit a Claim Form for review to the Class Action Settlement Administrator
26 in order to be timely. The Claim Period shall also be the time period within which
27 persons must submit requests for exclusion or file objections in order to be timely.
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                                                 -4-
     SETTLEMENT AGREEMENT                                                CASE NO. 17-CV-00159-L-JLB
 1 The Claim Period shall run for ninety (90) days from the date of the first dissemination
 2 of the Summary Settlement Notice.
 3                  9. “Claim Process” means that process for submitting Claims
 4 described in this Agreement.
 5                  10. “Class Action Settlement Administrator” means the third-party
 6 agent or administrator agreed to by the Parties and appointed by the Court. The Parties
 7 agree that Heffler Claims Group shall be retained to implement the claims and
 8 Settlement requirements of this Agreement, subject to the Court’s approval.
 9                  11. “Class” means all persons who, during the Class Period,
10 purchased any and all “Made in USA” Shoes from New Balance and/or its Authorized
11 Retailers, in California. Excluded from the Class are: (a) New Balance’s Board
12 members or employees, including its attorneys; (b) any persons who purchased “Made
13 in USA” shoes for purposes of resale; (c) distributors or re-sellers of the “Made in
14 USA” Shoes; (d) the judge and magistrate judge presiding over the Action and their
15 immediate families; (e) governmental entities; and (f) persons or entities who or
16 which timely and properly exclude themselves from the Class as provided in this
17 Agreement.
18                  12. “Class Member” means a member of the Class.
19                  13. “Class Counsel” means: Schneider Wallace Cottrell Konecky
20 Wotkyns LLP and The Wand Law Firm, P.C.
21                  14. “Class Notice” means a notice substantially in the form attached
22 hereto as Exhibit 2.
23                  15. “Class Period” means the period for December 27, 2012 up to the
24 date the Court files a Preliminary Approval Order.
25                  16. “Court” means the United States District Court for the Southern
26 District of California.
27                  17. “Escrow Agent” means Heffler Claims Group.
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                                              -5-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1                    18. “Fairness Hearing” means the hearing at or after which the Court
 2 shall make a final decision whether to approve this Agreement as fair, reasonable, and
 3 adequate. The Parties shall request that the Court schedule the Fairness Hearing for
 4 a date that is at least one hundred and fifty-five (155) days after entry of Preliminary
 5 Approval Order.
 6                    19. “Final Order and Final Judgment” means the Court’s order
 7 approving the Settlement and this Agreement, as described in Section IX.B of this
 8 Agreement, which is to be substantially in the forms attached hereto as Exhibits 3 and
 9 4, respectively.
10                    20. “Final Settlement Date” means the date on which the Final Order
11 and Final Judgment approving this Agreement becomes final. For purposes of this
12 Agreement:
13                          a. If no appeal has been taken from the Final Order and
14     Judgment, “Final Settlement Date” means the date on which the time to appeal
15     therefrom has expired; or
16                          b. If any appeal has been taken from the Final Order and Final
17     Judgment, “Final Settlement Date” means the date on which all appeals therefrom,
18     including petitions for rehearing or reargument, petitions for rehearing en banc,
19     and petitions for certiorari or any other form of review, have been finally disposed
20     of in a manner that affirms the Final Order and Judgment; or
21                          c. If the Parties agree in writing, “Final Settlement Date” can
22     occur on any other agreed date.
23                    21. “‘Made in USA’ Shoes” means New Balance’s shoes that were
24 labeled and marketed as “Made in USA,” and which contained a domestic value of
25 70% or greater, but less than 95%, and were purchased as new by Class Members
26 during the Class Period. These shoes include: 601, M1140, M1290, M1300, M1400,
27 M1540, M1700, M2040, M3040, M498, M574, M585, M587, M770, M990, M991,
28 M995, M996, M997, M9975, M998, MK706, ML1300, ML1978, ML996, ML997,
                                               -6-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 MR1105, MR993, MW812, PM15, PM16, US574, US576, US990, US993, US998,
 2 W1140, W1290, W1400, W1540, W3040, W498, W587, W990, W998, WK706,
 3 WR993, and WW812.
 4                  22. “Notice Administrator” means the Court-appointed third-party
 5 agent or administrator agreed to by the Parties and appointed by the Court. The Parties
 6 agree that Heffler Claims Group shall be retained to implement the notice and related
 7 requirements of this Agreement.
 8                  23. “Parties” means Plaintiffs and New Balance, collectively, as each
 9 of those terms is defined in this Agreement.
10                  24. “Plaintiffs” (also referred to as “Named Plaintiffs”) means Sheila
11 Dashnaw, William Meier, and Sherryl Jones.
12                  25. “Plaintiffs’ Counsel” means counsel for the Plaintiffs in the
13 Action, who are: Jason H. Kim of Schneider Wallace Cottrell Konecky Wotkyns LLP
14 and Aubry Wand of The Wand Law Firm, P.C.
15                  26. “Preliminary Approval Order” means the order to be entered by
16 the Court preliminarily approving the Settlement as outlined in Section IX.A. of this
17 Agreement and should be substantially in the form attached hereto as Exhibit 5.
18                  27. “New Balance” means New Balance Athletics, Inc.
19                  28. “New Balance’s Counsel” means Fish & Richardson P.C.
20                  29. “Release” means the release and waiver set forth in Section VII of
21 this Agreement and in the Final Order and Final Judgment.
22                  30. “Released Parties” means New Balance, its past, present and
23 future parents (including but not limited to New Balance, Inc., and any intermediary
24 and/or ultimate parents), officers, directors, employees, stockholders, agents,
25 attorneys, administrators, successors, suppliers, distributors, reorganized successors,
26 spin-offs, assigns, holding companies, related companies, subsidiaries, affiliates,
27 joint-ventures, partners, members, divisions, predecessors, as well as any Authorized
28 Retailers of “Made in USA” Shoes.
                                              -7-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1             B. Other capitalized terms used in this Agreement but not defined in this
 2 Section II shall have the meanings ascribed to them elsewhere in this Agreement.
 3             C. The terms “he or she” and “his or her” include “it” or “its” where
 4 applicable.
 5 III.    SETTLEMENT RELIEF
 6         Settlement relief shall consist of two primary components: (1) a monetary
 7 component consisting of restitutionary payments to Class Members who submit valid
 8 Claims; and (2) an injunctive relief component through New Balance agrees to make
 9 certain changes to its business practices with respect to its “Made in USA” Shoes.
10             A. Relief Amount
11                   1. The total Relief Amount shall be $750,000. Within ten (10) days
12 of the Preliminary Approval Order, New Balance shall deposit an amount estimated
13 to be sufficient to cover the Administrative Costs in escrow to be held by the Class
14 Action Settlement Administrator, which shall be the “Escrow Agent,” such amount to
15 total $200,000, which shall be used by the Escrow Agent to pay Administrative Costs.
16 Within ten (10) days of the Final Settlement Date, New Balance shall deposit an
17 additional amount of $550,000 to bring the total amount paid by New Balance to
18 $750,000, which additional amount shall be held in escrow to be held by the Escrow
19 Agent to pay approved claims to Class Members as well as any additional
20 Administrative Costs. Together, these amounts will be known as the “Escrowed
21 Fund(s)”.
22                   2. The Escrowed Funds shall be non-reversionary and shall cover (a)
23 payments to Class Members on a claims-made basis, (b) class representative service
24 awards, and (c) Administrative Costs. However, in the event that the Court does not
25 approve the Settlement, any amount of the Escrowed Funds remaining in escrow at
26 the time that Court makes such a decision shall be returned to New Balance as soon
27 as practicable, and no later than five (5) days.
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                                               -8-
     SETTLEMENT AGREEMENT                                          CASE NO. 17-CV-00159-L-JLB
 1                  3. “Administrative Costs” shall include, (a) charges and invoices by
 2 the Class Action Settlement Administrator and Notice Administrator relating to this
 3 Settlement, (b) the costs and expenses associated with disseminating the notice,
 4 including but not limited to, the Class Notice and the Summary Settlement Notice, to
 5 the Class, (c) the costs and expenses associated with claims administration, and (d)
 6 the costs and expenses associated with the timely, valid, and approved Claims
 7 submitted by Class Members pursuant to the Claim Process.
 8            B. Claim Form Submission and Review
 9                  1. Class Members may submit a Claim through the Claim Process
10 during the Claim Period and the Class Action Settlement Administrator shall review
11 and process the Claims. As part of the Claim Process, Class Members shall be
12 eligible for the relief provided in this Agreement, provided Class Members complete
13 and timely submit the Claim Form, which shall be included with the Class Notice, to
14 the Class Action Settlement Administrator within the Claim Period.
15                  2. Class Members shall not initially be required to submit proof of
16 purchase for a purchase of one pair of qualified “Made in USA” Shoes. Proof of
17 purchase (e.g., a receipt, a credit card record, or other substantial proof) shall be
18 required for each additional purchase of qualified “Made in USA” Shoes claimed by
19 each Class Member (e.g., anywhere between two and five purchases).
20                  3. As stated on the Claim Form, in order to be eligible to receive
21 the Claim Amount, Class Members must attest, pursuant to 28 U.S.C. section 1746
22 under penalty of perjury, that the Class Member purchased one or more of the “Made
23 in USA” Shoes in California during the Class Period. The Claim Form shall advise
24 Class Members that the Class Action Settlement Administrator has the right to
25 request verification of the purchase of “Made in USA” Shoes, including, but not
26 limited to, receipt(s) or other documentation demonstrating purchase of any and all
27 of the “Made in USA” Shoes during the Class Period, prior to issuing the Claim
28 Amount to the Class Member. If the Class Member does not timely comply (e.g.,
                                             -9-
     SETTLEMENT AGREEMENT                                           CASE NO. 17-CV-00159-L-JLB
 1 within thirty-five (35) days of any request from the Class Action Settlement
 2 Administrator) and/or is unable to produce documents to substantiate and/or verify
 3 the information on the Claim Form and the Claim is otherwise not approved, the
 4 Claim shall be disqualified.
 5                  4. The Class Action Settlement Administrator has the right to audit
 6 any claims, and will use adequate and customary procedures and standards to prevent
 7 the payment of fraudulent claims and to pay only valid claims. Such procedures may
 8 include: (1) screening for duplicate claims or Settlement Class Members seeking
 9 more than the maximum cash payment permitted, and (2) reviewing Claims for
10 evidence of waste, fraud, and abuse.
11                  5. The Class Action Settlement Administrator shall employ
12 reasonable procedures to screen Claims for waste, fraud, and abuse. The Class Action
13 Settlement Administrator may request additional information necessary to validate
14 Claims and/or reject a Claim Form where there is evidence of abuse or fraud. The
15 Settlement Administrator may also reject a Claim Form that does not contain all
16 requested information necessary to screen the claim for fraud or abuse. Finally, the
17 Class Action Settlement Administrator’s decision as to whether the Class Member
18 submitted a Valid Claim shall be non-appealable, final, and binding upon the Parties
19 and the Claimants
20                  6. The Class Action Settlement Administrator shall provide periodic
21 updates to Class Counsel and to New Balance and New Balance’s counsel regarding
22 Claim Form submissions beginning not later than one week after notice is
23 disseminated and continuing on a weekly basis thereafter.
24                  7. The Class Action Settlement Administrator shall begin to pay
25 timely, valid, and approved Claims commencing fourteen (14) days after the close
26 of the Claim Period so long as this period is after the Final Settlement Date, or sooner
27 upon New Balance and Plaintiffs’ Counsel’s joint direction, but not before the
28 issuance of the Court’s Final Order and Final Judgment approving the Settlement. In
                                              -10-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 the event the Final Settlement Date falls after the close of the Claim Period, then the
 2 Class Action Settlement Administrator shall begin to pay timely, valid, and approved
 3 Claims commencing fourteen (14) days after the Final Settlement Date. The Class
 4 Action Settlement Administrator shall have completed the payment to Class
 5 Members who have submitted timely, valid and approved Claims pursuant to the
 6 Claim Process no later than one hundred twenty (120) days after either the Final
 7 Settlement Date or the close of the Claim Period, whichever is later.
 8                  8. Subject to Section III.C.1., below, the relief to be provided to
 9 eligible Class Members for each pair of “Made in USA” Shoes purchased by an
10 eligible Class Member, shall be an amount of $10.00 cash (“Claim Amount”). In the
11 event a Class Member has purchased more than one pair of the “Made in USA”
12 Shoes, that Class Member may submit one Claim for each pair of “Made in USA”
13 Shoes purchased, up to five pairs of “Made in the USA” Shoes. Thus, the maximum
14 Claim Amount each Class Member can recover is $50.00 cash. In addition, the
15 maximum Claim Amount per “Household” (defined as all persons residing at the
16 same physical address) shall be limited to 10 pairs or $100.
17                  9. The Claim Amount will be paid in the form of a check.
18            C. Adjustments and Remaining Funds
19                  1. If the total of the timely, valid and approved Claims submitted by
20 Class Members exceeds the available monetary relief in the Escrowed Fund, minus
21 any fees, payments, and costs set forth in this Agreement, each eligible Class
22 Member’s Claim Amount shall be reduced on a pro rata basis.
23                  2. If there are any funds remaining in the Escrowed Fund after all
24 Claims have been paid or any un-cashed checks made payable to eligible Class
25 Members (“Residual Funds”), the Class Action Settlement Administrator shall
26 equally distribute the remaining Escrowed Funds and/or the Residual Funds to the
27 following non-profit organization: United Service Organization, which provides the
28 Heroes Make America Program, which is a career skills training program that arms
                                              -11-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1 transitioning service members with the unique qualifications and industry-specific
 2 certifications necessary to secure rewarding jobs in the manufacturing industry
 3 ((“USO” or “Cy Pres Recipient”) and/or other nonprofit organization(s) or
 4 foundation(s) that are agreed upon by the Parties and approved by the Court. No
 5 remaining funds in the Escrowed Fund or Residual Funds will be returned to
 6 Defendant. Defendant represents and warrants that any payment of Residual Funds to
 7 any charities, non-profit organizations, or governmental entit(ies) shall not reduce any
 8 of its donations or contributions to any entity, charity, charitable foundation or trust,
 9 and / or non-profit organization.
10                    3. Checks issued to Class Members shall remain negotiable for
11 ninety (90) days from the date they are mailed.
12                    4. Any payments to the Cy Pres Recipient, whether they be
13 remaining funds in the Escrowed Fund or Residual Funds, shall be issued to the Cy
14 Pres Recipient within one hundred and twenty (120) days of the Final Settlement
15 Date.
16              D. Injunctive Relief
17         New Balance agrees to implement the following changes to its business
18 practices:
19                    1. Going forward, for all “Made in USA” Shoes produced after the
20 Final Settlement Date, the hangtag affixed to the “Made in USA” Shoes which contain
21 less than 95% U.S. content will no longer include the phrase “Made in the USA” on
22 the front of the tag. On the back, in clear readable font, the hangtag will include the
23 following sentence, or words to similar effect, “New Balance ‘made’ is a premium
24 collection that contains domestic value of 70% or greater” (the “Made Notice”) unless
25 and until a change in either federal or California law obviates the need for such
26 clarification. New Balance may make any and all stylistic changes to the hangtag it
27 desires so long as such changes are in accordance with the principles set forth in this
28 paragraph.
                                              -12-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1                   2. Going forward, for all “Made in USA” Shoes produced after the
 2 Final Settlement Date, shoe boxes for the “Made in USA” Shoes which contain less
 3 than 95% U.S. content will not include the phrase “Made in the USA” on the outside
 4 top panel of the box. New Balance may indicate that the shoes are made in the United
 5 States on the side(s) of the shoe box if, on the end and/or side of the shoe box, in clear
 6 readable font, it states the following sentence, or words to similar effect, “New
 7 Balance ‘made’ is a premium collection that contains domestic value of 70% or
 8 greater” unless and until a change in either federal or California law obviates the need
 9 for such clarification. New Balance may make any and all stylistic changes to the
10 shoe box it desires so long as such changes are in accordance with the principles set
11 forth in this paragraph.
12                   3. New Balance will implement a compliance and training program
13 for a period of five years from the Final Settlement Date, intended to ensure that
14 moving forward any advertising – including print, television, social media in the
15 United States – include the Made Notice any time the “Made in USA” representation
16 is made with respect to “Made in USA” Shoes which contain less than 95% U.S.
17 content.
18                   4. New Balance will implement reasonable policies and practices
19 intended to ensure that the modified hangtag is physically affixed to each display shoe
20 in all California retail stores. New Balance further agrees to implement a compliance
21 training program for employees of its flagship and factory stores in California.
22                   5. New Balance sales and marketing associates who work on
23 advertising for the “Made in USA” Shoes shall receive training at least twice during
24 the five years following the effective date of the Settlement Agreement regarding
25 California’s false advertising laws conducted by an attorney. New Balance will also
26 appoint an attorney responsible for ensuring compliance with the above and
27 implement a compliance program for this same five-year period.
28                   6. New Balance agrees that it will maintain its current policy with
                                               -13-
     SETTLEMENT AGREEMENT                                              CASE NO. 17-CV-00159-L-JLB
 1 respect to any “Made in USA” statements on its U.S. ecommerce website.
 2 Specifically, (1) all banners saying “Made in USA” or displaying a “Made in USA”
 3 Shoe where the “Made in USA” label is showing must have the Made Notice in legible
 4 size and font, (2) the “Made in USA” Shoe landing page (i.e., where all of New
 5 Balance’s “Made in USA” Shoes are listed), must have the Made Notice listed under
 6 the “Made in USA” heading, and (3) all individual product display pages containing
 7 a “Made in USA” Shoe must have the Made Notice listed in same size and font as,
 8 and in close proximity to, the rest of the product description.          New Balance
 9 acknowledges that various aspects of its e-commerce website relating to “Made in
10 USA” Shoes were changed after this litigation commenced.
11                  7. New Balance has calculated the approximate total monetary costs
12 and expenditures associated with planning and printing materials containing the Made
13 Notice in order to comply with all of the foregoing injunctive relief. New Balance
14 will disclose via a publicly filed declaration in the form of Exhibit 6 an estimated
15 projection, in the aggregate, of a dollar amount of the estimated costs for compliant
16 Made in USA packaging, hangtags and compliance training for the next five years in
17 support of securing approval of this settlement and/or a fee award.
18 IV.     NOTICE TO THE CLASS
19            A. Duties of the Class Action Settlement Administrator and the Notice
20               Administrator
21                  1. The Parties shall jointly recommend and retain Heffler Claims
22 Group to be the Class Action Settlement Administrator and the Notice Administrator
23 to help implement the terms of this Agreement. Following the Court’s preliminary
24 approval of this Agreement and the Court’s appointment of the proposed Class Action
25 Settlement Administrator and the proposed Notice Administrator, the Notice
26 Administrator shall disseminate notice to the Class as provided for in the Affidavit of
27 the Notice Administrator, substantially in the form attached as Exhibit 7 to this
28 Agreement, as specified in the Preliminary Approval Order and in this Agreement,
                                              -14-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1 and in order to comply with all applicable laws, including, but not limited to, the Due
 2 Process Clause of the Constitution.
 3                   2. The Notice Administrator shall be responsible for, without
 4 limitation: (a) e-mailing the Class Notice to all Class Members for which New
 5 Balance has e-mail addresses; (b) arranging for the publication of the Summary
 6 Settlement Notice in relevant and widely circulated publications in California; (c)
 7 handling returned e-mail not delivered to Class Members; (d) arranging for banner
 8 advertising to be displayed on highly trafficked websites and social media such as
 9 Facebook geo-targeted to California; (e) attempting to obtain updated e-mail address
10 information for any Class Notice returned without a forwarding e-mail address
11 sending notice via U.S. Mail to such Class Members for whom New Balance has such
12 records; (f) responding to requests for Class Notice; (g) receiving and maintaining on
13 behalf of the Court any Class Member correspondence regarding requests for
14 exclusion and objections to the Settlement; (h) forwarding written inquiries to the
15 Parties or their designee for a response, if warranted; (i) establishing a post office box
16 for the receipt of any correspondence; (j) responding to requests from the Parties’
17 Counsel; (k) establishing a web site and toll-free voice response unit with message
18 and live operator capabilities to which Class Members may refer for information
19 about the Actions and the Settlement; and (l) otherwise implementing and/or assisting
20 with the dissemination of the notice of the Settlement as directed by the Court and/or
21 the Parties. The Class Action Settlement Administrator shall be responsible for,
22 without limitation, implementing the terms of the Claim Process and related
23 administrative activities. The Notice Administrator and/or the Class Action
24 Settlement Administrator shall coordinate their activities to minimize costs in
25 effectuating the terms of this Agreement.
26                   3. If the Class Action Settlement Administrator and/or the Notice
27 Administrator make a material or fraudulent misrepresentation to, or conceal
28 requested material information from the Parties, then the Party to whom the
                                               -15-
     SETTLEMENT AGREEMENT                                              CASE NO. 17-CV-00159-L-JLB
 1 misrepresentation is made shall, in addition to any other appropriate relief, have the
 2 right to demand that the Class Action Settlement Administrator and/or the Notice
 3 Administrator, as applicable, immediately be replaced. If the Class Action Settlement
 4 Administrator and/or the Notice Administrator fail to perform adequately on behalf
 5 of New Balance or the Class, the Parties may agree to remove the Class Action
 6 Settlement Administrator and/or the Notice Administrator. The other Party shall not
 7 unreasonably withhold consent to remove the Class Action Settlement Administrator
 8 and/or the Notice Administrator, but this shall occur only after New Balance and Class
 9 Counsel have attempted to resolve any disputes regarding the retention or dismissal
10 of the Class Action Settlement Administrator and/or the Notice Administrator in good
11 faith, and, if they are unable to do so, after the matter has been referred to the Court
12 for resolution.
13                     4. The Class Action Settlement Administrator and/or the Notice
14 Administrator may retain one or more persons to assist in the completion of his or her
15 responsibilities.
16                     5. Not later than fifteen (15) days before the date of the Fairness
17 Hearing, the Notice Administrator shall provide the Parties with a declaration that
18 contains: (a) a list of those persons who have opted out or excluded themselves from
19 the Settlement; (b) a list of the Class Members who have submitted valid and timely
20 Claim Forms; and (c) the details outlining the scope, methods and results of the notice
21 program.
22                     6. The Notice Administrator shall promptly after receipt provide
23 copies of any requests for exclusion, objections, and/or related correspondence to
24 Class Counsel and New Balance's Counsel.
25            B. Class Notice
26
                       1. Dissemination of the E-Mailed Class Notice:
27
                             a. No later than one (1) business day after the entry of the
28
                                               -16-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1
                               Preliminary Approval Order, New Balance shall provide
 2
                               the Notice Administrator with the e-mail address and
 3
                               mailing address of each reasonably identifiable Class
 4
                               Member, subject to the existence of such information and
 5
                               its current possession, if at all, by New Balance.
 6
                            b. Beginning not later than five (5) business days after entry
 7
                               of the Preliminary Approval Order and to be substantially
 8
                               completed not later than ten (10) days after entry of the
 9
                               Preliminary     Approval   Order,   and     subject    to    the
10
                               requirements of the Preliminary Approval Order and the
11
                               Settlement Agreement, the Notice Administrator shall send
12
                               the Class Notice by Electronic Mail (“E-Mail”) to each
13
                               reasonably identifiable Class Member’s last known E-Mail
14
                               address, and shall otherwise comply with Fed. R. Civ. P. 23
15
                               and any other applicable statute, law, or rule, including but
16
                               not limited to, the Due Process Clause of the United States
17
                               Constitution.
18
                            c. No later than twenty (20) days after entry of the Preliminary
19
                               Approval Order, the Notice Administrator shall send the
20
                               Summary Settlement Notice by First Class U.S. Mail,
21
                               proper postage prepaid, to each Class Member whose E-
22
                               mail address returned a message as undeliverable, subject
23
                               to the existence of such information as provided by New
24
                               Balance pursuant to Section IV.B.1.a of this Agreement.
25
                            d. No later than thirty-five (35) days after entry of the
26
                               Preliminary Approval Order, the Notice Administrator
27
                               shall: (i) re-mail any Summary Settlement Notices returned
28
                                               -17-
     SETTLEMENT AGREEMENT                                              CASE NO. 17-CV-00159-L-JLB
 1
                               by the United States Postal Service with a forwarding
 2
                               address that are received by the Notice Administrator; (ii)
 3
                               by itself or using one or more address research firms, as
 4
                               soon as practicable following receipt of any returned
 5
                               Summary Settlement Notices that do not include a
 6
                               forwarding address, research any such returned mail for
 7
                               better addresses and promptly mail copies of the Summary
 8
                               Settlement Notice to the better addresses so found.
 9
                     2. Content of the Class Notice: The Claim Form and the Class
10
     Notice shall be in a form substantially similar to the document attached to this
11
     Agreement as Exhibits 1 and 2, respectively, and shall advise Class Members of the
12
     following:
13                          a. General Terms: The Class Notice shall contain a plain and
14                             concise description of the nature of the Action, the history
15                             of the litigation of the claims, the preliminary certification
16                             of the Class, and the proposed Settlement, how the
17                             proposed Settlement would provide relief to the Class and
18                             Class Members, what claims are released under the
19                             proposed Settlement and other relevant terms and
20                             conditions.
21                          b. Opt-Out Rights: The Class Notice shall inform Class
22                             Members that they have the right to opt out of the
23                             Settlement. The Class Notice shall provide the deadlines
24                             and procedures for exercising this right.
25                          c. Objection to Settlement: The Class Notice shall inform
26                             Class Members of their right to object to the proposed
27                             Settlement and appear at the Fairness Hearing. The Class
28                             Notice shall provide the deadlines and procedures for
                                               -18-
     SETTLEMENT AGREEMENT                                              CASE NO. 17-CV-00159-L-JLB
 1                            exercising these rights.
 2                          d. Fees and Expenses: The Class Notice shall inform Class
 3                            Members about the amounts being sought by Plaintiffs’
 4                            Counsel as Attorneys’ Fees and Expenses and individual
 5                            service awards to the Plaintiffs, and shall explain that New
 6                            Balance will pay the fees and expenses awarded to
 7                            Plaintiffs’ Counsel in addition to amounts being made
 8                            available for relief to Class Members and without reducing
 9                            such relief amounts.
10                          e. Claim Form:     The Class Notice shall include the Claim
11                            Form, which shall inform the Class Member that he or she
12                            must fully complete and timely return the Claim Form
13                            within the Claim Period to be eligible to obtain relief
14                            pursuant to this Agreement.
15                  3. The Summary Settlement Notice: The Notice Administrator shall
16 publish the Summary Settlement Notice not later than five (5) business days after
17 entry of the Preliminary Approval Order, and shall substantially complete it no later
18 than sixty-five (65) days after entry of the Preliminary Approval Order as described
19 in the Affidavit of the Notice Administrator, and in such additional newspapers,
20 magazines, and/or other media outlets in California as shall be agreed upon by the
21 Parties. The form of Summary Settlement Notice agreed upon by the Parties is in the
22 form substantially similar to the one attached to the Agreement as Exhibit 8.
23                  4. Internet Website: Prior to the dissemination of the Class Notice
24 pursuant to Section IV.B.1 to Section IV.C, the Notice Administrator shall establish
25 an Internet website that will inform Class Members of the terms of this Agreement,
26 their rights, dates and deadlines and related information. The website shall include, in
27 .pdf format, materials agreed upon by the Parties and/or required by the Court.
28 Additionally, geo-located Banner ads on the Internet and Social Media shall direct
                                              -19-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1 Class Members to the website.
 2                   5. Toll-Free Telephone Number: Prior to the dissemination of the
 3 Class Notice pursuant to Section IV.B.1 to Section IV.C, the Notice Administrator
 4 shall establish a toll-free telephone number that will provide Settlement-related
 5 information to Class Members.
 6            C. Duties of New Balance
 7         Within ten (10) days of the filing of the Motion for Preliminary Approval, New
 8 Balance shall serve upon the appropriate State and Federal officials a notice of the
 9 proposed settlement in accordance with 28 U.S.C. § 1715(b), and shall otherwise
10 comply with Fed. R. Civ. P. 23 and any other applicable statute, law, or rule.
11   V.    REQUESTS FOR EXCLUSION
12            A. Any Class Member who wishes to be excluded from the Class must mail
13 a written request for exclusion to the Notice Administrator at the address provided in
14 the Class Notice, postmarked no later than the final day of the Claim Period, or as the
15 Court otherwise may direct, and specifying that he or she wants to be excluded. The
16 written request must contain the person’s name, mailing address, and email address,
17 and contain a clear statement that person wishes to exclude themselves from the
18 Settlement. The Notice Administrator shall forward copies of any written requests for
19 exclusion to Class Counsel and New Balance's Counsel. A list reflecting all requests
20 for exclusion shall be filed with the Court by the Parties no later than ten (10) days
21 before the Fairness Hearing.
22            B. Any potential Class Member who does not submit a timely written
23 request for exclusion as provided in the preceding Section V.A shall be bound by all
24 subsequent proceedings, orders, and judgments, including, but not limited to, the
25 Release, in the Action, even if he or she has litigation pending or subsequently initiates
26 litigation against New Balance relating to the claims and transactions released in the
27 Action.
28
                                               -20-
     SETTLEMENT AGREEMENT                                              CASE NO. 17-CV-00159-L-JLB
 1    VI.   OBJECTIONS TO SETTLEMENT
 2            A. Any Class Member who has not submitted a timely written request for
 3 exclusion and who wishes to object to the fairness, reasonableness, or adequacy of
 4 this Agreement or the proposed Settlement, or to the award of Attorneys’ Fees and
 5 Expenses, or the individual awards to Plaintiffs, or any other aspect of the
 6 Settlement, must file with the Court no later than the final day of the Claim Period,
 7 and mail to the Notice Administrator at the address provided in the Class Notice,
 8 postmarked no later than the final day of the Claim Period, or as the Court otherwise
 9 may direct, a written statement of the objections, as well as the specific reason(s), if
10 any, for each objection, including any legal support the Class Member wishes to
11 bring to the Court’s attention, any evidence or other information the Class Member
12 wishes to introduce in support of the objections, a statement of whether the Class
13 Member intends to appear and argue at the Fairness Hearing, and list the Class
14 Member's purchase(s) of the “Made in USA” Shoes. Class Members may do so
15 either on their own or through an attorney retained at their own expense. The
16 objection must include proof of purchase for the “Made in USA” Shoes. Acceptable
17 proof of purchase includes a cash register receipt, a credit card receipt or a credit
18 card statement that sufficiently indicates the purchase of the “Made in USA” Shoes.
19 The Parties shall request that the Court allow any interested party to file a reply to
20 any objection, as described in this Section VI.A, no later than seven (7) days before
21 the Fairness Hearing.
22            B. Any Class Member who files and serves a written objection, as
23 described in the preceding Section VI.A, may appear at the Fairness Hearing, either
24 in person or through personal counsel hired at the Class Member's expense, to object
25 to the fairness, reasonableness, or adequacy of this Agreement or the proposed
26 Settlement, or to the award of Attorneys' Fees and Expenses or awards to the
27 individual Plaintiffs. Class Members or their attorneys who intend to make an
28 appearance at the Fairness Hearing must deliver a notice of intention to appear to the
                                               -21-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 Notice Administrator, and file said notice with the Court, no later than the final day
 2 of the Claim Period, or as the Court may otherwise direct.
 3            C. Any Class Member who fails to comply with the provisions of Sections
 4 VI.A and VI.B above shall waive and forfeit any and all rights he or she may have
 5 to appear separately and/or to object, and shall be bound by all the terms of this
 6 Agreement and by all proceedings, orders and judgments, including, but not limited
 7 to, the Release, in the Action.
 8            D. Any Class Member who objects to the Settlement shall be entitled to all
 9 of the benefits of the Settlement if this Agreement and the terms contained therein
10 are approved, as long as the objecting Class Member complies with all requirements
11 of this Agreement applicable to Class Members, including the timely submission of
12 Claim Forms and other requirements discussed herein.
13   VII.   RELEASE AND WAIVER
14            A. The Parties agree to the following release and waiver, which shall take
15 effect upon entry of the Final Order and Final Judgment.
16            B. “Released Claims”: In consideration for the Settlement benefits
17 described in this Agreement, Plaintiffs and the other members of the Class, on behalf
18 of    themselves, their heirs, guardians, assigns, executors, administrators,
19 predecessors, and/or successors, will fully, finally and forever release, relinquish,
20 acquit, and discharge the Released Parties from – and shall not now or hereafter
21 institute, maintain, or assert on their own behalf, on behalf of the Class or on behalf
22 of any other person or entity – any and all manner of claims, actions, causes of action,
23 suits, rights, debts, sums of money, payments, obligations, reckonings, contracts,
24 agreements, executions, promises, damages, liens, judgments and demands of
25 whatever kind, type or nature and whatsoever, both at law and in equity, whether
26 based on federal, state or local law, statute, ordinance, regulation, code, contract,
27 common law, or any other source, or any claim that Plaintiffs or Class Members ever
28 had, now have, may have, or hereafter can, shall or may ever have against the
                                              -22-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 Released Parties in any other court, tribunal, arbitration panel, commission, agency,
 2 or before any governmental and/or administrative body, or any other adjudicatory
 3 body, on the basis of, connected with, arising from or relating to the claims alleged
 4 in the complaint in the Action during the Class Period, including, but not limited to,
 5 communications, disclosures, nondisclosures, representations, statements, claims,
 6 omissions, messaging, design, testing, marketing, advertising, promotion, packaging,
 7 displays, brochures, studies, manufacture, distribution, operation, performance,
 8 functionality, notification, providing, offering, dissemination, replacement, sale
 9 and/or resale by the Released Parties of the “Made in USA” Shoes; any claims for
10 rescission, restitution or unjust enrichment for all damages of any kind; violations of
11 any state’s deceptive, unlawful and/or unfair business and/or trade practices, false,
12 misleading or fraudulent advertising, consumer fraud and/or consumer protection
13 statutes; any violation of the Uniform Commercial Code, any breaches of express,
14 implied and/or any other warranties, any similar federal, state or local statutes, codes,
15 damages, costs, expenses, extra- contractual damages, compensatory damages,
16 exemplary damages, special damages, penalties, punitive damages and/or damage
17 multipliers, disgorgement, declaratory relief, expenses, interest, and/or attorneys’
18 fees and costs against the Released Parties pertaining to or relating to the claims
19 alleged in the complaint in the Action, notwithstanding that Plaintiffs and the Class
20 acknowledge that they may hereafter discover facts in addition to or different from
21 those that they now know or believe to be true concerning the subject matter of the
22 Action and/or the Release herein. Released Claims do not include any claims that
23 cannot be released as a matter of law.
24            C. Plaintiffs represent and warrant that they are the sole and exclusive
25 owner of all claims that they personally are releasing under this Agreement. Plaintiffs
26 further acknowledge that they have not assigned, pledged, or in any manner
27 whatsoever, sold, transferred, assigned or encumbered any right, title, interest or
28 claim arising out of or in any way whatsoever pertaining to the Action, including
                                               -23-
     SETTLEMENT AGREEMENT                                              CASE NO. 17-CV-00159-L-JLB
 1 without limitation, any claim for benefits, proceeds or value under the Action, and
 2 that Plaintiffs are not aware of anyone other than themselves claiming any interest,
 3 in whole or in part, in the Action or in any benefits, proceeds or values under the
 4 Action. Class Members submitting a Claim Form shall represent and warrant therein
 5 that they are the sole and exclusive owner of all claims that they personally are
 6 releasing under the Settlement and that they have not assigned, pledged, or in any
 7 manner whatsoever, sold, transferred, assigned or encumbered any right, title,
 8 interest or claim arising out of or in any way whatsoever pertaining to the Action,
 9 including without limitation, any claim for benefits, proceeds or value under the
10 Action, and that such Class Member(s) are not aware of anyone other than
11 themselves claiming any interest, in whole or in part, in the Action or in any benefits,
12 proceeds or values under the Action.
13            D. Without in any way limiting its scope, and, except to the extent
14 otherwise specified in the Agreement, this Release covers by example and without
15 limitation, any and all claims for attorneys' fees, costs, expert fees, or consultant fees,
16 interest, or litigation fees, costs or any other fees, costs, and/or disbursements
17 incurred by Plaintiffs’ Counsel, or by Plaintiffs or the Class Members.
18            E. In addition to the Released Claims, the Named Plaintiffs only agree to
19 a general release, which includes a release of any unknown claims that they did not
20 know or suspect to exist in their favor at the time of the general release, which, if
21 known, might have affected their Settlement with, and general release of, the
22 Released Parties. With respect to the general release, the Named Plaintiffs only
23 stipulate and agree that, upon the execution of this Agreement, and by operation of
24 the Final Judgment, they shall be deemed to have expressly waived and relinquished,
25 to the fullest extent permitted by law, the provisions, rights and benefits of Section
26 1542 of the Civil Code of the State of California, which provides that:
27            “a general release does not extend to claims which the creditor does not
              know or suspect to exist in his or her favor at the time of executing the
28
                                                -24-
     SETTLEMENT AGREEMENT                                               CASE NO. 17-CV-00159-L-JLB
 1             release, which if known by him or her must have materially affected his or
               her settlement with the debtor.”
 2
     Named Plaintiffs only hereby agree that the provisions of all such principles of law
 3
     or similar federal or state laws, rights, rules, or legal principles are hereby knowingly
 4
     and voluntarily waived, relinquished and released.
 5
               F. Nothing in this Release shall preclude any action to enforce the terms
 6
     of the Agreement, including participation in any of the processes detailed therein.
 7
               G. Plaintiffs and Defendant hereby agree and acknowledge that the
 8
     provisions of this Release together constitute an essential and material term of the
 9
     Agreement and shall be included in any Final Order and Final Judgment entered by
10
     the Court.
11
     VIII.   ATTORNEYS’ FEES AND EXPENSES AND INDIVIDUAL
12
             PLAINTIFF AWARDS
13
               A. Class Counsel will make and New Balance agrees not to oppose, an
14
     application for an award of Attorneys’ Fees and Expenses in the Action that will not
15
     exceed $650,000 in fees and expenses incurred up to the submission of their expenses
16
     to the Court prior to the Fairness Hearing, which shall be the sole aggregate
17
     compensation paid by New Balance for all Class Counsel representing the Class. In
18
     addition to the payments set forth herein in Section III.A and New Balance’s full and
19
     complete performance of any and all obligations, terms and conditions set forth in the
20
     Agreement, New Balance shall pay the Attorneys’ Fees and Expenses awarded by the
21
     Court within ten (10) days after the occurrence of the Final Settlement Date.
22
               B. Class Counsel, in their sole discretion, shall allocate and distribute this
23
     award of Attorneys’ Fees and Expenses among all of the counsel who have acted on
24
     behalf of the Class, all of whom are the Class Counsel.
25
               C. Class Counsel for Plaintiffs may petition the Court for class
26
     representative service awards of up to $5,000 per Plaintiff. The purpose of such
27
     awards shall be to compensate the Plaintiffs for efforts and risks taken by them on
28
                                                -25-
     SETTLEMENT AGREEMENT                                                CASE NO. 17-CV-00159-L-JLB
 1 behalf of the Class. Any class representative service awards made by the Court shall
 2 be paid out of the Escrowed Fund, as instructed by Class Counsel, within ten (10) days
 3 after the occurrence of the Final Settlement Date.
 4            D. New Balance shall not be liable for or obligated to pay any fees,
 5 expenses, costs, or disbursements to, or incur any expense on behalf of, any person or
 6 entity, either directly or indirectly, in connection with the Actions or this Settlement
 7 Agreement, other than the amount or amounts expressly provided for in this
 8 Settlement Agreement.
 9            E. New Balance will pay its own attorneys’ fees and costs incurred in this
10 Action.
11    IX.    PRELIMINARY APPROVAL ORDER, FINAL ORDER, FINAL
12           JUDGMENT AND RELATED ORDERS
13            A. The Parties shall seek from the Court a Preliminary Approval Order in
14 a form substantially similar to Exhibit 5. The Preliminary Approval Order shall,
15 among other things:
16                  1. Certify the Class, approve Plaintiffs Sheila Dashnaw, William
17 Meier, and Sherryl Jones as Class Representatives and appoint Plaintiffs’ Counsel as
18 counsel for the class, pursuant to Fed. R. Civ. P. 23;
19                  2. Preliminarily approve the Settlement;
20                  3. Require the dissemination of the Notice and the taking of all
21 necessary and appropriate steps to accomplish this task;
22                  4. Determine that the notice complies with all legal requirements,
23 including, but not limited to, the Due Process Clause of the United States Constitution;
24                  5. Schedule a date and time for a Fairness Hearing to determine
25 whether the Preliminary Approval Order should be finally approved by the Court;
26                  6. Require Class Members who wish to exclude themselves to
27 submit an appropriate and timely written request for exclusion as directed in the
28 Agreement and Class Notice and that a failure to do so shall bind those Class Members
                                              -26-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1 who remain in the Class;
 2                  7. Require Class Members who wish to object to the Agreement to
 3 submit an appropriate and timely written statement as directed in the Agreement and
 4 Class Notice;
 5                  8. Require Class Members who wish to appear to object to the
 6 Agreement to submit an appropriate and timely written statement as directed in the
 7 Agreement and Class Notice;
 8                  9. Require attorneys representing individual Class Members, at their
 9 own expense, to file a notice of appearance as directed in the Agreement and Class
10 Notice;
11                  10. Appoint the Class Action Settlement Administrator and/or the
12 Notice Administrator;
13                  11. Authorize New Balance to take all necessary and appropriate
14 steps to establish the means necessary to implement the Agreement;
15                  12. Issue an order requiring execution of a Confidentiality Agreement
16 in the form attached hereto as Exhibit 9, governing Class Members or their counsel
17 who file a motion for access to discovery, in the event that such motion is granted;
18 and
19                  13. Issue other related orders to effectuate the preliminary approval
20 of the Agreement.
21            B. After the Fairness Hearing, the Parties shall seek to obtain from the Court
22 a Final Order and Final Judgment in the forms substantially similar to Exhibits 3 and
23 4, respectively. The Final Order and Final Judgment shall, among other things:
24                  1. Find that the Court has personal jurisdiction over all Class
25 Members, the Court has subject matter jurisdiction over the claims asserted in the
26 Amended Complaint and/or Action, and that venue is proper.
27                  2. Finally approve the Agreement and Settlement, pursuant to Fed.
28 R. Civ. P. 23;
                                              -27-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1                   3. Finally certify the Class for settlement purposes only;
 2                   4. Find that the notice and the notice dissemination methodology
 3 complied with all laws, including, but not limited to, the Due Process Clause of the
 4 United States Constitution;
 5                   5. Dismiss the Action with prejudice;
 6                   6. Incorporate the Release set forth in the Agreement and make the
 7 Release effective as of the date of the Final Order and Final Judgment;
 8                   7. Authorize the Parties to implement the terms of the Agreement;
 9                   8. Retain      jurisdiction      relating   to   the    administration,
10 consummation, enforcement, and interpretation of the Agreement, the Final Order
11 and Final Judgment, and for any other necessary purpose; and
12                   9. Issue related Orders to effectuate the final approval of the
13 Agreement and its implementation.
14            C. If necessary, within ten (10) days following the Final Settlement Date,
15 Plaintiffs shall file a stipulation of dismissal with prejudice in the Action, in the form
16 attached hereto as Exhibit 10.
17     X.   MODIFICATION OR TERMINATION OF THIS AGREEMENT
18            A. The terms and provisions of this Agreement may be amended,
19 modified, or expanded by written agreement of the Parties and approval of the Court;
20 provided, however that, after entry of the Final Order and Final Judgment, the Parties
21 may by written agreement effect such amendments, modifications, or expansions of
22 this Agreement and its implementing documents (including all exhibits hereto)
23 without further notice to the Class or approval by the Court if such changes are
24 consistent with the Court's Final Order and Final Judgment and do not limit the rights
25 of Class Members under this Agreement.
26            B. This Agreement shall terminate at the discretion of either New Balance
27 or the Plaintiffs, through Class Counsel, if: (1) the Court, or any appellate court(s),
28 rejects, modifies, or denies approval of any portion of this Agreement or the
                                               -28-
     SETTLEMENT AGREEMENT                                               CASE NO. 17-CV-00159-L-JLB
 1 proposed Settlement that the terminating party in its (or their) sole judgment and
 2 discretion reasonably determine(s) is material, including, without limitation, the
 3 terms of relief, the findings, or conclusions of the Court, the provisions relating to
 4 notice, the definition of the Class, and/or the terms of the Release; or (2) the Court,
 5 or any appellate court(s), does not enter or completely affirm, or alters or expands,
 6 any portion of the Final Order and Judgment, or any of the Court's findings of fact
 7 or conclusions of law, that the terminating party in its (or their) sole judgment and
 8 discretion reasonably determine(s) is material. The terminating party must exercise
 9 the option to withdraw from and terminate this Agreement, as provided in this
10 Section X, by a signed writing served on the other Parties no later than 20 days after
11 receiving notice of the event prompting the termination. The Parties will be returned
12 to their positions status quo ante.
13            C. If an option to withdraw from and terminate this Agreement arises
14 under Section X.B above, neither New Balance nor Plaintiffs are required for any
15 reason or under any circumstance to exercise that option and any exercise of that
16 option shall be in good faith.
17            D. If this Agreement is terminated pursuant to Section X.B, above, then:
18                  1. This Agreement shall be null and void and shall have no force or
19 effect, and no Party to this Agreement shall be bound by any of its terms, except for
20 the terms of Sections X.D herein;
21                  2. The Parties will petition to have any stay orders entered pursuant
22 to this Agreement lifted;
23                  3. All of its provisions, and all negotiations, statements, and
24 proceedings relating to it shall be without prejudice to the rights of New Balance,
25 Plaintiffs or any Class Member, all of whom shall be restored to their respective
26 positions existing immediately before the execution of this Agreement, except that
27 the Parties shall cooperate in requesting that the Court set a new scheduling order
28 such that neither Party’s substantive or procedural rights is prejudiced by the
                                              -29-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1 attempted Settlement;
 2                   4. Released Parties, as defined in Section II, above, including,
 3 without limitation, New Balance, expressly and affirmatively reserve all defenses,
 4 arguments, and motions as to all claims that have been or might later be asserted in
 5 the Actions, including, without limitation, the argument that the Actions may not be
 6 litigated as a class action;
 7                   5. Plaintiffs and all other Class Members, on behalf of themselves
 8 and their heirs, assigns, executors, administrators, predecessors, and successors,
 9 expressly and affirmatively reserve and do not waive all motions as to, and
10 arguments in support of, all claims, causes of actions or remedies that have been or
11 might later be asserted in the Actions including, without limitation, any argument
12 concerning class certification, consumer fraud, and treble or other damages;
13                   6. Neither this Agreement, the fact of its having been made, nor the
14 negotiations leading to it, nor any discovery or action taken by a Party or Class
15 Member pursuant to this Agreement shall be admissible or entered into evidence for
16 any purpose whatsoever;
17                   7. Any Settlement-related order(s) or judgment(s) entered in this
18 Action after the date of execution of this Agreement shall be deemed vacated and
19 shall be without any force or effect;
20                   8. All costs incurred in connection with the Settlement, including,
21 but not limited to, notice, publication, and customer communications, will be paid
22 from the Escrowed Funds. Neither Plaintiffs nor Class Counsel shall be responsible
23 for any of these costs or other Settlement-related costs. After all such costs are paid,
24 any remaining Escrowed Funds shall be returned to New Balance as soon as
25 practicable;
26                   9. Any attorneys’ fees and expenses previously paid to Plaintiffs’
27 Counsel shall be returned to New Balance; and
28                   10. Notwithstanding the terms of this paragraph, if Settlement is not
                                              -30-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 consummated, Plaintiffs’ Counsel may include any time spent in Settlement efforts
 2 as part of any statutory fee petition filed at the conclusion of the case, and New
 3 Balance reserves the right to object to the reasonableness of such requested fees.
 4    XI.   GENERAL MATTERS AND RESERVATIONS
 5            A. The obligations of the Parties to conclude the proposed Settlement is
 6 and shall be contingent on the following:
 7                  1. Entry by the Court of the Final Order and Final Judgment
 8 approving the Settlement, from which the time to appeal has expired or which has
 9 remained unmodified after any appeal(s); and
10                  2. New Balance’s payments as set forth in Section III.A. and
11 Section VIII.A. of this Settlement Agreement, and New Balance’s full and complete
12 performance of any and all obligations, terms and conditions set forth in the
13 Agreement.
14            B. The Parties and their counsel agree to keep the existence and contents
15 of this Agreement confidential until the date on which the Motion for Preliminary
16 Approval is filed; provided, however, that this section shall not prevent New Balance
17 from disclosing such information, prior to the date on which the Motion for
18 Preliminary Approval is filed, to state and federal agencies, independent accountants,
19 actuaries, advisors, financial analysts, insurers or attorneys, nor shall it prevent the
20 Parties and their counsel from disclosing such information to persons or entities (such
21 as experts, courts, co-counsel, and/or administrators) to whom the Parties agree
22 disclosure must be made in order to effectuate the terms and conditions of this
23 Agreement.
24            C. The Parties and their Counsel agree to release a joint statement in the
25 form attached hereto as Exhibit 11, upon Plaintiffs’ filing of the Motion for
26 Preliminary Approval of Settlement. The Parties and their counsel further agree that
27 any additional public statements regarding this Settlement shall be agreed upon by
28 both Parties prior to any release of such statement.
                                               -31-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1            D. Plaintiffs and Class Counsel agree that the confidential information
 2 made available to them solely through the settlement process was made available, as
 3 agreed to, on the condition that neither Plaintiffs nor their counsel may disclose it to
 4 third parties (other than experts or consultants retained by Plaintiffs in connection
 5 with this case); that it not be the subject of public comment; that it not be used by
 6 Plaintiffs or Plaintiffs’ Counsel in any way in this litigation should the Settlement
 7 not be achieved, and that it is to be returned if a Settlement is not concluded;
 8 provided, however, that nothing contained herein shall prohibit Plaintiffs from
 9 seeking such information through formal discovery if not previously requested
10 through formal discovery or from referring to the existence of such information in
11 connection with the Settlement of this litigation.
12            E. All information marked as “Attorneys’ Eyes Only” or “Confidential”
13 provided by New Balance to Plaintiffs, Plaintiffs’ Counsel, or any individual Class
14 Member, counsel for any individual Class Member and/or administrators, pursuant
15 to the implementation of this Agreement or by Court Order, constitutes trade secrets
16 and highly confidential and proprietary business information and shall be deemed
17 “Attorneys’ Eyes Only” or “Confidential” pursuant to the protective orders that have
18 been or will be entered in the Actions, and shall be subject to all of the provisions
19 thereof. Any materials inadvertently produced shall, upon New Balance’s request,
20 be promptly returned to New Balance’s Counsel, and there shall be no implied or
21 express waiver of any privileges, rights, and defenses.
22            F. Within ninety (90) days after the Final Settlement Date (unless the
23 time is extended by agreement of the Parties), Plaintiffs’ Counsel, and any expert or
24 other consultant employed by them in such capacity or any other individual with
25 access to documents provided by New Balance to Plaintiffs’ Counsel shall either: (i)
26 return to New Balance’s Counsel, all such documents and materials (and all copies
27 of such documents in whatever form made or maintained) produced by New
28 Balance in the Actions and any and all handwritten notes summarizing, describing
                                              -32-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 or referring to such documents; or (ii) certify to New Balance’s Counsel that all such
 2 documents and materials (and all copies of such documents in whatever form made
 3 or maintained) produced by New Balance in the Actions and any and all handwritten
 4 notes summarizing, describing or referring to such documents have been destroyed;
 5 provided, however, that this section shall not apply to any documents made part of
 6 the record in connection with a Claim, nor to any documents made part of a Court
 7 filing, nor to Plaintiffs’ Counsel’s work product. New Balance’s Counsel agrees to
 8 hold all documents returned by Plaintiffs’ Counsel, and any expert or other
 9 consultant or any other individual employed by Plaintiffs’ Counsel in such capacity
10 with access to documents provided by New Balance, until six months after the
11 distribution of the Escrowed Funds to Class Members who submitted acceptable
12 Claim Forms. Six months after the distribution of the Escrowed Funds to Class
13 Members who submitted acceptable Claim Forms, the Class Action Settlement
14 Administrator shall return all documents and materials to New Balance and/or Class
15 Counsel that produced the documents and materials, except that it shall destroy any
16 and all Claim Forms, including any and all information and/or documentation
17 submitted by Class Members.
18            G. New Balance's execution of this Agreement shall not be construed to
19 release - and New Balance expressly does not intend to release - any claim New
20 Balance may have or make against any insurer for any cost or expense incurred in
21 connection with this Settlement, including, without limitation, for attorneys' fees and
22 costs.
23            H. Class Counsel represent that: (1) they are authorized by the Plaintiffs
24 to enter into this Agreement on behalf of Plaintiffs, their respective present or past
25 law firms and any other attorneys who have represented or who now represent
26 Plaintiffs in these Actions with respect to the claims in these Actions; and (2) they
27 are seeking to protect the interests of the Class.
28
                                              -33-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1            I.   Plaintiffs represent and certify that: (1) they have agreed to serve as
 2 representatives of the Class proposed to be certified herein; (2) they are willing,
 3 able, and ready to perform all of the duties and obligations of representatives of the
 4 Class, including, but not limited to, being involved in discovery and fact finding; (3)
 5 they have read the substantive pleadings in the Actions, including the complaint
 6 and/or the Amended Complaints, or have had the contents of such pleadings
 7 described to them; (4) they are familiar with the results of the fact- finding
 8 undertaken by Class Counsel; (5) they have been kept apprised of settlement
 9 negotiations among the Parties, and have either read this Agreement, including the
10 exhibits annexed hereto, or have received a detailed description of it from Class
11 Counsel and they have agreed to its terms; (6) they have consulted with Class
12 Counsel about the Actions and this Agreement and the obligations imposed on
13 representatives of the Class; (7) they have authorized Class Counsel to execute this
14 Agreement on their behalf; and (8) they shall remain and serve as representatives of
15 the Class until the terms of this Agreement are effectuated, this Agreement is
16 terminated in accordance with its terms, or the Court at any time determines that
17 said Plaintiff(s) cannot represent the Class.
18            J. New Balance represents and warrants that the individual(s) executing
19 this Agreement is authorized to enter into this Agreement on behalf of New Balance.
20            K. This Agreement, complete with its exhibits, sets forth the sole and
21 entire agreement among the Parties with respect to its subject matter, and it may not
22 be altered, amended, or modified except by written instrument executed by Class
23 Counsel and New Balance's Counsel on behalf of New Balance. The Parties
24 expressly acknowledge that no other agreements, arrangements, or understandings
25 not expressed in this Agreement exist among or between them and that in deciding
26 to enter into this Agreement, they rely solely upon their judgment and knowledge.
27 This Agreement supersedes any prior agreements, understandings, or undertakings
28
                                               -34-
     SETTLEMENT AGREEMENT                                               CASE NO. 17-CV-00159-L-JLB
 1 (written or oral) by and between the Parties regarding the subject matter of this
 2 Agreement.
 3            L. This Agreement and any amendments thereto shall be governed by and
 4 interpreted according to the law of the State of California, notwithstanding its
 5 conflict of laws provisions.
 6            M. Any disagreement and/or action to enforce this Agreement shall be
 7 commenced and maintained only in the Court in which the Action is pending.
 8            N. Whenever this Agreement requires or contemplates that one of the
 9 Parties shall or may give notice to the other, notice shall be provided by e-mail
10 and/or next-day (excluding Saturdays, Sundays, and Federal Holidays) express
11 delivery service as follows:
12                    1. If to New Balance, then to:
13                     R. David Hosp
                       FISH & RICHARDSON P.C.
14
                       1 Marina Park Drive
15                     Boston, Massachusetts 02210
16
                       Tel.: 617.542.5070
                       Fax: 617.542.8906
17                     E-Mail: hosp@fr.com
18            and

19
                       Erin Michael
                       New Balance Athletics, Inc.
20                     100 Guest Street
21                     Boston, Massachusetts 02135
                       Tel.: 617.779.7408
22                     E-Mail: erin.michael@newbalance.com
23
              With a copy to:
24
25                     General Counsel
                       New Balance Athletics, Inc.
26                     100 Guest Street
27                     Boston, Massachusetts 02135
                       Fax: 617.787.9355
28
                                              -35-
     SETTLEMENT AGREEMENT                                            CASE NO. 17-CV-00159-L-JLB
 1            2. If to Plaintiffs, then to:
 2                      Jason H. Kim
                        SCHNEIDER WALLACE COTTRELL
 3
                        KONECKY & WOTKYNS LLP
 4                      2000 Powell Street, Suite 1400
 5
                        Emeryville, California 94608
                        Telephone: (415) 421-7100
 6                      Facsimile: (415) 421-7105
 7
                        E-Mail: jkim@schneiderwallace.com

 8               and
 9                      Aubry Wand
                        THE WAND LAW FIRM
10                      400 Corporate Pointe, Suite 300
11                      Culver City, California 90230
                        Telephone: (310) 590-4503
12                      Facsimile: (310) 590-4596
13                      E-Mail: awand@wandlawfirm.com

14
15            O. All time periods set forth herein shall be computed in calendar days

16 unless otherwise expressly provided. In computing any period of time prescribed or
17 allowed by this Agreement or by order of the Court, the day of the act, event, or
18 default from which the designated period of time begins to run shall not be included.
19 The last day of the period so computed shall be included, unless it is a Saturday, a
20 Sunday or a Federal Holiday, or, when the act to be done is the filing of a paper in
21 court, a day on which weather or other conditions have made the office of the clerk
22 of the court inaccessible, in which event the period shall run until the end of the next
23 day that is not one of the aforementioned days. As used in this section "Federal
24 Holiday" includes New Year's Day, Birthday of Martin Luther King, Jr., Presidents'
25 Day, Memorial Day, Independence Day, Labor Day, Columbus Day, Veterans Day,
26 Patriot's Day, Thanksgiving Day, Christmas Day, and any other day appointed as a
27 holiday by the President or the Congress of the United States.
28            P. The Parties reserve the right, subject to the Court's approval, to agree
                                              -36-
     SETTLEMENT AGREEMENT                                             CASE NO. 17-CV-00159-L-JLB
 1 to any reasonable extensions of time that might be necessary to carry out any of the
 2 provisions of this Agreement.
 3             Q. The Class, Plaintiffs, Class Counsel, New Balance and/or New
 4 Balance's Counsel shall not be deemed to be the drafter of this Agreement or of any
 5 particular provision, nor shall they argue that any particular provision should be
 6 construed against its drafter or otherwise resort to the contra proferentem canon of
 7 construction. All Parties agree that this Agreement was drafted by counsel for the
 8 Parties during extensive arm's length negotiations. No parol or other evidence may
 9 be offered to explain, construe, contradict, or clarify its terms, the intent of the Parties
10 or their counsel, or the circumstances under which this Agreement was made or
11 executed.
12             R. The Parties expressly acknowledge and agree that this Agreement and
13 its exhibits, along with all related drafts, motions, pleadings, conversations,
14 negotiations, and correspondence, constitute an offer of compromise and a
15 compromise within the meaning of Federal Rule of Evidence 408 and any equivalent
16 rule of evidence in any state. In no event shall this Agreement, any of its provisions
17 or any negotiations, statements or court proceedings relating to its provisions in any
18 way be construed as, offered as, received as, used as, or deemed to be evidence of
19 any kind in the Actions, any other action, or in any judicial, administrative,
20 regulatory or other proceeding, except in a proceeding to enforce this Agreement or
21 the rights of the Parties or their counsel. Without limiting the foregoing, neither this
22 Agreement nor any related negotiations, statements, or court proceedings shall be
23 construed as, offered as, received as, used as or deemed to be evidence or an
24 admission or concession of any liability or wrongdoing whatsoever on the part of any
25 person or entity, including, but not limited to, the Released Parties, Plaintiffs, or the
26 Class or as a waiver by the Released Parties, Plaintiffs or the Class of any applicable
27 privileges, claims or defenses.
28             S. Plaintiffs expressly affirm that the allegations contained in the
                                                -37-
     SETTLEMENT AGREEMENT                                                CASE NO. 17-CV-00159-L-JLB
 1 Amended Complaints were made in good faith and have a basis in fact, but consider
 2 it desirable for the Actions to be settled and dismissed because of the substantial
 3 benefits that the proposed Settlement will provide to Class Members.
 4            T. The Parties, their successors and assigns, and their counsel undertake
 5 to implement the terms of this Agreement in good faith, and to use good faith in
 6 resolving any disputes that may arise in the implementation of the terms of this
 7 Agreement.
 8            U. The waiver by one Party of any breach of this Agreement by another
 9 Party shall not be deemed a waiver of any prior or subsequent breach of this
10 Agreement.
11            V. If one Party to this Agreement considers another Party to be in breach
12 of its obligations under this Agreement, that Party must provide the breaching Party
13 with written notice of the alleged breach and provide a reasonable opportunity to
14 cure the breach before taking any action to enforce any rights under this Agreement.
15            W. The Parties, their successors and assigns, and their counsel agree to
16 cooperate fully with one another in seeking Court approval of this Settlement
17 Agreement and to use their best efforts to effect the prompt consummation of this
18 Agreement and the proposed Settlement.
19            X. This Agreement may be signed with a facsimile signature and in
20 counterparts, each of which shall constitute a duplicate original.
21
22
23
24
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27
28
                                              -38-
     SETTLEMENT AGREEMENT                                               CASE NO. 17-CV-00159-L-JLB
Exhibit 1
                       New Balance Shoe Class Action Settlement
                                                  Claim Form

 Use this claim form only if you bought eligible New Balance “Made in USA” shoes in
 California from December 27, 2012 to [DATE]. The eligible New Balance shoes are
 listed below.

 All claim forms must be electronically submitted no later than [DATE] or
 postmarked no later than [DATE] to:

                                       New Balance Settlement
                                            [ADDRESS]
                                            [ADDRESS]
                                            [ADDRESS]

                      CLAIM INFORMATION
CLASS MEMBER INFORMATION

Name:

Mailing Address:
                   Number and Street

City:                                    State:                           Zip Code:
Best Telephone
Number:                                            E-Mail Address:



                         PURCHASE INFORMATION – NEW BALANCE SHOES

        Eligible New
        Balance Shoe      Quantity Purchased                    Location Purchased
           Models
   601
   M1140
   M1290
   M1300
   M1400
   M1540
   M1700
   M2040
   M3040
   M498
   M574
   M585
   M587
                PURCHASE INFORMATION – NEW BALANCE SHOES

 Eligible New
 Balance Shoe   Quantity Purchased           Location Purchased
    Models
M770
M990
M991
M995
M996
M997
M9975
M998
MK706
ML1300
ML1978
ML996
ML997
MR1105
MR993
MW812
PM15
PM16
US574
US576
US990
US993
US998
W1140
W1290
W1400
W1540
W3040
W498
W587
W990
W998
WK706
WR993
WW812
Payment amounts to eligible Class Members will vary depending upon the number and
amounts claimed by al l Class Members and other adjustments and deductions as
specified in the Settlement Agreement. The amount could be up to $10 for each pair of
Made in the USA shoes purchased. Eligible Class Members may submit a claim for up
to five (5) pairs. If your claim is approved, the Claim Amount will be paid by check.

Please note: Class Members shall not initially be required to submit proof of
purchase for one pair of shoes; however, if a Class Member wishes to submit a claim
for more than one pair of shoes (up to five total), proof of purchase will be required.

In order to provide valid proof of purchase, you must include with this Claim Form a
copy of either a receipt, credit card transaction, or dated photograph of the shoes
that shows the shoe model. If you are submitting a receipt or credit card transaction,
please be sure to black out or remove any extra information you do not want the
Class Action Settlement Administrator to see.

Additionally, the Class Action Settlement Administrator may, at its discretion,
request proof of purchase to validate any claim. If the total amount of all claims
submitted by all class members exceeds the total available relief, subject to any and
all applicable deductions, the Class Action Settlement Administrator may request
proof of purchase to validate your claim. If requested, you must provide proof of
purchase or your claim will be reduced or denied and you may not appeal the
reduction or denial.

                                      AFFIRMATION

        I declare or affirm, under penalty of perjury, that the information in this claim
 form is true and correct to the best of my knowledge and that I purchased the
 applicable product(s) claimed above between December 27, 2012 and [DATE]. I
 understand that the decision of the Class Action Settlement Administrator is final and
 binding. I understand that my claim form may be subject to audit, verification, and
 Court review.


 Signature:                                    Date:




 Claim Forms must be electronically submitted no later than [DATE] or postmarked
                              no later than [DATE].

                  Questions? Visit [WEBSITE] or call, toll-free, [NUMBER].
Exhibit 2
1                                     UNITED STATES DISTRICT COURT
2                                  SOUTHERN DISTRICT OF CALIFORNIA
3 SHEILA DASHNAW, WILLIAM MEIER, and
4 SHERRYL JONES, individually, and on behalf
     of all others similarly situated,
5
             Plaintiffs,
6
             v.                                              Case No. 3:17-cv-00159-L-JLB
7
8 NEW BALANCE ATHLETICS, INC., a                             NOTICE OF CLASS ACTION,
     corporation; and DOES 1 through 50, inclusive,
9                                                            PROPOSED SETTLEMENT, AND
                                                             FAIRNESS HEARING
10           Defendants.

11
12                A Federal Court authorized this notice. This is not a solicitation from a lawyer.

13
14                                       YOU ARE NOT BEING SUED.

15       If you purchased any of the New Balance “Made in USA” labeled shoes listed below in

16   California from December 27, 2012 up to and including [DATE], the proposed settlement of

17                                a class action lawsuit may affect your rights.

18
19          The settlement will provide $750,000 to pay claims from those who purchased New

20           Balance “Made in USA” Shoes, in the State of California, at any time from December 27,

21           2012 to [DATE], as well as the costs of administering claims.

22          To qualify, you must have purchased at least one pair of the New Balance “Made in USA”

23           Shoes, listed on page 7 of this Notice.

24   Your legal rights may be affected whether you act or not. Read this Notice carefully because it

25   explains decisions you must make and actions you must take now.

26
27
28

                    QUESTIONS? VISIT [WEBSITE] OR CALL, TOLL-FREE, [PHONE NUMBER].
1              YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
     DO NOTHING          You get no payment. You
2                        give up your rights.
3    SUBMIT A CLAIM FORM This is the only way to get a The Claim Form, which is attached
                         payment.                      to this Notice, must be completed
4                                                      and electronically submitted not
                                                       later than [DATE] or mailed
5                                                      postmarked no later than [DATE].
6                                                      One Claim Form may be submitted
                                                       identifying each pair of eligible
7                                                      shoes purchased.
     EXCLUDE YOURSELF    You get no payment under      An exclusion request must be in
8                        the settlement. This is the   writing and mailed to the Settlement
                         only choice that will allow   Administrator postmarked on or
9                        you to sue New Balance on     before [DATE].
10                       your own about the claims
                         discussed in this Notice.
11   OBJECT TO THE       You can write to the Court    An objection must be in writing,
     SETTLEMENT          about why you do not agree    filed with the Court, and mailed to
12                       with any aspect of the        the Settlement Administrator
                         settlement.                   postmarked on or before [DATE].
13                       You can ask to speak to the   If you wish to appear and speak to
     GO TO A HEARING
14                       Court about the “fairness” of the Court, you must submit a Notice
                         the settlement, after you     of Intention to Appear form, in
15                       submit your objection.        writing, and file it with the Court on
                                                       or before [DATE] in addition to
16                                                     submitting a timely objection.
17        These rights and options – and the deadlines to exercise them – are explained in this
18         Notice.
19        The Court still has to decide whether to approve the settlement. Payments will be
20         distributed if the Court approves the settlement and after appeals, if any, are resolved in
21         favor of the settlement. Please be patient.
22        If you do not exclude yourself from the Class, the proposed settlement (if finally approved)
23         will release certain claims, which are reprinted in full in Appendix A to this Notice, and
24         will affect your right to start or continue any other lawsuit or proceeding involving “Made
25         in USA” Shoes.
26
27
28
                                                         2
                                                                             Case No. 3:17-cv-00159-L-JLB
1                                          WHAT THIS NOTICE CONTAINS
2
3    PART I.       WHY YOU HAVE RECEIVED THIS NOTICE .......................................................... 5
4         1.    WHY DID I RECEIVE THIS NOTICE?...........................................................................5
5         2.    WHAT IS THIS LAWSUIT ABOUT AND WHY DID IT SETTLE? .............................5
6         3.    WHAT DOES THE SETTLEMENT PROVIDE?.............................................................6
7    PART II.      DESCRIPTION OF THE CLASS ................................................................................. 6
8         4.    WHY IS THIS A “CLASS ACTION”? .............................................................................6
9         5.    AM I A MEMBER OF THE CLASS?...............................................................................6
10        6.    ARE THERE EXCEPTIONS TO BEING INCLUDED? ..................................................7
11        7.    WHAT ARE THE “MADE IN USA” SHOES? ................................................................7
12        8.    I’M STILL NOT SURE IF I’M INCLUDED. ...................................................................8
13   PART III. DECISIONS YOU MUST MAKE NOW ...................................................................... 8
14        9.    WHAT DO I NEED TO DO NOW?..................................................................................8
15        10.      WHAT DO I GIVE UP IF I CHOOSE TO STAY IN THE CLASS? ...........................8
16        11.      WHAT IF I DO NOTHING? .........................................................................................9
17   PART IV. SETTLEMENT BENEFITS – WHAT YOU CAN GET .............................................. 9
18        12.      WHAT CAN I GET FROM THE SETTLEMENT?......................................................9
19        13.      HOW CAN I MAKE A CLAIM? ................................................................................10
20        14.      WHAT IS THE CLAIM PROCESS? ..........................................................................10
21        15.      HOW MUCH IS THE CLAIM PROCESS WORTH TO THE CLASS? ....................11
22        16.      WHAT HAPPENS AFTER ALL CLAIMS ARE PROCESSED AND THERE ARE
23                 FUNDS REMAINING? ...............................................................................................11
24        17.      WHEN WILL I GET MY PAYMENT, IF ANY? .......................................................12
25   PART V.       CAN I FILE A LATER LAWSUIT MAKING SIMILAR CLAIMS? ........................ 12
26   PART VI. THE LAWYERS REPRESENTING THE CLASS ..................................................... 13
27        18.      DO I HAVE A LAWYER IN THIS CASE? ...............................................................13
28
                                                                    3
                                                                                                 Case No. 3:17-cv-00159-L-JLB
1         19.      WILL THE LAWYERS AND CLASS REPRESENTATIVES IN THE ACTION BE
2                  PAID?...........................................................................................................................14
3    PART VII. EXCLUDING YOURSELF FROM THE SETTLEMENT ......................................... 14
4         20.      HOW DO I GET OUT OF OR EXCLUDE MYSELF FROM THE
5                  SETTLEMENT? ..........................................................................................................14
6         21.      WHAT HAPPENS IF I EXCLUDE MYSELF FROM THE CLASS? .......................15
7         22.      IF I DON’T EXCLUDE MYSELF, CAN I SUE NEW BALANCE LATER? ...........15
8    PART VIII. OBJECTING TO THE SETTLEMENT ...................................................................... 15
9         23.      HOW CAN I OBJECT TO THE PROPOSED SETTLEMENT?................................16
10        24.      WHAT IS THE DIFFERENCE BETWEEN “OBJECTING” AND
11                 “EXCLUDING”? .........................................................................................................17
12   PART IX. THE COURT’S FAIRNESS HEARING ..................................................................... 17
13        25.      WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE
14                 THE SETTLEMENT? .................................................................................................17
15        26.      DO I HAVE TO COME TO THE HEARING? ...........................................................18
16        27.      MAY I SPEAK AT THE FAIRNESS HEARING?.....................................................18
17        28.      WHAT DO I HAVE TO DO TO SPEAK AT THE FAIRNESS HEARING?............18
18   PART X.       GETTING ADDITIONAL INFORMATION ............................................................. 18
19
20
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                                                                                                            Case No. 3:17-cv-00159-L-JLB
1                   PART I. WHY YOU HAVE RECEIVED THIS NOTICE
2           1.      WHY DID I RECEIVE THIS NOTICE?
3           You received this notice because you may be a Class Member able to receive payment
4    from a proposed settlement of a class action. This lawsuit was brought on behalf of persons who
5    purchased “Made in USA” Shoes (more fully described below) in California from New Balance
6    Athletics, Inc. f/k/a New Balance Athletic Shoe, Inc. (“New Balance”), and/or its Authorized
7    Retailers.
8           The Court approved this notice because you have a right to know about the proposed
9    settlement, and about your rights and options, before the Court decides whether to approve the
10   settlement. You will be informed of the progress of this settlement and may receive payment if
11   you are a Class Member and submit a completed and timely Claim Form.
12          This package explains: (1) this lawsuit, (2) the proposed settlement, (3) your legal rights,
13   (4) what payments are available, (5) who is eligible for what payments under the settlement, (6)
14   how to get a payment, and (7) other important information. Information about the settlement is
15   summarized below. The Settlement Agreement, available on the settlement website, gives greater
16   detail on the rights and duties of the parties. If there is any conflict between this notice and the
17   Settlement Agreement, the Settlement Agreement controls.
18          2.      WHAT IS THIS LAWSUIT ABOUT AND WHY DID IT SETTLE?
19          The lawsuit, Sheila Dashnaw, et al. v. New Balance Athletics, Inc., Case Number 3:17-cv-
20   00159-L-JLB (S.D. Cal) (the “Action”), concerns claims that New Balance violated certain
21   California state laws and consumer protection statutes in connection with the marketing and sale
22   of “Made in USA” Shoes since December 27, 2012. Plaintiffs claim that New Balance labelled
23   certain shoes as “Made in the U.S.A.” when the domestic content did not meet the amounts
24   required under California statutes for such a claim. New Balance denies any and all claims of
25   wrongdoing and does not admit any fault, wrongdoing or liability.
26          The plaintiffs in the Action, through their attorneys, thoroughly investigated the facts and
27   law relating to the issues in the Action. The parties believe that the settlement is fair, reasonable,
28   and adequate and will provide substantial benefit to the Class. The Court has not decided whether
                                                          5
                                                                                Case No. 3:17-cv-00159-L-JLB
1    the plaintiffs’ claims or New Balance’s defenses have any merit, and it will not do so if the
2    proposed settlement is approved. The proposed settlement does not suggest that New Balance has
3    or has not done anything wrong, or that the plaintiffs and the Class would or would not win
4    their case if it were to go to trial.
5             3.     WHAT DOES THE SETTLEMENT PROVIDE?
6             The settlement provides that New Balance will create a fund of $750,000. This will be
7    used to resolve all approved Claims submitted through the Claim Process. The fund is subject to
8    certain terms, requirements, and deductions, as further described below in Question 16. New
9    Balance is also agreeing to make certain disclosures and follow certain procedures in its
10   marketing. Each of the three (3) named Class Representatives will be paid an amount not to
11   exceed $5,000, as awarded by the Court, to be paid from the $750,000 fund. The notice and
12   administration costs for this settlement, in an estimated amount of $200,000, will also be paid
13   from the $750,000 fund. In addition to the $750,000 fund, New Balance has agreed to pay
14   attorneys’ fees and costs, separately, in a total amount not to exceed $650,000, as awarded by the
15   Court.
16                           PART II. DESCRIPTION OF THE CLASS
17            4.     WHY IS THIS A “CLASS ACTION”?
18            In a class action, one or more people, called Class Representatives (in this case, Sheila
19   Dashnaw, William Meier, and Sherryl Jones), sue on behalf of themselves and other people who
20   have similar claims. All these people are Plaintiffs and Class Members. The company they sue, in
21   this case New Balance, is called the Defendant. One Court resolves the issues for all Class
22   Members in a Class Action, except for those who exclude themselves from the Class. The Court in
23   charge of this case is the United States District Court for the Southern District of California,
24   located at the following address: 221 West Broadway, San Diego, California, 92101.
25            5.     AM I A MEMBER OF THE CLASS?
26            Except as noted below, the Class includes all persons who bought any and all “Made in
27   USA” Shoes from New Balance and/or its Authorized Retailers in California from December 27,
28   2012 through [DATE].
                                                          6
                                                                                Case No. 3:17-cv-00159-L-JLB
1    6.       ARE THERE EXCEPTIONS TO BEING INCLUDED?
2    The Class does not include the following persons, entities, or claims:
3            New Balance’s board members or employees, including its attorneys;
4            Persons who purchased the “Made in USA” Shoes primarily for purposes of resale;
5            Distributors or re-sellers of “Made in USA” Shoes;
6            The judge and magistrate judge and their immediate families presiding over the
7             Action;
8            Governmental entities; and
9            Persons or entities who or which timely and properly exclude themselves from the
10            Class as provided in the Settlement Agreement.
11   7.       WHAT ARE THE “MADE IN USA” SHOES?
12   “Made in USA” Shoes means the New Balance “Made in USA” shoes listed below:
13                        ELIGIBLE NEW BALANCE SHOE MODELS

14                              601                     ML996
                              M1140                     ML997
15                            M1290                     MR1105
                              M1300                     MR993
16
                              M1400                     MW812
17                            M1540                      PM15
                              M1700                      PM16
18                            M2040                     US574
19                            M3040                     US576
                               M498                     US990
20                             M574                     US993
                               M585                     US998
21                             M587                     W1140
22                             M770                     W1290
                               M990                     W1400
23                             M991                     W1540
                               M995                     W3040
24
                               M996                      W498
25                             M997                      W587
                              M9975                      W990
26                             M998                      W998
27                            MK706                     WK706
                              ML1300                    WR993
28
                                                7
                                                                      Case No. 3:17-cv-00159-L-JLB
1                               ELIGIBLE NEW BALANCE SHOE MODELS

2                                   ML1978                     WW812

3
            8.      I’M STILL NOT SURE IF I’M INCLUDED.
4
            If you do not understand whether or not you are a Class Member, you can visit our web
5
     site, [WEBSITE], call [TOLL FREE NUMBER] or you can contact Class Counsel.
6
                      PART III. DECISIONS YOU MUST MAKE NOW
7
            9.      WHAT DO I NEED TO DO NOW?
8
            FIRST, you must decide whether you wish to remain in the Class or exclude yourself from
9
     the Class. If you want to be excluded from the Class, you must write to the Class Action
10
     Settlement Administrator as described below in Question 21 no later than [DATE].
11
            SECOND, if you remain in the Class, you may object to any part of the proposed
12
     settlement by filing a written objection with the Court. You must also provide a copy to Class
13
     Counsel and New Balance’s Counsel, as described in Question 24. The Court and the parties must
14
     receive your written objection no later than [DATE].
15
            Additionally, if you file an objection, you may also request to appear and speak at the
16
     Court’s Fairness Hearing. If you wish to appear and speak you must submit an objection and, also,
17
     file and serve a Notice of Intention to Appear at the Fairness Hearing, by [DATE]. See Question
18
     29 for more information.
19
            THIRD, if you remain a Class Member, you can submit a Claim Form, as described
20
     below. Claim Forms may be submitted online no later than [DATE] or mailed, postmarked no
21
     later than [DATE]. You may submit one Claim Form identifying each pair of eligible “Made in
22
     USA” Shoes purchased.
23
            10.     WHAT DO I GIVE UP IF I CHOOSE TO STAY IN THE CLASS?
24
            If you choose to remain in the Class, you may submit a Claim Form and may receive
25
     payment under the settlement. You will be deemed to give New Balance and the Released Parties
26
     the Release and Waiver of Claims set forth in Appendix A. You will also be bound by all Court
27
28
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                                                                             Case No. 3:17-cv-00159-L-JLB
1    actions and judgments entered. You will not be able to sue or otherwise proceed against New
2    Balance on any claims related to this lawsuit.
3           11.     WHAT IF I DO NOTHING?
4           If you are a Class Member and do nothing, you will not get any payment from the
5    settlement, but will be bound by the settlement’s release and waiver of claims. You must
6    complete and submit a Claim Form on or before the deadline, which is [DATE], in order to be
7    considered for payment under the settlement.
8           Unless you exclude yourself from the Class, if the settlement is approved all of the Court’s
9    orders will apply to you and you won’t be able to start a lawsuit, continue with a lawsuit, or be
10   part of any other lawsuit against New Balance about the claims in this lawsuit, ever again,
11   regardless of whether you submit a Claim Form.
12             PART IV. SETTLEMENT BENEFITS – WHAT YOU CAN GET
13          12.     WHAT CAN I GET FROM THE SETTLEMENT?
14          Your payment in this settlement depends upon the approval of your claim and the total sum
15   of all approved Claims submitted by all other Class Members and other factors specified in the
16   Settlement Agreement and in this Class Notice. As a result, the amount of relief available to
17   eligible Class Members may vary.
18          If the total value of all approved Claims submitted by Class Members exceeds the amount
19   of money available to pay claims (i.e., $750,000 less any fees, costs, and payments specified in the
20   Settlement Agreement), each eligible Class Member’s award shall be reduced on a pro rata basis.
21   In the event a Class Member purchased more than one pair of the “Made in USA” Shoes, that
22   Class Member may submit one Claim for each eligible pair of “Made in USA” Shoes purchased,
23   up to a maximum of five (5) pairs.
24          In addition, New Balance has agreed to make certain changes in their marketing and sale of
25   “Made in USA” shoes to make the disclosures regarding the domestic content of its shoes more
26   prominent. In particular, among other steps: (1) Going forward the hangtag that affixed to the
27   “Made in USA” Shoes will no longer include the phrase “Made in the USA” on the front of the
28   tag. On the back, in clear readable font, the hangtag will include the following sentence, or words
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                                                                              Case No. 3:17-cv-00159-L-JLB
1    to similar effect, “New Balance ‘made’ is a premium collection that contains domestic value of
2    70% or greater” unless and until a change in either federal or California law obviates the need for
3    such clarification. (2) Going forward shoe boxes for the “Made in USA” Shoes will not include
4    the phrase “Made in the USA” on the outside top panel of the box. New Balance may indicate that
5    the shoes are made in the United States on the side(s) of the shoe box if, on the end and/or side of
6    the shoe box, in clear readable font, it states the following sentence, or words to similar effect,
7    “New Balance ‘made’ is a premium collection that contains domestic value of 70% or greater”
8    unless and until a change in either federal or California law obviates the need for such
9    clarification. Please see the settlement agreement for further information.
10          13.      HOW CAN I MAKE A CLAIM?
11          To receive a payment under the settlement, you must send in a Claim Form. A Claim Form
12   and directions are attached as Appendix B to this Class Notice. You may also obtain and print a
13   Claim Form and other relevant documents by visiting [WEBSITE]. Please read the instructions
14   and certification carefully, and fill out the form completely and accurately. Claim forms must be
15   electronically submitted no later than [DATE] or mailed postmarked no later than [DATE] and
16   addressed to:
17                                          New Balance Settlement
18                                                [ADDRESS]
19                                                [ADDRESS]
20                                                [ADDRESS]
21          One Claim Form can be used for more than one pair of eligible shoes purchased.
22          14.      WHAT IS THE CLAIM PROCESS?
23          The Class Action Settlement Administrator will review each Claim Form. You may be
24   requested to verify your purchase of “Made in USA” Shoes, by providing receipt(s) or other
25   documentation. If you do not respond to these requests, it may result in the denial of your Claim.
26   You will have thirty-five (35) days from the date of the Settlement Administrator’s request to
27   respond.
28
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                                                                                Case No. 3:17-cv-00159-L-JLB
1           If a Claim is not contested, you will receive payment for that Claim in accordance with the
2    terms of the Settlement Agreement. The Claim Amount will be paid in the form of a check. The
3    Administrator may require proof of purchase to verify any claims, though proof of purchase will
4    not be required in the first instance for claims limited to a single purchase. If the total Claims
5    submitted by one person exceed $10.00, proof of purchase to validate the claims will be required.
6    Finally, all usual and customary steps to prevent fraud and abuse in the Claim Process will be
7    taken. This includes denying claims in whole or in part to prevent fraud or abuse. Class Counsel
8    and New Balance will be provided a report on the denial of any claim due to insufficient
9    documentation and may recommend additional action including payment.
10          The payment of approved Claims shall begin ten (10) days after the close of the Claim
11   Period so long as this period is after the date the settlement is final and approved, including any
12   appeals that must be resolved in favor of the settlement (the “Final Settlement Date”). Please see
13   the Settlement Agreement and Question 17 for further information on how the Final Settlement
14   Date is determined. The payment process shall be completed with approved Claims within one
15   hundred twenty (120) days from its beginning.
16          15.     HOW MUCH IS THE CLAIM PROCESS WORTH TO THE CLASS?
17          The settlement will provide a fund of $750,000 that will be used to pay (i) the costs and
18   expenses associated with the notice and claims administration; (ii) incentive payments of up to
19   $5,000 to each named plaintiff, as ordered by the court; and (iii) valid and approved Claims
20   submitted by Class Members pursuant to the Claim Process. The fund will not be used to pay New
21   Balance’s attorneys’ fees and costs or Class Counsels’ attorneys’ fees and costs.
22          16.     WHAT HAPPENS AFTER ALL CLAIMS ARE PROCESSED AND THERE
23   ARE FUNDS REMAINING?
24          If there are any funds remaining after all claims are processed, those funds shall be
25   awarded cy pres and distributed to the following non-profit organizations: United Service
26   Organization, which provides the Heroes Make America Program, which is a career skills training
27   program that arms transitioning service members with the unique qualifications and industry-
28
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                                                                                Case No. 3:17-cv-00159-L-JLB
1    specific certifications necessary to secure rewarding jobs in the manufacturing industry. No
2    remaining funds will be returned to New Balance.
3           17.     WHEN WILL I GET MY PAYMENT, IF ANY?
4           The Court will hold a Fairness Hearing on [DATE] at [TIME] to decide whether or not to
5    approve the proposed settlement. The Court must finally approve the proposed settlement before
6    any payments can be made. The Court will grant its approval only if it finds that the proposed
7    settlement is fair, reasonable, and adequate. In addition, the Court’s order may be subject to
8    appeals. It is always uncertain whether these appeals can be resolved, and resolving them takes
9    time, sometimes more than a year. Finally, there remains a possibility that this settlement may be
10   terminated for other reasons. Everyone who sends in a Claim Form will be informed of the
11   progress of the settlement. Please be patient. The payment of approved Claims will begin ten
12   (10) days after the close of the Claim Period so long as this is after the Final Settlement Date.
13   It may begin sooner if agreed to by Plaintiffs’ Counsel and New Balance. In the event the
14   Final Settlement Date falls after the close of the Claim Period, then payments of approved
15   Claims will begin ten (10) days after the Final Settlement Date.
16          The Class Action Settlement Administrator shall have completed the payment to
17   Class Members who have submitted timely, valid, and approved Claims, no later than one
18   hundred and twenty (120) days after the Final Settlement Date or the close of the Claim
19   Period, whichever is later.
20        PART V. CAN I FILE A LATER LAWSUIT MAKING SIMILAR CLAIMS?
21      No. If you remain a member of the Class and the settlement is finally approved, you will
22   be automatically prohibited from starting or continuing any lawsuit or other proceeding
23   against New Balance if those claims have been (or could have been) asserted in this lawsuit.
24      As part of this settlement, the Court has preliminary stopped all Class Members and/or their
25   representatives (who do not timely exclude themselves from the Class) from filing, participating
26   in, or continuing litigation as Class Members or otherwise against New Balance (or against any of
27   its related parties or affiliates), and/or from receiving any benefits from any lawsuit,
28
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                                                                                Case No. 3:17-cv-00159-L-JLB
1    administrative, or regulatory proceeding or order in any jurisdiction, based on or relating to the
2    claims or causes of actions or the facts, and circumstances relating thereto, in the class action.
3       The Court has also preliminary stopped all persons from filing, beginning, or prosecuting a
4    lawsuit against New Balance (or against any of its related parties or affiliates) as a class action, a
5    separate class, or group for purposes of pursuing a putative class action (including by seeking to
6    amend a pending complaint to include class allegations or by seeking class certification in a
7    pending action in any jurisdiction) on behalf of Class Members who do not timely exclude
8    themselves from the Class, based on or relating to the claims, facts, and/or circumstances of the
9    class action.
10      Upon final approval of the settlement, Plaintiffs and New Balance will ask the Court to enter a
11   permanent ruling forbidding all Class Members and/or their representatives and/or personnel from
12   engaging in the activities described above. All Class Members will be bound by this order.
13                   PART VI. THE LAWYERS REPRESENTING THE CLASS
14          18.       DO I HAVE A LAWYER IN THIS CASE?
15          The Court has designated attorneys Jason H. Kim of Schneider Wallace Cottrell Konecky
16   Wotkyns LLP and Aubry Wand of The Wand Law Firm to represent you and the other Class
17   Members in this lawsuit. The lawyers representing you and the Class Members are called “Class
18   Counsel.” You will not be charged for the services of the Class Counsel. No later than fourteen
19   (14) days prior to the objection deadline (see Part VIII), Class Counsel shall submit a request to
20   the Court for payment of attorneys’ fees and costs not to exceed $650,000. Any fees and costs
21   awarded by the Court will be paid by New Balance and will not reduce the settlement relief
22   available to Class Members.
23          You may contact Class Counsel about this lawsuit at the following address:
24
      The Wand Law Firm, P.C.                     Schneider Wallace Cottrell Konecky & Wotkyns LLP
25    Aubry Wand                                  Jason H. Kim
      400 Corporate Pointe, Suite 300             2000 Powell Street, Suite 1400
26    Culver City, CA 90230                       Emeryville, CA 94608
      Telephone: (310) 590-4503                   Telephone: (415) 421-7100
27
            Email: newbalancesettlement@gmail.com
28
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                                                                                Case No. 3:17-cv-00159-L-JLB
1            You have the right to retain your own lawyer to represent you in this case, but you are not
2    obligated to do so. If you do hire your own lawyer, you will have to pay his or her fees and
3    expenses. You also have the right to represent yourself before the Court without a lawyer.
4            19.    WILL THE LAWYERS AND CLASS REPRESENTATIVES IN THE
5    ACTION BE PAID?
6            Class Counsel have prosecuted this case on a completely contingent fee and have not been
7    paid anything to date for their services. Class Counsel will request attorneys’ fees and expenses
8    not to exceed $650,000 to be paid directly by New Balance and outside of the Settlement Fund.
9            Class Counsel will petition the Court for service awards of up to $5,000 for each of the
10   named plaintiffs, Sheila Dashnaw, William Meier, and Sherryl Jones. The purpose of such awards
11   is to compensate for efforts and risks taken by them on behalf of the Class. Any such amount
12   awarded by the Court as a service award for the named plaintiffs will be paid out of the $750,000
13   fund.
14           PART VII. EXCLUDING YOURSELF FROM THE SETTLEMENT
15           If you don’t want a payment from this settlement, but you want to keep the right to sue or
16   continue to sue New Balance on your own about the legal issues in this case, then you must take
17   steps to get out of the Class. This is called excluding yourself or “opting out” of the Class.
18           20.    HOW DO I GET OUT OF OR EXCLUDE MYSELF FROM THE
19   SETTLEMENT?
20           If you want to be excluded from the Class, you must write to the Class Action Settlement
21   Administrator. To exclude yourself from the settlement, you must send a letter by mail. Your
22   exclusion request letter must be postmarked no later than [DATE]. Send your letter to:
23                                         New Balance Settlement
24                                               [ADDRESS]
25                                               [ADDRESS]
26                                               [ADDRESS]
27           Your letter requesting exclusion does not need to be in any particular form, but it shall
28   include the following information in order to be effective:
                                                        14
                                                                               Case No. 3:17-cv-00159-L-JLB
1             (1) your name;
2             (2) your address;
3             (3) your telephone number;
4             (4) the “Made in USA” Shoes for which you are requesting exclusion;
5             (5) a statement that you wish to be excluded from the Class;
6             (6) your signature; and
7             (7) the case name and case numbers: Sheila Dashnaw, et al. v. New Balance Athletics, Inc.,
8             Case Number 3:17-cv-00159-L-JLB (S.D. Cal.)
9    Please write “EXCLUSION REQUEST” on the lower left-hand corner of the front of the
10   envelope.
11            21.       WHAT HAPPENS IF I EXCLUDE MYSELF FROM THE CLASS?
12            If you request exclusion from the Class, then for each of the excluded “Made in USA”
13   Shoes:
14                     You will not be eligible for payment under the proposed settlement;
15                     You will not be allowed to object to the terms of the proposed settlement; and
16                     You will not be bound by any subsequent rulings entered in this case if the
17                      proposed settlement is finally approved.
18            However, if your request for exclusion is late or deficient, you will still be a part of the
19   Class, you will be bound by the settlement and all other orders and judgments in this
20   lawsuit, and you will not be able to participate in any other lawsuits based on the claims in
21   this case.
22            22.       IF I DON’T EXCLUDE MYSELF, CAN I SUE NEW BALANCE LATER?
23            No. If the Court approves the proposed settlement and you do not exclude yourself form
24   the Class, you release (give up) all claims that have been or could have been asserted in this
25   lawsuit relating to your “Made in USA” Shoes.
26                       PART VIII. OBJECTING TO THE SETTLEMENT
27            You have the right to tell the Court that you do not agree with the settlement or any or all
28   of its terms.
                                                          15
                                                                                Case No. 3:17-cv-00159-L-JLB
1           23.     HOW CAN I OBJECT TO THE PROPOSED SETTLEMENT?
2           If you choose to remain a Class Member, you have a right to object to any part of the
3    proposed settlement. The Court will consider your views.
4           To object, you must send a letter to the Class Action Settlement Administrator saying you
5    object to Sheila Dashnaw, et al. v. New Balance Athletics, Inc., Case Number 3:17-cv-00159-L-
6    JLB (S.D. Cal.). Your written objection must include:
7                   (1) your name;
8                   (2) your address;
9                   (3) your telephone number;
10                  (4) proof of purchase of “Made in USA” Shoes, such as a cash register receipt, a
11                  credit card receipt, or a credit card statement that sufficiently indicates the purchase
12                  of the “Made in USA” Shoes;
13                  (5) a written statement of your objection(s), including any legal support and/or
14                  supporting evidence you wish to introduce;
15                  (6) a statement of whether you intend to appear at the Fairness Hearing;
16                  (7) your signature; and
17                  (8) the case name and case numbers: Sheila Dashnaw, et al. v. New Balance
18                  Athletics, Inc., Case Number 3:17-cv-00159-L-JLB (S.D. Cal.)
19   If you choose to object, in order to be considered by the Court, your written objection must be
20   filed with the Court, and copies must be received by all of the following recipients no later
21   than [DATE]:
                    COURT                           CLAIMS ADMINISTRATOR
22    Clerk of the Court                      Heffler Claims Group
23    United States District Court            1515 Market Street
      Southern District of California         Suite 1700
24    Edward J. Schwartz U.S.                 Philadelphia, PA 19102
      Courthouse
25    221 West Broadway
      San Diego, California 92101
26
27
28
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                                                                               Case No. 3:17-cv-00159-L-JLB
1    If you file objections, but the Court approves the settlement as proposed, you can still complete a
2    Claim Form to be eligible for payment under the settlement, subject to the terms and conditions
3    discussed in this Notice and in the Settlement Agreement.
4             24.    WHAT IS THE DIFFERENCE BETWEEN “OBJECTING” AND
5    “EXCLUDING”?
6             Objecting is simply a way of telling the Court that you don’t like something about the
7    settlement. You can only object if you stay in the Class.
8             If you object to the settlement, you still remain a member of the Class and you will still be
9    eligible to submit a Claim Form. You will also be bound by any subsequent rulings in this case
10   and you will not be able to file or participate in any other lawsuit or proceeding based upon or
11   relating to the claims, causes of action, facts, or circumstances of this case. Excluding yourself is
12   telling the Court that you don’t want to be a part of the Class. If you exclude yourself, you have no
13   basis to object to the settlement and appear at the Fairness Hearing because it no longer affects
14   you.
15                      PART IX. THE COURT’S FAIRNESS HEARING
16            The Court will hold a final hearing (called a Fairness Hearing) to decide whether to finally
17   approve the settlement. You may attend and ask to speak, but you don’t have to.
18            25.    WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO
19   APPROVE THE SETTLEMENT?
20            On [DATE], at [TIME], the Court will hold a Fairness Hearing at the United States District
21   Court for the Southern District of California, before the Honorable M. James Lorenz, in
22   Courtroom 5B, Edward J. Schwartz U.S. Courthouse, 221 West Broadway, San Diego, California
23   92101.
24            At the hearing, the Court will consider whether to grant final certification to the Class for
25   settlement purposes, whether to approve the proposed settlement as fair, reasonable, and adequate,
26   and will make a final ruling on all related settlement issues. The Court will also decide whether to
27   award attorneys’ fees and costs, as well as Class Representatives awards.
28
                                                          17
                                                                                Case No. 3:17-cv-00159-L-JLB
1           26.     DO I HAVE TO COME TO THE HEARING?
2           No. Class Counsel will answer questions the Court may have at the Fairness Hearing. But
3    you are welcome to come at your own expense. Please note that the Court has the right to change
4    the date and/or time of the Fairness Hearing without further notice. If you are planning to attend
5    the hearing, you should confirm the date and time before going to the Court.
6           27.     MAY I SPEAK AT THE FAIRNESS HEARING?
7           Yes, if you have filed an objection, you may ask the Court for permission to speak at the
8    hearing. To do so, you must submit an objection and also file a document called a “Notice of
9    Intention to Appear.”
10          28.     WHAT DO I HAVE TO DO TO SPEAK AT THE FAIRNESS HEARING?
11          If you are a member of the Class, and you (or your attorney) want to appear and speak at
12   the Fairness Hearing, you (or your attorney) must have submitted an objection and must file a
13   Notice of Intention to Appear at the Fairness Hearing with the Clerk of the Court, and deliver
14   that Notice to the attorneys for both sides, at the addresses listed above. Your Notice of Intention
15   to Appear at the Fairness Hearing must be filed and received by the Court, New Balance’s
16   Counsel, and Class Counsel, at the addresses specified in Question 24 no later than [DATE].
17          If you file objections and appear at the Fairness Hearing, but the Court approves the
18   settlement as proposed, you can still complete a Claim Form to be eligible for payment under the
19   settlement, subject to the terms and conditions discussed in this Notice and in the Settlement
20   Agreement.
21                   PART X. GETTING ADDITIONAL INFORMATION
22          This Notice and the accompanying documents summarize the proposed settlement. More
23   details are contained in the Settlement Agreement. The full Settlement Agreement is on file with
24   the Clerk of the Court. For a more detailed statement of the matters involved in this case, you may
25   review the complaint and the other papers and Court orders on file in the Clerk’s office at any time
26   during normal business hours, Monday through Friday, 7:00 a.m. to 6:00 p.m. PST.
27          If you have questions after reading this notice, you can visit [WEBSITE] to obtain
28   additional information about the proposed settlement and the Claim Form or you can call, toll-
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                                                                              Case No. 3:17-cv-00159-L-JLB
1    free, [PHONE NUMBER] to obtain additional information about the settlement. You may also
2    direct your questions about the settlement to Class Counsel, whose names and addresses are listed
3    in Question 20 of this Notice.
4
5    PLEASE DO NOT CALL THE COURT OR THE CLERK OF THE COURT
6
7
8
9    Dated: [DATE]                                         Clerk of the Court for the United States
10                                                         District Court for the Southern District of
11                                                         California
12
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                                                                              Case No. 3:17-cv-00159-L-JLB
1                                               APPENDIX A
2                                      Release And Waiver of Claims
3    1. The Parties agree to the following release and waiver, which shall take effect upon entry of
4       the Final Order and Final Judgment.
5    2. “Released Parties” means New Balance, its past, present, and future parents (including but
6       not limited to New Balance, Inc., and any intermediary and/or ultimate parents), officers,
7       directors, employees, stockholders, agents, attorneys, administrators, successors, suppliers,
8       distributors, reorganized successors, spin-offs, assigns, holding companies, related
9       companies,    subsidiaries,   affiliates,   joint-ventures,   partners,   members,    divisions,
10      predecessors, and Authorized Retailers of “Made in USA” Shoes for resale.
11   3. In consideration for the Settlement benefits described in this Agreement, Plaintiffs and the
12      other members of the Class, on behalf of themselves, their heirs, guardians, assigns,
13      executors, administrators, predecessors, and/or successors, will fully, finally and forever
14      release, relinquish, acquit, and discharge the Released Parties from – and shall not now
15      or hereafter institute, maintain, or assert on their own behalf, on behalf of the Class or on
16      behalf of any other person or entity – any and all manner of claims, actions, causes of
17      action, suits, rights, debts, sums of money, payments, obligations, reckonings, contracts,
18      agreements, executions, promises, damages, liens, judgments and demands of whatever
19      kind, type or nature and whatsoever, both at law and in equity, whether based on federal,
20      state or local law, statute, ordinance, regulation, code, contract, common law, or any other
21      source, or any claim that Plaintiffs or Class Members ever had, now have, may have, or
22      hereafter can, shall or may ever have against the Released Parties in any other court, tribunal,
23      arbitration panel, commission, agency, or before any governmental and/or administrative
24      body, or any other adjudicatory body, on the basis of, connected with, arising from or relating
25      to the claims alleged in the complaint in the Action during the Class Period, including, but
26      not limited to, communications, disclosures, nondisclosures, representations, statements,
27      claims, omissions, messaging, design, testing, marketing, advertising, promotion,
28
                                                     20
                                                                            Case No. 3:17-cv-00159-L-JLB
1       packaging, displays, brochures, studies, manufacture, distribution, operation, performance,
2       functionality, notification, providing, offering, dissemination, replacement, sale and/or
3       resale by the Released Parties of the “Made in USA” Shoes; any claims for rescission,
4       restitution or unjust enrichment for all damages of any kind; violations of any state’s
5       deceptive, unlawful and/or unfair business and/or trade practices, false, misleading or
6       fraudulent advertising, consumer fraud and/or consumer protection statutes; any violation of
7       the Uniform Commercial Code, any breaches of express, implied and/or any other
8       warranties, any similar federal, state or local statutes, codes, damages, costs, expenses, extra-
9       contractual damages, compensatory damages, exemplary damages, special damages,
10      penalties, punitive damages and/or damage multipliers, disgorgement, declaratory relief,
11      expenses, interest, and/or attorneys’ fees and costs against the Released Parties pertaining to
12      or relating to the claims alleged in the complaint in the Action, notwithstanding that Plaintiffs
13      and the Class acknowledge that they may hereafter discover facts in addition to or different
14      from those that they now know or believe to be true concerning the subject matter of the
15      Action and/or the Release herein. Released Claims do not include any claims that cannot be
16      released as a matter of law.
17   4. Plaintiffs represent and warrant that they are the sole and exclusive owner of all claims
18      that they personally are releasing under this Agreement. Plaintiffs further acknowledge that
19      they have not assigned, pledged, or in any manner whatsoever, sold, transferred, assigned or
20      encumbered any right, title, interest or claim arising out of or in any way whatsoever
21      pertaining to the Action, including without limitation, any claim for benefits, proceeds or
22      value under the Action, and that Plaintiffs are not aware of anyone other than themselves
23      claiming any interest, in whole or in part, in the Action or in any benefits, proceeds or
24      values under the Action. Class Members submitting a Claim Form shall represent and
25      warrant therein that they are the sole and exclusive owner of all claims that they personally
26      are releasing under the Settlement and that they have not assigned, pledged, or in any
27      manner whatsoever, sold, transferred, assigned or encumbered any right, title, interest or
28
                                                    21
                                                                            Case No. 3:17-cv-00159-L-JLB
1       claim arising out of or in any way whatsoever pertaining to the Action, including without
2       limitation, any claim for benefits, proceeds or value under the Action, and that such Class
3       Member(s) are not aware of anyone other than themselves claiming any interest, in whole
4       or in part, in the Action or in any benefits, proceeds or values under the Action.
5    5. Without in any way limiting its scope, and, except to the extent otherwise specified in the
6       Agreement, this Release covers by example and without limitation, any and all claims for
7       attorneys' fees, costs, expert fees, or consultant fees, interest, or litigation fees, costs or any
8       other fees, costs, and/or disbursements incurred by Plaintiffs’ Counsel, or by Plaintiffs or the
9       Class Members.
10   6. In addition to the Released Claims, the Named Plaintiffs only agree to a general release,
11      which includes a release of any unknown claims that they did not know or suspect to exist
12      in their favor at the time of the general release, which, if known, might have affected their
13      Settlement with, and general release of, the Released Parties. With respect to the general
14      release, the Named Plaintiffs only stipulate and agree that, upon the execution of this
15      Agreement, and by operation of the Final Judgment, they shall be deemed to have expressly
16      waived and relinquished, to the fullest extent permitted by law, the provisions, rights and
17      benefits of Section 1542 of the Civil Code of the State of California, which provides that:
18              “a general release does not extend to claims which the creditor does not
                know or suspect to exist in his or her favor at the time of executing the
19              release, which if known by him or her must have materially affected his or
                her settlement with the debtor.”
20
        Named Plaintiffs only hereby agree that the provisions of all such principles of law or similar
21
        federal or state laws, rights, rules, or legal principles are hereby knowingly and voluntarily
22
        waived, relinquished and released.
23
     7. Nothing in this Release shall preclude any action to enforce the terms of the Agreement,
24
        including participation in any of the processes detailed therein.
25
     8. Plaintiffs and Defendant hereby agree and acknowledge that the provisions of this Release
26
        together constitute an essential and material term of the Agreement and shall be included in
27
        any Final Order and Final Judgment entered by the Court.
28
                                                     22
                                                                             Case No. 3:17-cv-00159-L-JLB
1                                        APPENDIX B
2                                          Claim Form
3
                           New Balance Shoe Class Action Settlement
4                                       Claim Form

5    Use this claim form only if you bought eligible New Balance “Made in USA” shoes in
     California from December 27, 2012 to [DATE]. The eligible New Balance shoes are listed
6    below.
7
     All claim forms must be electronically submitted no later than [DATE] or postmarked
8    no later than [DATE] to:
                                   New Balance Settlement
9
                                       [ADDRESS]
10                                     [ADDRESS]
                                       [ADDRESS]
11
                        CLAIM INFORMATION
12   CLASS MEMBER INFORMATION
13
14   Name:

15   Mailing
     Address:
16
                    Number and Street
17                                                                     Zip
     City:                              State:                         Code:
18   Best
     Telephone
19   Number:                                     E-Mail Address:
20
21                PURCHASE INFORMATION – NEW BALANCE SHOES

22      Eligible New
                              Quantity
        Balance Shoe                                      Location Purchased
                             Purchased
23         Models
       601
24     M1140
25     M1290
       M1300
26     M1400
       M1540
27     M1700
28     M2040
                                                 23
                                                                      Case No. 3:17-cv-00159-L-JLB
1              PURCHASE INFORMATION – NEW BALANCE SHOES
2     Eligible New
                       Quantity
3     Balance Shoe                       Location Purchased
                      Purchased
         Models
4    M3040
     M498
5    M574
     M585
6
     M587
7    M770
     M990
8    M991
     M995
9    M996
10   M997
     M9975
11   M998
     MK706
12   ML1300
13   ML1978
     ML996
14   ML997
     MR1105
15
     MR993
16   MW812
     PM15
17   PM16
18   US574
     US576
19   US990
     US993
20   US998
21   W1140
     W1290
22   W1400
23   W1540
     W3040
24   W498
     W587
25   W990
26   W998
     WK706
27   WR993
     WW812
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                                   24
                                                  Case No. 3:17-cv-00159-L-JLB
     Payment amounts to eligible Class Members will vary depending upon the number and
1    amounts claimed by al l Class Members and other adjustments and deductions as specified
2    in the Settlement Agreement. The amount could be up to $10 for each pair of Made in the
     USA shoes purchased. Eligible Class Members may submit a claim for up to five (5)
3    pairs. If your claim is approved, the Claim Amount will be paid by check.

4    Please note: Class Members shall not initially be required to submit proof of purchase
     for one pair of shoes; however, if a Class Member wishes to submit a claim for more
5    than one pair of shoes (up to five total), proof of purchase will be required.
6    In order to provide valid proof of purchase, you must include with this Claim Form a
7    copy of either a receipt, credit card transaction, or dated photograph of the shoes that
     shows the shoe model. If you are submitting a receipt or credit card transaction, please
8    be sure to black out or remove any extra information you do not want the Class Action
     Settlement Administrator to see.
9
     Additionally, the Class Action Settlement Administrator may, at its discretion, request
10   proof of purchase to validate any claim. If the total amount of all claims submitted by
11   all class members exceeds the total available relief, subject to any and all applicable
     deductions, the Class Action Settlement Administrator may request proof of purchase to
12   validate your claim. If requested, you must provide proof of purchase or your claim will
     be reduced or denied and you may not appeal the reduction or denial.
13
                                         AFFIRMATION
14
15          I declare or affirm, under penalty of perjury, that the information in this claim
      form is true and correct to the best of my knowledge and that I purchased the
16    applicable product(s) claimed above between December 27, 2012 and [DATE]. I
      understand that the decision of the Class Action Settlement Administrator is final and
17    binding. I understand that my claim form may be subject to audit, verification, and
      Court review.
18
19    Signature:                                   Date:

20
21    Claim Forms must be electronically submitted no later than [DATE] or postmarked
                                   no later than [DATE].
22
23                    Questions? Visit [WEBSITE] or call, toll-free, [NUMBER].

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                                                  25
                                                                       Case No. 3:17-cv-00159-L-JLB
Exhibit 3
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10                         UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12 SHEILA DASHNAW, WILLIAM
13 MEIER, and SHERRYL JONES,
   individually, and on behalf of all others
14 similarly situated,
15
         Plaintiffs,
16                                               Case No. 3:17-cv-00159-L-JLB
17         v.
                                                 FINAL ORDER APPROVING
18 NEW BALANCE ATHLETICS, INC., a                CLASS ACTION SETTLEMENT
19 corporation; and DOES 1 through 50,
   inclusive,
20
21         Defendants.
22
23
           This motion for final approval, having been brought before the Court jointly by
24
     the Parties pursuant to their Settlement Agreement, with its attached exhibits
25
     (collectively, the “Settlement Agreement”), signed and filed with this Court on
26
     [DATE], to settle Sheila Dashnaw et al. v. New Balance Athletics, Inc., Case Number
27
     3:17-cv-00159-L-JLB (S.D. Cal.) (the “Action”); and
28

     FINAL ORDER APPROVING CLASS ACTION                            CASE NO. 17-CV-00159-L-JLB
     SETTLEMENT
1          The Court having entered an Order dated [DATE] (the “Preliminary Approval
2    Order”), preliminarily certifying the putative class in this action for settlement
3    purposes only under Fed. R. Civ. P. 23(a) and (b)(3), ordering individual and
4    publication notice to potential Class Members, scheduling a Fairness Hearing for
5    [DATE], providing potential Class Members with an opportunity either to exclude
6    themselves from the settlement class or to object to the proposed settlement and
7    issuing related Orders; and
8          The Court having held a Fairness Hearing on [DATE] to determine whether to
9    grant final approval of the proposed settlement and issue related relief; and
10         The Court having considered the papers submitted by the Parties and by all
11   other persons who timely submitted papers in accordance with the Preliminary
12   Approval Order, and having heard oral presentations by the Parties and all persons
13   who complied with the Preliminary Approval Order, and based on all of the foregoing,
14   together with this Court’s familiarity with the Action, it is hereby
15         ORDERED, ADJUDGED AND DECREED as follows:
16        1.      Incorporation of Other Documents. This Final Order Approving Class
17   Action Settlement incorporates and makes a part hereof: (a) the Settlement
18   Agreement, including all amendments and exhibits thereto, and definitions included
19   therein, which was signed and filed with this Court on [DATE]; (b) the briefs,
20   affidavits, declarations, and other materials filed in support of the settlement and Class
21   Counsel’s request for an award of attorneys’ fees and reimbursement of expenses; (c)
22   the record at the Fairness Hearing; (d) the documents listed on the docket sheet or
23   otherwise submitted to the Court; and (e) all prior proceedings in the Action.
24        2.      Jurisdiction. Because due, adequate, and the best practicable notice has
25   been disseminated and all potential Class Members have been given the opportunity
26   to exclude themselves from or object to this class action settlement, the Court has
27   personal jurisdiction over all Class Members (as defined below). The Court has
28                                               -2-
       FINAL ORDER APPROVING CLASS ACTION                               CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT
1    subject-matter jurisdiction over the claims asserted in the complaint and/or the Action
2    pursuant to 28 U.S.C. §§ 1332 and 1367, including, without limitation, jurisdiction to
3    approve the proposed settlement and the Settlement Agreement and all exhibits
4    attached thereto, grant final certification to the Class, dismiss the Action on the merits
5    and with prejudice, and issue related orders. The Court finds that venue is proper in
6    this district pursuant to 28 U.S.C. § 1391. The Magistrate Judge shall retain
7    jurisdiction over all disputes between and among the parties arising out of the
8    Settlement Agreement, including but not limited to the interpretation and enforcement
9    of the terms of the Settlement Agreement.
10        1.      Final Class Certification. The Class preliminarily certified by this
11   Court is hereby finally certified for settlement purposes only under Fed. R. Civ. P.
12   23(a), (b)(3), and (c)(2), the Court finding that the Class fully satisfies all the
13   applicable requirements of Fed. R. Civ. P. 23 and due process. The Class shall
14   consist of all persons who purchased any and all “Made in USA” Shoes from New
15   Balance and/or its Authorized Retailers, from December 27, 2012, up to and
16   including [DATE] (the “Class Period”) in California. Excluded from the Class are:
17   (a) New Balance's Board members and employees, including its attorneys; (b) any
18   persons who purchased the “Made in USA” Shoes for the purposes of resale; (c)
19   distributors or re-sellers of “Made in USA” Shoes; (d) the judge and magistrate
20   judge and their immediate families presiding over the Action; (e) governmental
21   entities; and (f) persons or entities who or which timely and properly exclude
22   themselves from the Class as provided in the Settlement Agreement. “‘Made in
23   USA’ Shoes” means the New Balance “Made in USA” labeled shoes purchased as
24   new by Class Members during the Class Period in California, listed below:
25
26                               ELIGIBLE NEW BALANCE SHOE MODELS
                                    601                     ML996
27
                                   M1140                    ML997
28                                               -3-
       FINAL ORDER APPROVING CLASS ACTION                                CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT
1                               ELIGIBLE NEW BALANCE SHOE MODELS
                                 M1290                  MR1105
2
                                 M1300                  MR993
3                                M1400                  MW812
                                 M1540                   PM15
4                                M1700                   PM16
5                                M2040                  US574
                                 M3040                  US576
6                                 M498                  US990
                                  M574                  US993
7
                                  M585                  US998
8                                 M587                  W1140
                                  M770                  W1290
9                                 M990                  W1400
10                                M991                  W1540
                                  M995                  W3040
11                                M996                   W498
                                  M997                   W587
12                               M9975                   W990
13                                M998                   W998
                                 MK706                  WK706
14                               ML1300                 WR993
                                 ML1978                 WW812
15
16       2.      Requests for Exclusion. The Court finds that only those persons and

17   entities for the specific “Made in USA” Shoes listed in Exhibit A to the Affidavit of

18   Jeanne Finegan and filed with the Court have submitted timely and valid requests for

19   exclusion from the Class and are therefore not bound by this Final Order and

20   accompanying Final Judgment. Class Counsel and New Balance’s Counsel may

21   mutually agree to allow additional Class Members to exclude themselves or to

22   withdraw their exclusion requests by filing an appropriate notice with the Court.

23       3.      Fairness of Settlement. The Court finds that the Settlement was made

24   and entered into in good faith and hereby approves the Settlement as fair, adequate

25   and reasonable to all Class Members.

26       4.      Notice. Notice to Class Members, as set forth in the Settlement

27   Agreement, has been completed in conformity with the Preliminary Approval Order

28                                             -4-
      FINAL ORDER APPROVING CLASS ACTION                             CASE NO. 17-CV-00159-L-JLB
      SETTLEMENT
1    as to all Class Members who could be identified through reasonable effort. The Court
2    finds that said notice was the best notice practicable under the circumstances. The
3    Class Notice provided due and adequate notice to Class Members of the proceedings
4    and of the matters set forth therein, including the Settlement, and the manner by which
5    objections to the Settlement could be made and Class Members could opt out of the
6    Settlement. The Class Notice and Notice Plan fully satisfied the requirements of due
7    process.
8         5.       Monetary Payments to the Class. The Court finds the compensation to
9    the Class is fair and reasonable, and authorizes the Claims Administrator to pay the
10   Claim Amounts to the Class Members in accordance with the terms of the Settlement
11   Agreement.
12        6.       Injunctive Relief. The Court finds the injunctive relief provided under
13   the Settlement is fair and reasonable and Defendant shall comply with the terms of
14   injunctive relief in accordance with the terms of the Settlement Agreement. The
15   changes to its business practices undertaken by New Balance in Section III.D. of the
16   Settlement Agreement are appropriate and sufficient to avoid future violations of
17   Cal. Bus. & Prof. Code §§ 17200 et seq., 17500 et seq., 17533.7(a); Cal. Civ. Code
18   § 1750; breach of express warranty; negligent misrepresentation; and/or unjust
19   enrichment.
20        7.       Class Representative Service Awards. Named Plaintiffs and Class
21   Representatives Sheila Dashnaw, William Meier, and Sherryl Jones shall each be paid
22   a Service Award in the amount of $___________ for their time and effort in bringing
23   and presenting the action and for releasing their Released Claims.
24        8.       Class Counsel’s Attorneys’ Fees and Costs. Class Counsel is awarded
25   $________________ for their reasonable attorneys’ fees and $__________ for their
26   reasonable costs incurred in the action, the factual and legal basis of which is set forth
27   in the Court’s order granting Plaintiffs’ Motion for Attorneys’ Fees and Costs.
28                                               -5-
       FINAL ORDER APPROVING CLASS ACTION                               CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT
1         9.         Implementation. The Parties shall implement the Settlement according
2    to its terms.
3
4
5                                             ___________________________________
6                                             Hon. M. James Lorenz
                                              United States District Judge
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       FINAL ORDER APPROVING CLASS ACTION                           CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT
Exhibit 4
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11                         UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13 SHEILA DASHNAW, WILLIAM
14 MEIER, and SHERRYL JONES,
   individually, and on behalf of all others
15 similarly situated,
16
         Plaintiffs,
17                                             Case No. 3:17-cv-00159-L-JLB
18         v.
19 NEW BALANCE ATHLETICS, INC., a
20 corporation; and DOES 1 through 50,         FINAL JUDGMENT
   inclusive,
21
22         Defendants.
23
24
25
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     FINAL JUDGMENT                                           CASE NO. 17-CV-00159-L-JLB
1          IT IS on this ____ day of ___________, _______, HEREBY ADJUDGED
2    AND DECREED PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 58
3    THAT:
4       1. The settlement of this class action on the terms set forth in the Parties’
5    Settlement Agreement, with exhibits (collectively, the “Settlement Agreement”), and
6    definitions included therein, signed and filed with this Court on [DATE], is finally
7    approved, and the following class is granted final certification for settlement purposes
8    only under Fed. R. Civ. P. 23(a) and (b)(3): all persons who purchased any and all
9    “Made in USA” Shoes from New Balance and/or its Authorized Retailers in
10   California from December 27, 2012 up to and including [DATE] (the “Class Period”).
11   Excluded from the Class are: (a) New Balance’s Board members and employees,
12   including its attorneys; (b) any persons who purchased the “Made in USA” Shoes for
13   the purposes of resale; (c) distributors or re-sellers of “Made in USA” Shoes; (d) the
14   judge and magistrate judge and their immediate families presiding over the Actions;
15   (e) governmental entities; and (f) persons or entities who or which timely and properly
16   exclude themselves from the Class as provided in the Settlement Agreement. “‘Made
17   in USA’ Shoes” means the New Balance “Made in USA” labeled shoes, purchased as
18   new by Class Members during the Class Period in California, listed below:
19
20                              ELIGIBLE NEW BALANCE SHOE MODELS
                                   601                   ML996
21
                                  M1140                  ML997
22                                M1290                  MR1105
                                  M1300                  MR993
23                                M1400                  MW812
24                                M1540                   PM15
                                  M1700                   PM16
25                                M2040                  US574
                                  M3040                  US576
26
                                  M498                   US990
27                                M574                   US993
                                  M585                   US998
28
                                                -2-
     FINAL JUDGMENT                                                  CASE NO. 17-CV-00159-L-JLB
1                                ELIGIBLE NEW BALANCE SHOE MODELS
                                   M587                    W1140
2
                                   M770                    W1290
3                                  M990                    W1400
                                   M991                    W1540
4                                  M995                    W3040
5                                  M996                     W498
                                   M997                     W587
6                                 M9975                     W990
                                   M998                     W998
7
                                  MK706                    WK706
8                                 ML1300                   WR993
                                  ML1978                   WW812
9
        2. The Court finds that only those persons and entities listed in Exhibit ___ to
10
     the Affidavit of Jeanne Finegan, and filed with the Court have submitted timely and
11
     valid requests for exclusion from the Class and are therefore not bound by this Final
12
     Judgment and accompanying Final Order. Class Counsel and New Balance's
13
     Counsel may mutually agree to allow additional Class Members to exclude
14
     themselves or to withdraw their exclusion requests by filing an appropriate notice
15
     with the Court.
16
        3. The Class Notice, the Summary Settlement Notice, the web site, the toll-free
17
     telephone number, and all other notices in the Settlement Agreement and the
18
     Declaration of the Notice Administrator, and the notice methodology implemented
19
     pursuant to the Settlement Agreement: (a) constituted the best practicable notice
20
     under the circumstances; (b) constituted notice that was reasonably calculated to
21
     apprise Class Members of the pendency of the Actions, the terms of the settlement,
22
     and their rights under the settlement, including, but not limited to, their right to
23
     object to or exclude themselves from the proposed settlement and to appear at the
24
     Fairness Hearing; (c) were reasonable and constituted due, adequate, and sufficient
25
     notice to all persons entitled to receive notice; and (d) met all applicable
26
     requirements of law, including, but not limited to, the Federal Rules of Civil
27
     Procedure, 28 U.S.C. § 1715, and the Due Process Clause(s) of the United States
28
                                                 -3-
      FINAL JUDGMENT                                                   CASE NO. 17-CV-00159-L-JLB
1    Constitution, as well as complied with the Federal Judicial Center's illustrative class
2    action notices.
3       4. All Class Members and/or their representatives who have not been timely
4    excluded from the Class with respect to the “Made in USA” Shoes are permanently
5    barred and enjoined from bringing, filing, commencing, prosecuting, maintaining,
6    intervening in, participating (as class members or otherwise) in, or receiving any
7    benefits from any other lawsuit (including putative class action lawsuits),
8    arbitration, administrative, regulatory, or other proceeding, order, or cause of action
9    in law or equity in any jurisdiction that is covered by the Release. In addition, all
10   Class Members and all persons in active concert or participation with Class
11   Members are permanently barred and enjoined from organizing Class Members who
12   have not been excluded from the Class into a separate class for purposes of
13   pursuing, as a purported class action, any lawsuit (including by seeking to amend a
14   pending complaint to include class allegations, or seeking class certification in a
15   pending action) that is covered by the Release. Pursuant to 28 U.S.C. §§ 1651(a) and
16   2283, the Court finds that issuance of this permanent injunction is necessary and
17   appropriate in aid of the Court’s continuing jurisdiction and authority over the
18   Actions.
19      5. New Balance shall take all steps necessary and appropriate to provide Class
20   Members with the benefits to which they are entitled under the terms of the
21   Settlement Agreement and pursuant to the Orders of the Court.
22      6. Class Counsel shall be awarded _________________ in attorneys' fees and
23   costs, which amount is approved as fair and reasonable, the factual and legal basis of
24   which is set forth in the Court’s order granting Plaintiffs’ Motion for Attorneys’
25   Fees and Costs, and in accordance with the terms of the Settlement Agreement.
26
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                                                -4-
      FINAL JUDGMENT                                                  CASE NO. 17-CV-00159-L-JLB
1       7. Each of the named Plaintiffs, Sheila Dashnaw, William Meier, and Sherryl
2    Jones, shall each be awarded _________________ as service awards in their
3    capacity as representative Plaintiffs in the Actions.
4       8. The Court will retain continuing jurisdiction over the Actions for the reasons
5    and purposes set forth in this Court’s Final Approval Order.
6
7                                             ___________________________________
8                                             Hon. M. James Lorenz
                                              United States District Judge
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      FINAL JUDGMENT                                                CASE NO. 17-CV-00159-L-JLB
Exhibit 5
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 9                         UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA
11 SHEILA DASHNAW, WILLIAM
12 MEIER, and SHERRYL JONES,                   Case No. 3:17-cv-00159-L-JLB
   individually, and on behalf of all others
13 similarly situated,                         ORDER PRELIMINARILY
14                                             CERTIFYING A CLASS FOR
         Plaintiffs,                           SETTLEMENT PURPOSES,
15                                             PRELIMINARILY APPROVING
16         v.                                  THE CLASS SETTLEMENT,
                                               APPOINTING CLASS COUNSEL,
17 NEW BALANCE ATHLETICS, INC., a              DIRECTING THE ISSUANCE OF
18 corporation; and DOES 1 through 50,         NOTICE TO THE CLASS,
   inclusive,                                  SCHEDULING A FAIRNESS
19
                                               HEARING, AND ISSUING
20         Defendants.                         RELATED ORDERS
21
22
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                                                                CASE NO. 17-CV-00159-L-JLB
1          This motion having been brought before the Court jointly by Plaintiffs and New
2    Balance Athletics, Inc. (“New Balance”); and
3          Sheila Dashnaw et al. v. New Balance Athletics, Inc., Case Number 3:17-cv-
4    00159-L-JLB, having been filed on December 27, 2016 in California state court and
5    removed to the United States District Court for the Southern District of California on
6    January 26, 2017 (the “Action”); and
7          The Action alleges, on behalf of a purported class of California consumers, that
8    New Balance violated California’s False Advertising Law (“FAL”) (Cal. Bus. & Prof.
9    Code § 17500, et seq.), California’s Consumer Legal Remedies Act (“CLRA”) (Cal.
10   Civ. Code § 1750, et seq.), Cal. Bus. & Prof. Code § 17533.7, California’s Unfair
11   Competition law (“UCL”) (Cal. Bus. & Prof. Code § 17204), and for breach of
12   express warranty, negligent misrepresentation, and unjust enrichment regarding New
13   Balance’s marketing campaign relating to its “Made in USA” Shoes and seeking
14   individual restitution, restitutionary disgorgement,     economic, monetary, actual,
15   consequential, and compensatory damages, declaratory and injunctive relief,
16   reasonable attorneys’ fees and costs, statutory pre- and post-judgment interest, and
17   any other relief that the Court deems just and proper; and
18             Class Counsel has conducted a thorough examination, investigation, and
19   evaluation of the relevant law, facts, and allegations to assess the merits of the claims
20   and potential claims to determine the strength of both defenses and liability sought in
21   the Action; and
22             Class Counsel, on behalf of Plaintiffs and the other members of the Class
23   having engaged in extensive class discovery including, but not limited to, receiving
24   and reviewing over 15,000 pages of documents; and
25             The Parties having entered into a Settlement Agreement in which the Parties
26   have agreed to settle the Action, pursuant to the terms of the Settlement Agreement,
27   subject to the approval and determination of the Court as to the fairness,
                                                 -2-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                     CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    reasonableness, and adequacy of the settlement which, if approved, will result in a
2    final judgment and final order, pursuant to the terms and conditions of the Settlement
3    Agreement, being issued in the Action, and dismissal of the Action with prejudice;
4    and
5               This Order Preliminarily Certifying A Class For Settlement Purposes,
6    Preliminarily Approving The Class Settlement, Appointing Class Counsel, Directing
7    The Issuance Of Notice To The Class, Scheduling A Fairness Hearing, And Issuing
8    Related Orders shall hereafter be referred to as the “Preliminary Approval Order”;
9    and
10              The Court having read and considered the Motion for Preliminary Approval
11   and Memorandum in support thereof, the Settlement Agreement, including the
12   exhibits attached thereto (together, the “Settlement Agreement”) and all prior
13   proceedings herein, and good cause appearing based on the record, hereby orders as
14   follows:
15              IT IS on this ____ day of __________, 2018, ORDERED, ADJUDGED,
16   AND DECREED as follows (all capitalized terms being defined as they are defined
17   in the Settlement Agreement unless otherwise specified or defined herein):
18         1.   Stay of the Actions. All non-settlement-related proceedings in the Action
19   are hereby stayed and suspended until further order of this Court.
20         2.   Preliminary Class Certification for Settlement Purposes Only. The
21   Action is preliminarily certified as a class action for settlement purposes only,
22   pursuant to Fed. R. Civ. P. 23(a) and (b)(3). The Court preliminarily finds for
23   settlement purposes that: (a) the Class certified herein numbers at least in the
24   thousands of persons, and that joinder of all such persons would be impracticable, (b)
25   there are issues of law and fact that are typical and common to the Class, and that
26   those issues predominate over individual questions; (c) a class action on behalf of the
27   certified Class is superior to other available means of adjudicating this dispute; and
                                                -3-
28    ORDER PRELIMINARILY CERTIFYING A CLASS FOR                    CASE NO. 17-CV-00159-L-JLB
      SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    (d) as set forth in paragraph 4, below, Plaintiffs Sheila Dashnaw, William Meier, and
2    Sherryl Jones, and Class Counsel are adequate representatives of the Class. New
3    Balance retains all rights to assert that this action may not be certified as a class action,
4    except for settlement purposes only.
5         3.   Class Definition. The Class shall consist of all persons who purchased any
6    and all “Made in USA” Shoes from New Balance and/or its Authorized Retailers in
7    California from December 27, 2012 up to and including the date the Court grants
8    preliminary approval of the class settlement (“Class Period”). Excluded from the
9    Class are: (a) New Balance’s board members and employees, including its attorneys;
10   (b) any persons who purchased the “Made in USA” Shoes for the purposes of resale
11   (c) distributors or re-sellers of “Made in USA” Shoes; (d) the judge and magistrate
12   judge and their immediate families presiding over the Action; (e) governmental
13   entities; and (f) persons or entities who or which timely and properly exclude
14   themselves from the Class as provided in this Agreement. “‘Made in USA’ Shoes”
15   means the New Balance’s “Made in USA” labeled shoes purchased as new by Class
16   Members during the Class Period, in California listed below:
17
18                                ELIGIBLE NEW BALANCE SHOE MODELS
                                     601                    ML996
19
                                    M1140                   ML997
20                                  M1290                   MR1105
                                    M1300                   MR993
21                                  M1400                   MW812
22                                  M1540                    PM15
                                    M1700                    PM16
23                                  M2040                   US574
                                    M3040                   US576
24
                                    M498                    US990
25                                  M574                    US993
                                    M585                    US998
26                                  M587                    W1140
27                                  M770                    W1290

                                                   -4-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                        CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1                               ELIGIBLE NEW BALANCE SHOE MODELS
                                  M990                     W1400
2
                                  M991                     W1540
3                                 M995                     W3040
                                  M996                      W498
4                                 M997                      W587
5                                M9975                      W990
                                  M998                      W998
6                                MK706                     WK706
                                 ML1300                    WR993
7
                                 ML1978                    WW812
8
         4.       Class Representatives and Class Counsel. Plaintiffs Sheila Dashnaw,
9
     William Meier, and Sherryl Jones are designated as representatives of the
10
     conditionally certified Class. The Court preliminarily finds that these individuals are
11
     similarly situated to absent Class Members and therefore typical of the Class, and will
12
     be adequate Class representatives. Jason H. Kim of Schneider Wallace Cottrell
13
     Konecky Wotkyns LLP and Aubry Wand of The Wand Law Firm, P.C. are
14
     experienced and adequate Class Counsel, whom the Court preliminarily finds are
15
     experienced and adequate counsel, are hereby designated as Class Counsel.
16
         5.       Preliminary Settlement Approval. Upon preliminary review, the Court
17
     finds that the Settlement Agreement and the settlement it incorporates, appear fair,
18
     reasonable and adequate. Manual for Complex Litigation (Fourth) § 21.632 (2004).
19
     Accordingly, the Settlement Agreement is preliminarily approved and is sufficient to
20
     warrant sending notice to the Class.
21
         6.       Jurisdiction. The Court has subject-matter jurisdiction over the Action
22
     pursuant to 28 U.S.C. §§ 1332 and 1367, and personal jurisdiction over the Parties
23
     before it. Additionally, venue is proper in this District pursuant to 28 U.S.C. § 1391.
24
          7.      Fairness    Hearing.      A   Fairness    Hearing   shall    be     held    on
25
     ______________ at ______ at the United States District Court for the Southern
26
     District of California, 221 West Broadway, San Diego, California, 92101, to
27
                                                 -5-
28    ORDER PRELIMINARILY CERTIFYING A CLASS FOR                      CASE NO. 17-CV-00159-L-JLB
      SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    determine, among other things: (a) whether the Action should be finally certified as a
2    class action for settlement purposes pursuant to Fed. R. Civ. P. 23(a), and (b)(3); (b)
3    whether the settlement of the Action should be approved as fair, reasonable and
4    adequate, and finally approved pursuant to Fed. R. Civ. P. 23(e); (c) whether a final
5    order and final judgment should be entered in the Action pursuant to the terms of the
6    Settlement Agreement, including a dismissal of the Action with prejudice; (d) whether
7    Class Members should be bound by the release set forth in the Settlement Agreement;
8    (e) whether Class Members and related persons should be subject to a permanent
9    injunction; (f) whether the application of Class Counsel for an award of Attorneys’
10   Fees and Expenses should be approved pursuant to Fed. R. Civ. P. 23(h); and (g)
11   whether the application of the named Plaintiffs for service awards should be approved.
12   The submissions of the Parties in support of the settlement, including Plaintiffs’
13   applications for Attorneys’ Fees and Expenses and incentive awards, shall be filed
14   with the Court no later than fourteen (14) days prior to the deadline for the submission
15   of objections and may be supplemented up to seven (7) days prior to the Fairness
16   Hearing.
17        8.      Administration. In consultation with and approval of Class Counsel,
18   New Balance or its designee is hereby authorized to establish the means necessary to
19   administer the proposed settlement and implement the Claim Process, in accordance
20   with the terms of the Agreement.
21        9.      Class Notice. The proposed Class Notice, Summary Settlement Notice
22   and the notice methodology described in the Settlement Agreement and the
23   Declaration of the Notice Administrator are hereby approved. The Court hereby
24   authorizes the Class Action Settlement Administrator and Notice Administrator to
25   provide notice to the Class as set forth in the Settlement Agreement.
26
27
                                                 -6-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                    CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1            (a) Pursuant to the Settlement Agreement, the Court appoints Heffler Claims
2    Group to be the Class Action Settlement Administrator and to be the Notice
3    Administrator to help implement the terms of the Settlement Agreement.
4            (b) Beginning not later than five (5) business days after entry of the
5    Preliminary Approval Order and to be substantially completed not later than ten (10)
6    days after entry of the Preliminary Approval Order and subject to the requirements of
7    the Preliminary Approval Order, the Settlement Agreement and the Declaration of the
8    Notice Administrator, the Notice Administrator shall commence sending the Class
9    Notice by Electronic Mail (“E-mail) to each reasonably identifiable Class Member’s
10   last known E-mail address, subject to the existence of such information and its current
11   possession, if at all, by New Balance, which addresses shall be provided to the Notice
12   Administrator by New Balance, no later than one (1) business day after the day of
13   entry of the Preliminary Approval Order, subject to the existence of such information,
14   and shall otherwise comply with Fed. R. Civ. P. 23 and any other applicable statute,
15   law, or rule, including, but not limited to, the Due Process Clause of the United States
16   Constitution.
17           (c)     Within ten (10) days of the filing of the Motion for Preliminary
18   Approval, New Balance shall serve upon the appropriate State and Federal officials a
19   notice of the proposed settlement in accordance with 28 U.S.C. § 1715(b), and shall
20   otherwise comply with Fed. R. Civ. P. 23 and any other applicable statute, law, or
21   rule.
22           (d) The Notice Administrator shall have the publication of the Summary
23   Settlement Notice substantially completed no later than sixty-five (65) days after entry
24   of the Preliminary Approval Order. The Notice Administrator shall publish the
25   Summary Settlement Notice as described in the Declaration of Jeanne Finegan and in
26   such additional newspapers, magazines, and/or other media outlets in California as
27   shall be agreed upon by the Parties.
                                                 -7-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                    CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1             (e) No later than twenty (20) days after entry of the Preliminary Approval
2    Order, the Notice Administrator shall send the Summary Settlement Notice by First
3    Class U.S. Mail, proper postage prepaid, to each Class Member whose E-mail address
4    returned a message as undeliverable, subject to the existence of such information as
5    provided by New Balance pursuant to Section IV.B.1.a of this Agreement. The Notice
6    Administrator shall: (i) re-mail any Summary Settlement Notices returned by the
7    United States Postal Service with a forwarding address that are received by the Notice
8    Administrator no later than thirty-five (35) days after entry of the Preliminary
9    Approval Order; (ii) by itself or using one or more address research firms, as soon as
10   practicable following receipt of any returned Summary Settlement Notices that do not
11   include a forwarding address, research any such returned mail for better addresses and
12   promptly mail copies of the Summary Settlement Notices to the better addresses so
13   found.
14            (f)   Prior to the dissemination of the Class Notice as set forth above in
15   paragraphs 9(a) to 9(d), the Notice Administrator shall establish an Internet website
16   that will inform Class Members of the terms of this Agreement, their rights, dates and
17   deadlines, and related information. The web site shall include, in PDF format,
18   materials agreed upon by the Parties and as further ordered by this Court.
19            (g) Prior to the dissemination of the Class Notice as set forth above in
20   paragraphs 9(a) to 9(d), the Notice Administrator shall establish a toll-free telephone
21   number that will provide Settlement-related information to Class Members.
22            (h) The Notice Administrator shall timely disseminate any remaining notice,
23   as stated in the Settlement Agreement and/or the Declaration of the Notice
24   Administrator.
25            (i)   Not later than fifteen (15) days before the date of the Fairness Hearing,
26   the Notice Administrator shall file with the Court: (a) a list of those persons who have
27
                                                  -8-
28    ORDER PRELIMINARILY CERTIFYING A CLASS FOR                      CASE NO. 17-CV-00159-L-JLB
      SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    opted out or excluded themselves from the Settlement; and (b) the details outlining
2    the scope, methods, and results of the notice program.
3         10.     Findings Concerning Notice. The Court finds that the notices described
4    in Paragraph 9 of this order: (a) constitute the best practicable notice; (b) are
5    reasonably calculated, under the circumstances, to apprise the Class Members of the
6    pendency of the Action, the terms of the proposed settlement, and their rights under
7    the proposed settlement, including, but not limited to, their right to object to or
8    exclude themselves from the proposed settlement and other rights under the terms of
9    the Settlement Agreement; (c) are reasonable and constitute due, adequate, and
10   sufficient notice to all Class Members and other persons entitled to receive notice;
11   and (d) meet all applicable requirements of law, including, but not limited to, 28
12   U.S.C. § 1715, Fed. R. Civ. P. 23(c) and (e) and the Due Process Clause(s) of the
13   United States Constitution. The Court further finds that all of the notices are written
14   in simple terminology, are readily understandable by Class Members, and comply
15   with the Federal Judicial Center’s illustrative class action notices.
16        11.     Exclusion from Class. Any Class Member who wishes to be excluded
17   from the Class must mail a written request for exclusion stating such a request for
18   exclusion and containing the information set forth in the Class Notice, postmarked no
19   later than the final day of the Claim Period, or as the Court otherwise may direct, to
20   the Notice Administrator, in care of the address provided in the Class Notice. The
21   Notice Administrator shall forward copies of any written requests for exclusion to
22   Class Counsel and New Balance’s Counsel. A list reflecting all requests for exclusion
23   shall be filed with the Court by the Notice Administrator no later than ten (10) days
24   before the Fairness Hearing. If the proposed settlement is finally approved, any Class
25   Member who has not submitted a timely written request for exclusion from the Class
26   shall be bound by all subsequent proceedings, orders, and judgments in the Action,
27   even if the Class Member previously initiated or subsequently initiates against any or
                                                 -9-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                     CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    all of the Released Parties any litigation or other proceeding encompassed by the
2    Release and the claims released in the Settlement Agreement. Persons who properly
3    exclude themselves from the Class shall not be entitled to participate in the benefits
4    of the Settlement Agreement.
5         12.      Objections and Appearances. Any Class Member or counsel hired at
6    any Class Member’s own expense who complies with the requirements of this
7    paragraph may object to any aspect of the proposed settlement.
8               (a) Any Class Member who has not submitted a timely written request for
9    exclusion and who wishes to object to the fairness, reasonableness, or adequacy of
10   the Settlement Agreement, the proposed Settlement, the award of Attorneys’ Fees and
11   Expenses, or the individual awards to Plaintiffs, must deliver to the Class Counsel
12   identified in the Class Notice and to New Balance’s Counsel, and file with the Court,
13   no later than the final day of the Claim Period, a written statement of objections, as
14   well as the specific reason(s), if any, for each objection, including any legal support
15   the Class Member wishes to bring to the Court’s attention and any evidence or other
16   information the Class Member wishes to introduce in support of the objections, a
17   statement of whether the Class Member intends to appear and argue at the Fairness
18   Hearing, and list the Class Member's purchase(s) of either “Made in USA” Shoes, or
19   be forever barred from so objecting. The objection must include proof of purchase of
20   the “Made in USA” Shoes. Acceptable proof of purchase includes a cash register
21   receipt, a credit card receipt or a credit card statement that sufficiently indicates the
22   purchase of the “Made in USA” Shoes in California.
23              (b) Any Class Member who files and serves a written objection, as described
24   above, may appear at the Fairness Hearing, either in person or through personal
25   counsel hired at the Class Member's expense, to object to the fairness, reasonableness,
26   or adequacy of the Settlement Agreement or the proposed Settlement, or to the award
27   of Attorneys' Fees and Expenses or awards to the individual Plaintiffs. Class Members
                                                 -10-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                     CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    or their attorneys who intend to make an appearance at the Fairness Hearing must
2    deliver a notice of intention to appear to one of the Class Counsel identified in the
3    Class Notice and to New Balance's Counsel, and file said notice with the Court, no
4    later than the final day of the Claim Period. Any Class Member who fails to comply
5    with the provisions in this section shall waive and forfeit any and all rights he or she
6    may have to appear separately and/or to object, and shall be bound by all the terms of
7    the Settlement Agreement, this Order, and by all proceedings, orders, and judgments,
8    including, but not limited to, the Release in the Action.
9               (c) Any interested party may file a reply to any written objection, as
10   described in Section 12(a). herein. A reply to an objection must be served and filed
11   no later than seven (7) days before the Fairness Hearing.
12        13.      Preliminary     Injunction.     All   Class    Members       and/or      their
13   representatives who do not timely exclude themselves from the Class are hereby
14   preliminarily barred and enjoined from filing, commencing, prosecuting, maintaining,
15   intervening in, participating in, conducting, or continuing litigation as class members,
16   putative class members, or otherwise against New Balance (or against any of its
17   related parties or affiliates), and/or from receiving any benefits from, any lawsuit,
18   administrative, or regulatory proceeding or order in any jurisdiction, based on or
19   relating to the claims or causes of actions or the facts, and circumstances relating
20   thereto, relating to the “Made in USA” Shoes, the Action, and/or the Release. In
21   addition, all such persons are hereby preliminarily barred and enjoined from filing,
22   commencing, or prosecuting a lawsuit against New Balance (or against any of its
23   related parties or affiliates) as a class action, a separate class, or group for purposes
24   of pursuing a putative class action (including by seeking to amend a pending
25   complaint to include class allegations or by seeking class certification in a pending
26   action in any jurisdiction) on behalf of Class Members who do not timely exclude
27   themselves from the Class, arising out of, based on or relating to the claims, causes
                                                 -11-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                     CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1    of action, facts, and/or circumstances relating thereto, relating to the “Made in USA”
2    Shoes, the Action and/or the Release. Pursuant to 28 U.S.C. §§ 1651(a) and 2283, the
3    Court finds that issuance of this preliminary injunction is necessary and appropriate
4    in aid of the Court’s continuing jurisdiction and authority over this Action.
5         14.     Disclosure of Objections. The Notice Administrator, New Balance’s
6    Counsel, and Class Counsel shall promptly furnish to each other copies of any and all
7    objections or written requests for exclusion that might come into their possession.
8         15.     Termination of Settlement. This Order shall become null and void and
9    shall be without prejudice to the rights of the parties, all of whom shall be restored to
10   their respective positions existing immediately before this Court entered this Order,
11   if: (a) the settlement is not finally approved by the Court, or does not become final,
12   pursuant to the terms of the Settlement Agreement; (b) the settlement is terminated in
13   accordance with the Settlement Agreement; or (c) the settlement does not become
14   effective as required by the terms of the Settlement Agreement for any other reason.
15   In such event, the settlement and Settlement Agreement shall become null and void
16   and be of no further force and effect, and neither the Settlement Agreement nor the
17   Court’s orders, including this Order, relating to the settlement shall be used or referred
18   to for any purpose whatsoever.
19        16.     Use of Order. This Order shall be of no force or effect if the settlement
20   does not become final and shall not be construed or used as an admission, concession,
21   or declaration by or against New Balance of any fault, wrongdoing, breach, or
22   liability. Nor shall the Order be construed or used as an admission, concession, or
23   declaration by or against Plaintiffs or the other Class Members that their claims lack
24   merit or that the relief requested is inappropriate, improper, or unavailable, or as a
25   waiver by any party of any defenses or claims he, she, or it may have in these Action
26   or in any other lawsuit.
27
                                                 -12-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                     CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
1         17.     Access to Documents. During the pendency of this Court's
2    consideration of the proposed Settlement Agreement, if Class Members and/or their
3    attorneys file a motion for discovery and such motion is granted for good cause
4    shown and under the applicable standards, such persons shall not be given access to
5    these materials unless and until they enter into the Confidentiality Agreement, which
6    is attached as Exhibit 9 to the Settlement Agreement. The terms and conditions of
7    the Confidentiality Agreement are incorporated herein by reference and if breached
8    may be the basis for a finding of contempt of Court.
9         18.     Retaining Jurisdiction. This Court shall maintain continuing
10   jurisdiction over these settlement proceedings to assure the effectuation thereof for
11   the benefit of the Class.
12        19.     Continuance of Hearing. The Court reserves the right to adjourn or
13   continue the Fairness Hearing without further written notice.
14
15                                             ___________________________________
16                                             Hon. M. James Lorenz
                                               United States District Judge
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                                                 -13-
28     ORDER PRELIMINARILY CERTIFYING A CLASS FOR                    CASE NO. 17-CV-00159-L-JLB
       SETTLEMENT PURPOSES AND ISSUING RELATED ORDERS
Exhibit 6
Exhibit 7
                        UNITED STATES DISTRICT COURT
                      SOURTHERN DISTRICT OF CALIFORNIA
SHELIA DASHNAW, WILLIAM MEIER,                )
and SHERRYL JONES, individually, and on       ) CASE NO.: 17:cv-00159-L-JLB
behalf of all others similarly situated,      )
              Plaintiff,                      ) Magistrate Judge: Hon. Jill L. Burkhardt
                                              )
       v.                                     ) Judge: Hon. M. James Lorenz
                                              )
NEW BALANCE ATHLETICS, INC., a                )
corporation: and DOES 1 through 50,           )
inclusive,                                    )
              Defendants.                     )
                                              )


 DECLARATION OF JEANNE C. FINEGAN, APR CONCERNING PROPOSED
           CLASS MEMBER NOTIFICATION PROGRAM



       I, JEANNE C. FINEGAN declare as follows:


                               INTRODUCTION
       1.     I am President and Chief Media Officer of HF Media, LLC, Inc. (“HF”) a
division of Heffler Claims Group LLC (“Heffler”). This Declaration is based upon my
personal knowledge as well as information provided to me by my associates and staff,
including information reasonably relied upon in the fields of advertising media and
communications.
       2.     Pursuant to the Settlement Agreement Section II.A.10, Heffler has been
engaged by Defendants, with the consent of Plaintiffs, to develop and implement a
proposed legal notice program as part of the parties’ proposed class action settlement.
This program is highly targeted and well-designed to reach Class Members, employing
best in breed tools and technology, to apply the most modern approach to notice by
combining direct mail, traditional media, online and social with cross device targeting
desktop and mobile and a press release.
       3.     This Declaration describes my experience in designing and implementing
notices and notice programs, as well as my credentials to opine on the overall adequacy
of the notice effort. This Declaration will also describe the proposed notice program and
address why this comprehensive proposed program is consistent with, and indeed exceeds,
other best practicable court-approved notice programs and the requirement of Fed. Civ. P.
23(c)(2)(B) and the Federal Judicial Center (“FJC”) guidelines1 for adequate notice.
        4.      The notice program, described hereinafter, is estimated to reach more than
70 percent of the target audience, i.e., people who have purchased New Balance Shoes
who live in California, with an average frequency of 4.1 times.

                                 QUALIFICATIONS
        5.      My credentials that qualify me to provide an expert opinion include more
than 30 years of communications and advertising experience. I am the only Notice Expert
accredited in Public Relations (APR) by the Universal Accreditation Board, a program
administered by the Public Relations Society of America. Further, I have provided
testimony before Congress on issues of notice. Also, I have lectured, published and been
cited extensively on various aspects of legal noticing, product recall and crisis
communications and have served the Consumer Product Safety Commission (CPSC) as
an expert to determine ways in which the CPSC can increase the effectiveness of its
product recall campaigns.        More recently, I have been extensively involved as a
contributing author for “Guidelines and Best Practices Implementing 2018 Amendments
to Rule 23 Class Action Settlement Provisions” to be published by Duke University
School of Law later this year. I have worked with the Special Settlement Administrator’s
team to assist with the outreach strategy for the historic Auto Airbag Settlement, In re:
Takata Airbag Products Liability Litigation MDL 2599.
        6.      I have served as an expert, with day-to-day operational responsibilities,
directly responsible for the design and implementation of hundreds of class action notice
programs, some of which are the largest and most complex programs ever implemented
in both the United States and in Canada. My work includes a wide range of class actions
and regulatory and consumer matters that include product liability, construction defect,
antitrust,   asbestos,    medical,     pharmaceutical,      human      rights,    civil    rights,


1
 Notice Checklist and Plain Language Guide (2010) (“Judges’ Class Action Notice and Claims Process
Checklist and Plain Language Guide”).
telecommunications,         media,   environmental,    securities,   banking,   insurance   and
bankruptcy.
            7.      As further reference, in evaluating the adequacy and effectiveness of my
notice programs, courts have repeatedly recognized my work as an expert. For example,
in:
      (a)        Carter v Forjas Taurus S.S., Taurus International Manufacturing, Inc.,
                 Case No. 1:13-CV-24583 PAS (S.D. Fl. 2016). In her Final Order and
                 Judgment Granting Plaintiffs Motion for Final Approval of Class Action
                 Settlement, the Honorable Patricia Seitz stated:
            “The Court considered the extensive experience of Jeanne C. Finegan and the
            notice program she developed. …There is no national firearms registry and
            Taurus sale records do not provide names and addresses of the ultimate
            purchasers… Thus the form and method used for notifying Class Members of the
            terms of the Settlement was the best notice practicable. …The court-approved
            notice plan used peer-accepted national research to identify the optimal
            traditional, online, mobile and social media platforms to reach the Settlement
            Class Members.”
            8.      Additionally, in the January 20, 2016, Transcript of Class Notice Hearing,
p. 5 Judge Seitz, gave accolades to Ms. Finegan, noting:
            “I would like to compliment Ms. Finegan and her company because I was quite
            impressed with the scope and the effort of communicating with the Class.”
      (b)        In Re: Blue Buffalo Company, Ltd., Marketing and Sales Practices
                 Litigation, Case No. 4:14-MD-2562 RWS (E.D. Mo. 2015), (Hearing for
                 Final Approval, May 19, 2016 transcript p. 49). During the Hearing for Final
                 Approval, the Honorable Rodney Sippel said:
            “It is my finding that notice was sufficiently provided to class members in the
            manner directed in my preliminary approval order and that notice met all
            applicable requirements of due process and any other applicable law and
            considerations.”
      (c)        In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-
                 2308-TBR (W.D. Ky. 2012). In his Final Order and Judgment granting the
                 Motion for Preliminary Approval of Settlement, the Honorable Thomas B.
                 Russell stated:
            “… The comprehensive nature of the class notice leaves little doubt that, upon
            receipt, class members will be able to make an informed and intelligent decision
            about participating in the settlement.”
   (d)        Quinn v. Walgreen Co., Wal-Mart Stores Inc., 7:12 CV-8187-VB
              (S.D.N.Y.) (Jt Hearing for Final App, March. 5, 2015, transcript page 40-
              41). During the Hearing on Final Approval of Class Action, the Honorable
              Vincent L. Briccetti gave accolades to Ms. Finegan, noting:
         “The notice plan was the best practicable under the circumstances. … [and] the
         proof is in the pudding. … So the notice has reached a lot of people and a lot of
         people have made claims.”
   (e)        DeHoyos, et al. v. Allstate Ins. Co., No. SA-01-CA-1010 (W.D. Tx. 2001).
              In the Amended Final Order and Judgment Approving Class Action
              Settlement, the Honorable Fred Biery stated:
         “[T]he undisputed evidence shows the notice program in this case was developed
         and implemented by a nationally recognized expert in class action notice
         programs. … This program was vigorous and specifically structured to reach the
         African-American and Hispanic class members. Additionally, the program was
         based on a scientific methodology which is used throughout the advertising
         industry and which has been routinely embraced routinely [sic] by the Courts.
         Specifically, in order to reach the identified targets directly and efficiently, the
         notice program utilized a multi-layered approach which included national
         magazines; magazines specifically appropriate to the targeted audiences; and
         newspapers in both English and Spanish.”
         9.      Additionally, I have published extensively on various aspects of legal
noticing, including the following publications and articles:
   (a)        Author, “Creating a Class Notice Program that Satisfies Due Process”
              Law360 New York (February 13, 2018 12:58 PM ET).
   (b)        Author, “3 Considerations for Class Action Notice Brand Safety,” Law360
              New York (October 2, 2017 12:24 PM ET).

   (c)        Author, “What Would Class Action Reform Mean for Notice?” Law360,
              New York, (April 13, 2017 11:50 AM ET).
   (d)        Author, “Bots Can Silently Steal your Due Process Notice.” Wisconsin Law
              Journal, April 2017.
   (e)        Author, “Don’t Turn a Blind Eye to Bots. Ad Fraud and Bots are a Reality of
              the Digital Environment.” LinkedIn article March 6, 2107.
   (f)         Co-Author, “Modern Notice Requirements Through the Lens of Eisen and
              Mullane” – Bloomberg BNA Class Action Litigation Report. 17 CLASS 1077.
              (October 14, 2016).
(g)   Author, “Think All Internet Impressions are the Same? Think Again” –
      Law360.com, New York (March 16, 2016).
(h)   Author, “Why Class Members Should See An Online Ad More Than Once”
      – Law360.com, New York (December 3, 2015).
(i)   Author, ‘Being 'Media-Relevant' — What It Means And Why It Matters -
      Law360.com, New York (September 11, 2013, 2:50 PM ET).
(j)   Co-Author, “New Media Creates New Expectations for Bankruptcy Notice
      Programs,” ABI Journal, Vol. XXX, No 9, November 2011.
(k)   Quoted Expert, “Effective Class Action Notice Promotes Access to Justice:
      Insight from a New U.S. Federal Judicial Center Checklist,” Canadian
      Supreme Court Law Review, (2011), 53 S.C.L.R. (2d).
(l)   Co-Author, with Hon. Dickran Tevrizian, “Expert Opinion: It’s More Than
      Just a Report…Why Qualified Legal Experts Are Needed to Navigate the
      Changing Media Landscape,” BNA Class Action Litigation Report, 12
      CLASS 464, 5/27/11.
(m)   Co-Author, with Hon. Dickran Tevrizian, “Your Insight: It’s More Than Just
      a Report…Why Qualified Legal Experts Are Needed to Navigate the
      Changing Media Landscape, TXLR, Vol. 26, No. 21, 5/26/2011.
(n)   Author, Five Key Considerations for a Successful International Notice
      Program, BNA Class Action Litigation Report, 4/9/10 Vol. 11, No. 7 p. 343.
(o)   Quoted: Technology Trends Pose Novel Notification Issues for Class
      Litigators, BNA Electronic Commerce and Law Report, 15, ECLR 109,
      1/27/10.
(p)   Author, Legal Notice: R U ready 2 adapt? BNA Class Action Litigation
      Report, Vol. 10, No. 14, 7/24/2009, pp. 702-703.
(q)   Author, On Demand Media Could Change the Future of Best Practicable
      Notice, BNA Class Action Litigation Report, Vol. 9, No. 7, 4/11/2008, pp.
      307-310.
(r)   Quoted in, Warranty Conference: Globalization of Warranty and Legal
      Aspects of Extended Warranty, Warranty Week, February 28, 2007,
      available at www.warrantyweek.com/archive/ww20070228.html.
(s)   Co-Author, Approaches to Notice in State Court Class Actions, For The
      Defense, Vol. 45, No. 11, November, 2003.
   (t)         Author, The Web Offers Near, Real-Time Cost Efficient Notice, American
               Bankruptcy Institute Journal, Vol. XXII, No. 5, 2003.
   (u)         Author, Determining Adequate Notice in Rule 23 Actions, For The Defense,
               Vol. 44, No. 9, September, 2002.
   (v)         Co-Author, The Electronic Nature of Legal Noticing, American Bankruptcy
               Institute Journal, Vol. XXI, No. 3, April, 2002.
   (w)         Author, Three Important Mantras for CEO’s and Risk Managers in 2002,
               International Risk Management Institute, irmi.com/, January, 2002.
   (x)         Co-Author, Used the Bat Signal Lately, The National Law Journal, Special
               Litigation Section, February 19, 2001.
   (y)         Author, How Much is Enough Notice, Dispute Resolution Alert, Vol. 1, No.
               6, March, 2001.
   (z)         Author, High-Profile Product Recalls Need More Than the Bat Signal,
               International Risk Management Institute, irmi.com/, July 2001.
   (aa)        Author, The Great Debate - How Much is Enough Legal Notice? American
               Bar Association -- Class Actions and Derivatives Suits Newsletter, Winter
               1999.
   (bb)        Author, What are the best practicable methods to give notice? Georgetown
               University Law Center Mass Tort Litigation Institute, CLE White Paper:
               Dispelling the communications myth -- A notice disseminated is a notice
               communicated, November 1, 2001.
         10.      In addition, I have lectured or presented extensively on various aspects of
legal noticing. A sample list includes the following:
   a) American Bar Association Faculty Panelist, 4th Annual Western Regional CLE
      Class Actions: “Big Brother, Information Privacy, and Class Actions: How Big
      Data and Social Media are Changing the Class Action Landscape,” San
      Francisco, CA, June, 2017.
   b) Miami Law Class Action & Complex Litigation Forum, Faculty Panelist,
      “Settlement and Resolution of Class Actions.” Miami. FL, December 2, 2016.
   c) The Knowledge Group, Faculty Panelist, “Class Action Settlements: Hot Topics
      2016 and Beyond,” Live Webcast, www.theknowledgegroup.org/, October 2016.
   d) BA National Symposium, Faculty Panelist, “Ethical Considerations in Settling
      Class Actions,” New Orleans, LA March 2016.
e) SF Banking Attorney Association, Speaker, “How a Class Action Notice can
   Make or Break your Client’s Settlement,” San Francisco, CA May 2015.
f) Perrin Class Action Conference, Faculty Panelist, “Being Media Relevant, What
   it Means and Why It Maters – The Social Media Evolution: Trends Challenges
   and Opportunities,” Chicago, IL May 2015
g) Bridgeport Continuing Ed. Faculty Panelist, “Media Relevant in the Class
   Notice Context,” April 2014.
h) CASD 5th Annual Speaker, “The Impact of Social Media on Class Action Notice.”
   Consumer Attorneys of San Diego Class Action Symposium, San Diego,
   California, September 2012.
i) Law Seminars International, Speaker, “Class Action Notice: Rules and Statutes
   Governing FRCP (b)(3) Best Practicable… What constitutes a best practicable
   notice? What practitioners and courts should expect in the new era of online and
   social media.” Chicago, IL, October 2011.
(j) CLE International, Faculty Panelist, Building a Workable Settlement Structure,
    CLE International, San Francisco, California May, 2011.
(k) Consumer Attorneys of San Diego (CASD), Faculty Panelist, “21st Century
    Class Notice and Outreach,” 2nd Annual Class Action Symposium CASD
    Symposium, San Diego, California, October 2010.
(l) Consumer Attorneys of San Diego (CASD), Faculty Panelist, “The Future of
    Notice,” 2nd Annual Class Action Symposium CASD Symposium, San Diego,
    California, October 2009.
(m) American Bar Association, Speaker, 2008 Annual Meeting, “Practical Advice for
    Class Action Settlements: The Future of Notice In the United States and
    Internationally – Meeting the Best Practicable Standard.”
(n) American Bar Association, Section of Business Law Business and Corporate
    Litigation Committee – Class and Derivative Actions Subcommittee, New York,
    NY, August 2008.
(o) Faculty Panelist, Women Lawyers Association of Los Angeles (WLALA) CLE
    Presentation, “The Anatomy of a Class Action.” Los Angeles, CA, February
    2008.
(p) Faculty Panelist, Practicing Law Institute (PLI) CLE Presentation, 11th Annual
    Consumer Financial Services Litigation. Presentation: Class Action Settlement
    Structures -- “Evolving Notice Standards in the Internet Age.”            New
       York/Boston (simulcast) March, 2006; Chicago, April, 2006; and San Francisco,
       May 2006.
   (q) Expert Panelist, U.S. Consumer Product Safety Commission. I was the only
       legal notice expert invited to participate as an expert to the Consumer Product
       Safety Commission to discuss ways in which the CPSC could enhance and
       measure the recall process. As an expert panelist, I discussed how the CPSC
       could better motivate consumers to take action on recalls and how companies
       could scientifically measure and defend their outreach efforts. Bethesda, MD,
       September 2003.
   (r.) Expert Speaker, American Bar Association. Presentation: “How to Bullet-Proof
        Notice Programs and What Communication Barriers Present Due Process
        Concerns in Legal Notice,” ABA Litigation Section Committee on Class Actions
        & Derivative Suits, Chicago, August 6, 2001.
       11.    I have particularly relevant experience successfully implementing similar
Court Approved matters related to athletic footwear class action settlements, two of
which also involved parallel Federal Trade Commission enforcement actions, including a
previous settlement for New Balance.


              In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-
              MD-2308-TBR (W.D. Ky. 2012). In his Final Order and Judgment
              granting the Motion for Preliminary Approval of Settlement, the
              Honorable Thomas B. Russell stated:


              … The comprehensive nature of the class notice leaves little doubt that,
              upon receipt, class members will be able to make an informed and
              intelligent decision about participating in the settlement.


              In re: Reebok Easytone Litigation, No. 10-CV-11977 (D. MA. 2011).
              The Honorable F. Dennis Saylor IV stated in the Final Approval Order:


              The Court finds that the dissemination of the Class Notice and [Ms.
              Finegan’s] Declaration and the notice dissemination methodology
              implemented pursuant to the Settlement Agreement and this Court’s
              Preliminary Approval Order… constituted the best practicable notice to
              Class Members under the circumstances of the Actions.


              Pashmova v. New Balance Athletic Shoes, Inc., 1:11-cv-10001-LTS (D.
              Mass.). The Honorable Leo T. Sorokin stated in the Final Approval Order:


              The Class Notice, the Summary Settlement Notice, the web site, and all
              other notices in the Settlement Agreement and the Declaration of [Ms
              Finegan], and the notice methodology implemented pursuant to the
              Settlement Agreement: … met all applicable requirements of law,
              including, but not limited to, the Federal Rules of Civil Procedure, 28
              U.S.C. § 1715, and the Due Process Clause(s) of the United States
              Constitution, as well as complied with the Federal Judicial Center’s
              illustrative class action notices.


       12.    A comprehensive description of my credentials and experience that
qualify me to provide expert opinions on the adequacy of class action notice programs is
attached as Exhibit A.

                    NOTICE PROGRAM SUMMARY
       13.    This notice program is designed to inform Class Members of the proposed
class action settlement between Plaintiffs and Defendants as described in the Settlement
Agreement. In the Settlement Agreement, the class is:
       All persons who, during the Class Period, purchased any and all “Made in USA”
       Shoes from New Balance and/or its Authorized Retailers, in California. Excluded
       from the Class are: (a) New Balance’s Board members or employees, including its
       attorneys; (b) any persons who purchased “Made in USA” shoes for purposes of
       resale; (c) distributors or re-sellers of the “Made in USA” Shoes; (d) the judge and
       magistrate judge presiding over the Action and their immediate families; (e)
       governmental entities; and (f) persons or entities who or which timely and
       properly exclude themselves from the Class as provided in this Agreement.

       14.    The proposed notice program includes the following components:

              •   CAFA Notice to appropriate state and federal government officials;
               •   Direct e-mail or first-class U.S. mail notice to reasonably and readily
                   identifiable Class Members;;
               •   Publication in the Los Angeles Times, published 4 times weekly on
                   Sundays, covering a one month period.
               •   Online display banner advertising specifically targeted to reach Class
                   Members;
               •   A press release (California and California Hispanic Newslines);
               •   Social media through Facebook and Instagram;
               •   An informational website, on which the notices and other important
                   Court documents will be posted; and
               •   A toll-free information line, by which Class Members can call 24/7
                   for more information about the Settlement, including, but not limited
                   to, requesting copies of the Long Form Notice or Claim Form.

                                       CAFA
        15.    I have been informed by Defendant’s Counsel that New Balance will
provide notice of the proposed Settlement under CAFA 28 U.S.C. § 1715(b) to
appropriate state and federal government officials.

                               DIRECT NOTICE
        16.    Heffler Claims will send direct notice to approximately 56,000 Class
Members through email addresses provided by New Balance. Using information obtained
from previous online purchase records, direct email notice will be sent to approximately 8%
of the Class, which is estimated not to exceed 1,000,000 Class Members. In the event
emailed notice receives a hard bounce and is undeliverable, a postcard Notice will be re-
mailed via U.S. First Class Mail to those for whom the Defendant has a physical address
on record. Upon completion of these duties, Heffler will provide a detailed report on the
results of these efforts, which will be filed with this Court upon completion of the Notice
Plan.

   METHODOLOGY FOR PUBLICATION/INTERNET NOTICE
        17.    To appropriately design and target the publication component of the notice
program, HF Media utilized a methodology accepted by the advertising industry and
embraced by courts in the United States.
        18.      Accordingly,      we     are   guided     by    well-established      principles     of
communication and utilize best-in-class nationally syndicated media research data
provided by GfK Mediamark Research and Intelligence, LLC,2 and online measurement
currency comScore3, among others, to provide media consumption habits and audience
delivery verification of the potentially affected population. These data resources are used
by advertising agencies nationwide as the basis to select the most appropriate media to
reach specific target audiences. The resulting key findings are instrumental in our
selection of media channels and outlets for determining the estimated net audience
reached through this legal notice program. Specifically, this research identifies which
media channels are favored by the target audience (i.e., the Class Members). For instance,
browsing behaviors on the Internet, social media channels that are used, and which
magazines Class Members are reading.
        19.      For this program, HF Media employs the best-in-class tools and
technology in order to appropriately target Class Members and appropriately measure and
validate audience delivery using Media Ratings Counsel accepted third-party validation
of all media. By utilizing media research tools such as GfK Mediamark Research and
Intelligence, LLC and comScore, we can create target audience characteristics or
segments, and then select the most appropriate media and communication methods to
best reach them.
        20.      This media research technology allows us to fuse data and accurately
report to the Court the percentage of the target audience that will be reached by the notice
component and how many times the target audience had the opportunity to see the
message. In advertising, this is commonly referred to as a “Reach and Frequency”
analysis, where “Reach” refers to the estimated percentage of the unduplicated audience
exposed to the campaign, and “Frequency” refers to how many times, on average, the

2
  GfK MRI's Survey of the American Consumer® (“MRI”) is the industry standard for magazine audience
ratings in the U.S. and is used in the majority of media and marketing agencies in the country. MRI
provides comprehensive reports on demographic, lifestyle, product usage and media exposure.
3
  comScore is a global Internet information provider on which leading companies and advertising agencies
rely for consumer behavior insight and Internet usage data. comScore maintains a proprietary database of
more than 2 million consumers who have given comScore permission to monitor their browsing and
transaction behavior, including online and offline purchasing. This data includes and fuses 1st party,
(website data), second party (data shared by websites for marketing purposes) and 3rd party data, tied to
offline purchasing behavior.
target audience had the opportunity to see the message. The calculations are used by
advertising and communications firms worldwide, and have become a critical element to
help provide the basis for determining adequacy of notice in class actions.
       21.     Additionally, we have been the first notice experts to actively monitor,
mitigate and cull non-human (ad fraud bot traffic) from digital notice programs.
Consistent with our recent successfully implemented court approved notice programs for
Landes v. Sony Mobile Communications Case No. 2:17-cv-2264-JFB-SL (E.D.N.Y.), and
N.P. v Standard Innovation Corp., Case No. 1:16-cv-8655 (N.D. Ill.), we will take active
steps on multiple levels to monitor, mitigate and adjust for this type of traffic. This non-
human traffic will be identified and culled from our final reach calculations reported to
the court.

      TARGET AUDIENCE MEDIA USE AND KEY INSIGHTS
       22.     According to nationally syndicated media research data provided by GfK
Mediamark Research and Intelligence, LLC, this audience is heavily online with nearly
89 percent using the internet over the last 30 days and 79 percent using their smartphone
to go online. Additionally, nearly 80 percent have visited a social website such as
Facebook in the last 30 days.

               PUBLICATION ELEMENTS - INTERNET
       23.     Here, HF Media will incorporate the most cutting edge data and
technology to appropriately deliver ads to people who have purchased New Balance
Shoes who live in California. HF Media intends to serve over 14 million highly targeted
online and social media impressions for this campaign. To ensure the highest degree of
quality advertising inventory, HF media will employ, among other tactics, hand-selected
whitelists of pre-approved and vetted websites for this campaign and actively monitor for
ad fraud in multiple layers, including click fraud and impression fraud. This campaign
targets individuals who fit the primary demographic profile of New Balance purchasers,
targeting California adults 35+ with a household income of $75k+ across multiple
exchanges as well as New Balance shoe purchasers in California. Based on insights
provided by our media research, we are including the same keywords and search phrases
that New Balance has previously selected to market this product. In consideration of the
demographics, online display ads will run in English and Spanish. Additionally, the
notice program will employ social media platforms Facebook and Instagram. Newsfeed
ads will target followers of New Balance’s Facebook page who live in California and
California adults 35+ with a household income of $75k+. The program will also include
retargeting, or reminders to those who visit the settlement website, but did not complete a
claim.

                                        PRINT
         24.   Our research indicates that the Los Angeles Times (“LAT”) is the most
efficient print title with 4 insertions providing excellent target audience reach. In fact, the
LAT far outstrips any other print title in reader inclination or index4. Consumers who
live in California and purchase New Balance are an order of magnitude more likely than
the average person to read the paper. As noted above, the print newspaper buy is
expanded through the Los Angeles Times digital website which is viewed by consumers
throughout the state. The summary notice will appear as a 1/8th page ad unit and will be
placed in 4 consecutive Sunday issues of the paper (not in classifieds). The print ad will
include a Spanish sub headline directing Spanish speakers to the website for more
information.

                                 PRESS RELEASE
         25.   A news release will be released over PR Newswire’s California and
California Hispanic Newslines. PR Newswire delivers to thousands of print and broadcast
newsrooms nationwide, as well as websites, databases and online services including
featured placement in news sections of leading portals

                             MEDIA MONITORING
         26.   HF Media intends to monitor various media channels for subsequent news
articles and various social mentions as a result of the press release efforts. A complete

4
 An index is a measure of inclination. An index of 130 would mean that the audience is
30 percent more likely than the average person to read or watch a media channel.
report on the results will be filed with the Court upon completion of the notice program.

                    OFFICIAL SETTLEMENT WEBSITE
       27.       An informational website will be established and maintained by the
Administrator.
       28.       The website will serve as a “landing page for the banner advertising,”
where Class Members may get information about the Settlement and obtain and/or submit
a Claim Form, along with other information which includes information about the class
action, their rights, download the Long Form Notice, the Claim Form, and related
information, including the Settlement Agreement, Court Orders, and Plaintiff’s Motion
for Approval of Fees, Expenses, and Incentive Awards.

                     TOLL FREE INFORMATION LINE
       29.       Additionally, the Administrator will establish and maintain a 24-hour toll-
free Interactive Voice Response (“IVR”) telephone line, where callers may obtain
information about the class action.

                                   CONCLUSION
       30.       In my opinion, the outreach efforts described above reflect a particularly
appropriate, highly targeted and contemporary way to employ notice to this class.
Through a multi-media channel approach to notice, which employs direct notice, digital,
social and mobile media, an estimated 70 percent of targeted Class Members will be
reached by the notice program, on average, 4.1 times. In my opinion, the efforts to be
used in this proposed notice program are of the highest modern communication standards,
are reasonably calculated to provide notice, and are consistent with best practicable court-
approved notice programs in similar matters and the Federal Judicial Center’s guidelines
concerning appropriate reach.
       31.    I declare under the penalty of perjury, under the laws of the United States
of America, that the foregoing is true and correct. Executed on April 23 2018 in Tigard,
Oregon.


                                                   ______________________________
                                                  Jeanne C. Finegan, APR
Exhibit A
                                JEANNE C. FINEGAN, APR
                                                  BIOGRAPHY

                    Jeanne Finegan, APR, is President and Chief Media Officer of HF Media,
                    LLC. (a division of Heffler Claims Group), named by Diversity Journal as one
                    of the “Top 100 Women Worth Watching,” has more than 30 years of
                    communications and advertising experience and is a distinguished legal
                    notice and communications expert. During her tenure, she has planned
                    and implemented over 1,000 high-profile, complex legal notice
                    communication programs. She is a recognized notice expert in both the
                    United States and in Canada, with extensive international notice
experience spanning more than 140 countries and over 40 languages.

Ms. Finegan has lectured, published and has been cited extensively on various aspects of legal
noticing, product recall and crisis communications. She has served the Consumer Product
Safety Commission (CPSC) as an expert to determine ways in which the Commission can
increase the effectiveness of its product recall campaigns. Further, she has planned and
implemented large-scale government enforcement notice programs for the Federal Trade
Commission (FTC) and the Securities and Exchange Commission (SEC). More recently, she has
been extensively involved as a contributing author for "Guidelines and Best Practices
Implementing 2018 Amendments to Rule 23 Class Action Settlement Provisions" to be published
by Duke University School of Law in 2018. Further, she has worked with the Special Settlement
Administrator’s team to assist with the outreach strategy for the historic Auto Airbag
Settlement, In re: Takata Airbag Products Liability Litigation MDL 2599.

Ms. Finegan is accredited in Public Relations (APR) by the Universal Accreditation Board, which
is a program administered by the Public Relations Society of America (PRSA), and is also a
recognized member of the Canadian Public Relations Society (CPRS). She has served on
examination panels for APR candidates and worked pro bono as a judge for prestigious PRSA
awards.

Ms. Finegan has provided expert testimony before Congress on issues of notice, and expert
testimony in both state and federal courts regarding notification campaigns. She has conducted
numerous media audits of proposed notice programs to assess the adequacy of those programs
under Fed R. Civ. P. 23(c)(2) and similar state class action statutes.

She was an early pioneer of plain language in notice (as noted in a RAND study,1) and continues
to set the standard for modern outreach as the first notice expert to integrate social and mobile
media into court approved legal notice programs.

1 Deborah R. Hensler et al., CLASS ACTION DILEMAS, PURSUING PUBLIC GOALS FOR PRIVATE GAIN. RAND (2000).
In the course of her class action experience, courts have recognized the merits of, and admitted
expert testimony based on, her scientific evaluation of the effectiveness of notice plans. She
has designed legal notices for a wide range of class actions and consumer matters that include
product liability, construction defect, antitrust, medical/pharmaceutical, human rights, civil
rights, telecommunication, media, environment, government enforcement actions, securities,
banking, insurance, mass tort, restructuring and product recall.

                            JUDICIAL COMMENTS AND LEGAL NOTICE CASES

       In evaluating the adequacy and effectiveness of Ms. Finegan’s notice campaigns, courts
have repeatedly recognized her excellent work. The following excerpts provide some examples
of such judicial approval.

Carter v Forjas Taurus S.S., Taurus International Manufacturing, Inc., Case No. 1:13-CV-24583
PAS (S.D. Fl. 2016). In her Final Order and Judgment Granting Plaintiffs Motion for Final
Approval of Class Action Settlement, the Honorable Patricia Seitz stated:

        The Court considered the extensive experience of Jeanne C. Finegan and the notice
        program she developed. …There is no national firearms registry and Taurus sale
        records do not provide names and addresses of the ultimate purchasers… Thus the
        form and method used for notifying Class Members of the terms of the Settlement was
        the best notice practicable. …The court-approved notice plan used peer-accepted
        national research to identify the optimal traditional, online, mobile and social media
        platforms to reach the Settlement Class Members.

        Additionally, in January 20, 2016, Transcript of Class Notice Hearing, p. 5 Judge Seitz,
        gave accolades to Ms. Finegan, noting:

        I would like to compliment Ms. Finegan and her company because I was quite
        impressed with the scope and the effort of communicating with the Class.

Cook et. al v. Rockwell International Corp. and the Dow Chemical Co., No. 90-cv-00181- KLK
(D.Colo. 2017)., aka, Rocky Flats Nuclear Weapons Plant Contamination. In the Order Granting
Final Approval, dated April 28, 2017, p.3, the Honorable John L. Kane said:

        The Court-approved Notice Plan, which was successfully implemented by
        [HF Media- emphasis added] (see Doc. 2432), constituted the best notice practicable
        under the circumstances. In making this determination, the Court finds that the Notice
        Plan that was implemented, as set forth in Declaration of Jeanne C. Finegan, APR
        Concerning Implementation and Adequacy of Class Member Notification (Doc. 2432),
        provided for individual notice to all members of the Class whose identities and
        addresses were identified through reasonable efforts, … and a comprehensive national
        publication notice program that included, inter alia, print, television, radio and

Jeanne C. Finegan, APR CV                                                                          2
        internet banner advertisements. …Pursuant to, and in accordance with, Rule 23 of the
        Federal Rules of Civil Procedure, the Court finds that the Notice Plan provided the best
        notice practicable to the Class.


Warner et al. v. Toyota Motor Sales, U.S.A. Inc., Case No 2:15-cv-02171-FMO FFMx (C.D. Cal.
2017). In the Order Re: Final Approval of Class Action Settlement; Approval of Attorney’s Fees,
Costs & Service Awards, dated May 21, 2017, the Honorable Fernanedo M. Olguin stated:

        Finegan, the court-appointed settlement notice administrator, has implemented the
        mutliprong notice program. …the court finds that the class notice and the notice
        process fairly and adequately informed the class members of the nature of the action,
        the terms of the proposed settlement, the effect of the action and release of claims,
        the class members’ right to exclude themselves from the action, and their right to
        object to the proposed settlement. (See Dkt. 98, PAO at 25-28).

Michael Allagas, et al., v. BP Solar International, Inc., et al., BP Solar Panel Settlement, Case
No. 3:14-cv-00560- SI (N.D. Cal., San Francisco Div. 2016). In the Order Granting Final Approval,
Dated December 22, 2016, The Honorable Susan Illston stated:

        Class Notice was reasonable and constituted due, adequate and sufficient notice to all
        persons entitled to be provided with notice; and d. fully satisfied the requirements of
        the Federal Rules of Civil Procedure, including Fed. R. Civ. P. 23(c)(2) and (e), the
        United States Constitution (including the Due Process Clause), the Rules of this Court,
        and any other applicable law.

In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-2308-TBR (W.D. Ky.
2012). In his Final Order and Judgment granting the Motion for Preliminary Approval of
Settlement, the Honorable Thomas B. Russell stated:

        … The comprehensive nature of the class notice leaves little doubt that, upon receipt,
        class members will be able to make an informed and intelligent decision about
        participating in the settlement.

Brody v. Merck & Co., Inc., et al, No. 3:12-cv-04774-PGS-DEA (N.J.) (Jt Hearing for Prelim App,
Sept. 27, 2012, transcript page 34). During the Hearing on Joint Application for Preliminary
Approval of Class Action, the Honorable Peter G. Sheridan praised Ms. Finegan, noting:

        Ms. Finegan did a great job in testifying as to what the class administrator will do. So,
        I'm certain that all the class members or as many that can be found, will be given
        some very adequate notice in which they can perfect their claim.




Jeanne C. Finegan, APR CV                                                                         3
Quinn v. Walgreen Co., Wal-Mart Stores Inc., 7:12 CV-8187-VB (NYSD) (Jt Hearing for Final
App, March. 5, 2015, transcript page 40-41). During the Hearing on Final Approval of Class
Action, the Honorable Vincent L. Briccetti gave accolades to Ms. Finegan, noting:

        "The notice plan was the best practicable under the circumstances. … [and] “the proof
        is in the pudding. This settlement has resulted in more than 45,000 claims which is
        10,000 more than the Pearson case and more than 40,000 more than in a glucosamine
        case pending in the Southern District of California I've been advised about. So the
        notice has reached a lot of people and a lot of people have made claims.”

In Re: TracFone Unlimited Service Plan Litigation, No. C-13-3440 EMC (ND Ca). In the Final
Order and Judgment Granting Class Settlement, July 2, 2015, the Honorable Edward M. Chen
noted:
        “…[D]epending on the extent of the overlap between those class members who will
        automatically receive a payment and those who filed claims, the total claims rate is
        estimated to be approximately 25-30%. This is an excellent result...

In Re: Blue Buffalo Company, Ltd., Marketing and Sales Practices Litigation, Case No. 4:14-
MD-2562 RWS (E.D. Mo. 2015), (Hearing for Final Approval, May 19, 2016 transcript p. 49).
During the Hearing for Final Approval, the Honorable Rodney Sippel said:

        It is my finding that notice was sufficiently provided to class members in the manner
        directed in my preliminary approval order and that notice met all applicable
        requirements of due process and any other applicable law and considerations.

DeHoyos, et al. v. Allstate Ins. Co., No. SA-01-CA-1010 (W.D.Tx. 2001). In the Amended Final
Order and Judgment Approving Class Action Settlement, the Honorable Fred Biery stated:

        [T]he undisputed evidence shows the notice program in this case was developed and
        implemented by a nationally recognized expert in class action notice programs. … This
        program was vigorous and specifically structured to reach the African-American and
        Hispanic class members. Additionally, the program was based on a scientific
        methodology which is used throughout the advertising industry and which has been
        routinely embraced routinely [sic] by the Courts. Specifically, in order to reach the
        identified targets directly and efficiently, the notice program utilized a multi-layered
        approach which included national magazines; magazines specifically appropriate to
        the targeted audiences; and newspapers in both English and Spanish.

In re: Reebok Easytone Litigation, No. 10-CV-11977 (D. MA. 2011). The Honorable F. Dennis
Saylor IV stated in the Final Approval Order:

        The Court finds that the dissemination of the Class Notice, the publication of the
        Summary Settlement Notice, the establishment of a website containing settlement-
        related materials, the establishment of a toll-free telephone number, and all other


Jeanne C. Finegan, APR CV                                                                      4
        notice methods set forth in the Settlement Agreement and [Ms. Finegan’s] Declaration
        and the notice dissemination methodology implemented pursuant to the Settlement
        Agreement and this Court’s Preliminary Approval Order… constituted the best
        practicable notice to Class Members under the circumstances of the Actions.

Bezdek v. Vibram USA and Vibram FiveFingers LLC, No 12-10513 (D. MA) The Honorable
Douglas P. Woodlock stated in the Final Memorandum and Order:
      …[O]n independent review I find that the notice program was robust, particularly in its
      online presence, and implemented as directed in my Order authorizing notice. …I find
      that notice was given to the Settlement class members by the best means “practicable
      under the circumstances.” Fed.R.Civ.P. 23(c)(2).

Gemelas v. The Dannon Company Inc., No. 08-cv-00236-DAP (N.D. Ohio). In granting final
approval for the settlement, the Honorable Dan A. Polster stated:

        In accordance with the Court's Preliminary Approval Order and the Court-approved
        notice program, [Ms. Finegan] caused the Class Notice to be distributed on a
        nationwide basis in magazines and newspapers (with circulation numbers exceeding
        81 million) specifically chosen to reach Class Members. … The distribution of Class
        Notice constituted the best notice practicable under the circumstances, and fully
        satisfied the requirements of Federal Rule of Civil Procedure 23, the requirements of
        due process, 28 U.S.C. 1715, and any other applicable law.

Pashmova v. New Balance Athletic Shoes, Inc., 1:11-cv-10001-LTS (D. Mass.). The Honorable
Leo T. Sorokin stated in the Final Approval Order:

        The Class Notice, the Summary Settlement Notice, the web site, and all other notices in
        the Settlement Agreement and the Declaration of [Ms Finegan], and the notice
        methodology implemented pursuant to the Settlement Agreement: (a) constituted the
        best practicable notice under the circumstances; (b) constituted notice that was
        reasonably calculated to apprise Class Members of the pendency of the Actions, the
        terms of the Settlement and their rights under the settlement … met all applicable
        requirements of law, including, but not limited to, the Federal Rules of Civil Procedure,
        28 U.S.C. § 1715, and the Due Process Clause(s) of the United States Constitution, as
        well as complied with the Federal Judicial Center’s illustrative class action notices.

Hartless v. Clorox Company, No. 06-CV-2705 (CAB) (S.D.Cal.). In the Final Order Approving
Settlement, the Honorable Cathy N. Bencivengo found:

        The Class Notice advised Class members of the terms of the settlement; the Final
        Approval Hearing and their right to appear at such hearing; their rights to remain in or
        opt out of the Class and to object to the settlement; the procedures for exercising such
        rights; and the binding effect of this Judgment, whether favorable or unfavorable, to
        the Class. The distribution of the notice to the Class constituted the best notice


Jeanne C. Finegan, APR CV                                                                      5
        practicable under the circumstances, and fully satisfied the requirements of Federal
        Rule of Civil Procedure 23, the requirements of due process, 28 U.S.C. §1715, and any
        other applicable law.

McDonough et al v. Toys 'R' Us et al, No. 09:-cv-06151-AB (E.D. Pa.). In the Final Order and
Judgment Approving Settlement, the Honorable Anita Brody stated:

        The Court finds that the Notice provided constituted the best notice practicable under
        the circumstances and constituted valid, due and sufficient notice to all persons
        entitled thereto.

In re: Pre-Filled Propane Tank Marketing & Sales Practices Litigation, No. 4:09-md-02086-GAF
(W.D. Mo.) In granting final approval to the settlement, the Honorable Gary A. Fenner stated:

        The notice program included individual notice to class members who could be
        identified by Ferrellgas, publication notices, and notices affixed to Blue Rhino propane
        tank cylinders sold by Ferrellgas through various retailers. ... The Court finds the notice
        program fully complied with Federal Rule of Civil Procedure 23 and the requirements
        of due process and provided to the Class the best notice practicable under the
        circumstances.

Stern v. AT&T Mobility Wireless, No. 09-cv-1112 CAS-AGR (C.D.Cal. 2009). In the Final Approval
Order, the Honorable Christina A. Snyder stated:

        [T]he Court finds that the Parties have fully and adequately effectuated the Notice
        Plan, as required by the Preliminary Approval Order, and, in fact, have achieved better
        results than anticipated or required by the Preliminary Approval Order.

In re: Processed Egg Prods. Antitrust Litig., MDL No. 08-md-02002 (E.D.P.A.). In the Order
Granting Final Approval of Settlement, Judge Gene E.K. Pratter stated:

        The Notice appropriately detailed the nature of the action, the Class claims, the
        definition of the Class and Subclasses, the terms of the proposed settlement
        agreement, and the class members’ right to object or request exclusion from the
        settlement and the timing and manner for doing so.… Accordingly, the Court
        determines that the notice provided to the putative Class Members constitutes
        adequate notice in satisfaction of the demands of Rule 23.

In re Polyurethane Foam Antitrust Litigation, 10- MD-2196 (N.D. OH). In the Order Granting
Final Approval of Voluntary Dismissal and Settlement of Defendant Domfoam and Others, the
Honorable Jack Zouhary stated:

        The notice program included individual notice to members of the Class who could be
        identified through reasonable effort, as well as extensive publication of a summary


Jeanne C. Finegan, APR CV                                                                        6
        notice. The Notice constituted the most effective and best notice practicable under the
        circumstances of the Settlement Agreements, and constituted due and sufficient notice
        for all other purposes to all persons and entities entitled to receive notice.

Rojas v Career Education Corporation, No. 10-cv-05260 (N.D.E.D. IL) In the Final Approval Order
dated October 25, 2012, the Honorable Virgina M. Kendall stated:

        The Court Approved notice to the Settlement Class as the best notice practicable under
        the circumstance including individual notice via U.S. Mail and by email to the class
        members whose addresses were obtained from each Class Member’s wireless carrier
        or from a commercially reasonable reverse cell phone number look-up service,
        nationwide magazine publication, website publication, targeted on-line advertising,
        and a press release. Notice has been successfully implemented and satisfies the
        requirements of the Federal Rule of Civil Procedure 23 and Due Process.

Golloher v Todd Christopher International, Inc. DBA Vogue International (Organix), No. C
1206002 N.D CA. In the Final Order and Judgment Approving Settlement, the Honorable
Richard Seeborg stated:

        The distribution of the notice to the Class constituted the best notice practicable
        under the circumstances, and fully satisfied the requirements of Federal Rule of Civil
        Procedure 23, the requirements of due process, 28 U.S.C. §1715, and any other
        applicable law.

Stefanyshyn v. Consolidated Industries, No. 79 D 01-9712-CT-59 (Tippecanoe County Sup. Ct.,
Ind.). In the Order Granting Final Approval of Settlement, Judge Randy Williams stated:

        The long and short form notices provided a neutral, informative, and clear explanation
        of the Settlement. … The proposed notice program was properly designed,
        recommended, and implemented … and constitutes the “best practicable” notice of
        the proposed Settlement. The form and content of the notice program satisfied all
        applicable legal requirements. … The comprehensive class notice educated Settlement
        Class members about the defects in Consolidated furnaces and warned them that the
        continued use of their furnaces created a risk of fire and/or carbon monoxide. This
        alone provided substantial value.

McGee v. Continental Tire North America, Inc. et al, No. 06-6234-(GEB) (D.N.J.).

        The Class Notice, the Summary Settlement Notice, the web site, the toll-free telephone
        number, and all other notices in the Agreement, and the notice methodology
        implemented pursuant to the Agreement: (a) constituted the best practicable notice
        under the circumstances; (b) constituted notice that was reasonably calculated to
        apprise Class Members of the pendency of the Action, the terms of the settlement and
        their rights under the settlement, including, but not limited to, their right to object to


Jeanne C. Finegan, APR CV                                                                        7
        or exclude themselves from the proposed settlement and to appear at the Fairness
        Hearing; (c) were reasonable and constituted due, adequate and sufficient notice to all
        persons entitled to receive notification; and (d) met all applicable requirements of law,
        including, but not limited to, the Federal Rules of Civil Procedure, 20 U.S.C. Sec. 1715,
        and the Due Process Clause(s) of the United States Constitution, as well as complied
        with the Federal Judicial Center’s illustrative class action notices,


Varacallo, et al. v. Massachusetts Mutual Life Insurance Company, et al., No. 04-2702 (JLL)
(D.N.J.). The Court stated that:

        [A]ll of the notices are written in simple terminology, are readily understandable by
        Class Members, and comply with the Federal Judicial Center's illustrative class action
        notices. … By working with a nationally syndicated media research firm, [Finegan’s
        firm] was able to define a target audience for the MassMutual Class Members, which
        provided a valid basis for determining the magazine and newspaper preferences of the
        Class Members. (Preliminary Approval Order at p. 9). . . . The Court agrees with Class
        Counsel that this was more than adequate. (Id. at § 5.2).

In re: Nortel Network Corp., Sec. Litig., No. 01-CV-1855 (RMB) Master File No. 05 MD 1659
(LAP) (S.D.N.Y.). Ms. Finegan designed and implemented the extensive United States and
Canadian notice programs in this case. The Canadian program was published in both French
and English, and targeted virtually all investors of stock in Canada. See
www.nortelsecuritieslitigation.com. Of the U.S. notice program, the Honorable Loretta A.
Preska stated:

        The form and method of notifying the U.S. Global Class of the pendency of the action
        as a class action and of the terms and conditions of the proposed Settlement …
        constituted the best notice practicable under the circumstances, and constituted due
        and sufficient notice to all persons and entities entitled thereto.

Regarding the B.C. Canadian Notice effort: Jeffrey v. Nortel Networks, [2007] BCSC 69 at para.
50, the Honourable Mr. Justice Groberman said:

        The efforts to give notice to potential class members in this case have been thorough.
        There has been a broad media campaign to publicize the proposed settlement and the
        court processes. There has also been a direct mail campaign directed at probable
        investors. I am advised that over 1.2 million claim packages were mailed to persons
        around the world. In addition, packages have been available through the worldwide
        web site nortelsecuritieslitigation.com on the Internet. Toll-free telephone lines have
        been set up, and it appears that class counsel and the Claims Administrator have
        received innumerable calls from potential class members. In short, all reasonable
        efforts have been made to ensure that potential members of the class have had notice



Jeanne C. Finegan, APR CV                                                                        8
        of the proposal and a reasonable opportunity was provided for class members to
        register their objections, or seek exclusion from the settlement.

Mayo v. Walmart Stores and Sam’s Club, No. 5:06 CV-93-R (W.D.Ky.). In the Order Granting
Final Approval of Settlement, Judge Thomas B. Russell stated:

        According to defendants’ database, the Notice was estimated to have reached over
        90% of the Settlement Class Members through direct mail. The Settlement
        Administrator … has classified the parties’ database as ‘one of the most reliable and
        comprehensive databases [she] has worked with for the purposes of legal notice.’…
        The Court thus reaffirms its findings and conclusions in the Preliminary Approval Order
        that the form of the Notice and manner of giving notice satisfy the requirements of
        Fed. R. Civ. P. 23 and affords due process to the Settlement Class Members.

Fishbein v. All Market Inc., (d/b/a Vita Coco) No. 11-cv-05580 (S.D.N.Y.). In granting final
approval of the settlement, the Honorable J. Paul Oetken stated:

        "The Court finds that the dissemination of Class Notice pursuant to the Notice
        Program…constituted the best practicable notice to Settlement Class Members under
        the circumstances of this Litigation … and was reasonable and constituted due,
        adequate and sufficient notice to all persons entitled to such notice, and fully satisfied
        the requirements of the Federal Rules of Civil Procedure, including Rules 23(c)(2) and
        (e), the United States Constitution (including the Due Process Clause), the Rules of this
        Court, and any other applicable laws."

Lucas, et al. v. Kmart Corp., No. 99-cv-01923 (D.Colo.), wherein the Court recognized Jeanne
Finegan as an expert in the design of notice programs, and stated:

        The Court finds that the efforts of the parties and the proposed Claims Administrator
        in this respect go above and beyond the "reasonable efforts" required for identifying
        individual class members under F.R.C.P. 23(c)(2)(B).

In re: Johns-Manville Corp. (Statutory Direct Action Settlement, Common Law Direct Action
and Hawaii Settlement), No 82-11656, 57, 660, 661, 665-73, 75 and 76 (BRL) (Bankr. S.D.N.Y.).
The nearly half-billion dollar settlement incorporated three separate notification programs,
which targeted all persons who had asbestos claims whether asserted or unasserted, against
the Travelers Indemnity Company. In the Findings of Fact and Conclusions of a Clarifying Order
Approving the Settlements, slip op. at 47-48 (Aug. 17, 2004), the Honorable Burton R. Lifland,
Chief Justice, stated:

        As demonstrated by Findings of Fact (citation omitted), the Statutory Direct Action
        Settlement notice program was reasonably calculated under all circumstances to
        apprise the affected individuals of the proceedings and actions taken involving their
        interests, Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950), such


Jeanne C. Finegan, APR CV                                                                       9
        program did apprise the overwhelming majority of potentially affected claimants and
        far exceeded the minimum notice required. . . . The results simply speak for
        themselves.

Pigford v. Glickman and U.S. Department of Agriculture, No. 97-1978. 98-1693 (PLF) (D.D.C.).
This matter was the largest civil rights case to settle in the United States in over 40 years. The
highly publicized, nationwide paid media program was designed to alert all present and past
African-American farmers of the opportunity to recover monetary damages against the U.S.
Department of Agriculture for alleged loan discrimination. In his Opinion, the Honorable Paul L.
Friedman commended the parties with respect to the notice program, stating;

        The parties also exerted extraordinary efforts to reach class members through a
        massive advertising campaign in general and African American targeted publications
        and television stations. . . . The Court concludes that class members have received
        more than adequate notice and have had sufficient opportunity to be heard on the
        fairness of the proposed Consent Decree.

In re: Louisiana-Pacific Inner-Seal Siding Litig., Nos. 879-JE, and 1453-JE (D.Or.). Under the
terms of the Settlement, three separate notice programs were to be implemented at three-year
intervals over a period of six years. In the first notice campaign, Ms. Finegan implemented the
print advertising and Internet components of the Notice program. In approving the legal notice
communication plan, the Honorable Robert E. Jones stated:

        The notice given to the members of the Class fully and accurately informed the Class
        members of all material elements of the settlement…[through] a broad and extensive
        multi-media notice campaign.

Additionally, with regard to the third-year notice program for Louisiana-Pacific, the Honorable
Richard Unis, Special Master, commented that the notice was:

        …well formulated to conform to the definition set by the court as adequate and
        reasonable notice. Indeed, I believe the record should also reflect the Court's
        appreciation to Ms. Finegan for all the work she's done, ensuring that noticing was
        done correctly and professionally, while paying careful attention to overall costs. Her
        understanding of various notice requirements under Fed. R. Civ. P. 23, helped to insure
        that the notice given in this case was consistent with the highest standards of
        compliance with Rule 23(d)(2).

In re: Expedia Hotel Taxes and Fees Litigation, No. 05-2-02060-1 (SEA) (Sup. Ct. of Wash. in and
for King County). In the Order Granting Final Approval of Class Action Settlement, Judge
Monica Benton stated:

        The Notice of the Settlement given to the Class … was the best notice practicable
        under the circumstances. All of these forms of Notice directed Class Members to a


Jeanne C. Finegan, APR CV                                                                      10
        Settlement Website providing key Settlement documents including instructions on how
        Class Members could exclude themselves from the Class, and how they could object to
        or comment upon the Settlement. The Notice provided due and adequate notice of
        these proceeding and of the matters set forth in the Agreement to all persons entitled
        to such notice, and said notice fully satisfied the requirements of CR 23 and due
        process.

Thomas A. Foster and Linda E. Foster v. ABTco Siding Litigation, No. 95-151-M (Cir. Ct.,
Choctaw County, Ala.). This litigation focused on past and present owners of structures sided
with Abitibi-Price siding. The notice program that Ms. Finegan designed and implemented was
national in scope and received the following praise from the Honorable J. Lee McPhearson:

        The Court finds that the Notice Program conducted by the Parties provided individual
        notice to all known Class Members and all Class Members who could be identified
        through reasonable efforts and constitutes the best notice practicable under the
        circumstances of this Action. This finding is based on the overwhelming evidence of
        the adequacy of the notice program. … The media campaign involved broad national
        notice through television and print media, regional and local newspapers, and the
        Internet (see id. ¶¶9-11) The result: over 90 percent of Abitibi and ABTco owners are
        estimated to have been reached by the direct media and direct mail campaign.

Wilson v. Massachusetts Mut. Life Ins. Co., No. D-101-CV 98-02814 (First Judicial Dist. Ct.,
County of Santa Fe, N.M.). This was a nationwide notification program that included all persons
in the United States who owned, or had owned, a life or disability insurance policy with
Massachusetts Mutual Life Insurance Company and had paid additional charges when paying
their premium on an installment basis. The class was estimated to exceed 1.6 million
individuals. www.insuranceclassclaims.com. In granting preliminary approval to the settlement,
the Honorable Art Encinias found:

        [T]he Notice Plan [is] the best practicable notice that is reasonably calculated, under
        the circumstances of the action. …[and] meets or exceeds all applicable requirements
        of the law, including Rule 1-023(C)(2) and (3) and 1-023(E), NMRA 2001, and the
        requirements of federal and/or state constitutional due process and any other
        applicable law.

Sparks v. AT&T Corp., No. 96-LM-983 (Third Judicial Cir., Madison County, Ill.). The litigation
concerned all persons in the United States who leased certain AT&T telephones during the
1980’s. Ms. Finegan designed and implemented a nationwide media program designed to
target all persons who may have leased telephones during this time period, a class that
included a large percentage of the entire population of the United States.
In granting final approval to the settlement, the Court found:

         The Court further finds that the notice of the proposed settlement was sufficient and
        furnished Class Members with the information they needed to evaluate whether to


Jeanne C. Finegan, APR CV                                                                   11
        participate in or opt out of the proposed settlement. The Court therefore concludes
        that the notice of the proposed settlement met all requirements required by law,
        including all Constitutional requirements.

In re: Georgia-Pacific Toxic Explosion Litig., No. 98 CVC05-3535 (Ct. of Common Pleas, Franklin
County, Ohio). Ms. Finegan designed and implemented a regional notice program that included
network affiliate television, radio and newspaper. The notice was designed to alert adults living
near a Georgia-Pacific plant that they had been exposed to an air-born toxic plume and their
rights under the terms of the class action settlement. In the Order and Judgment finally
approving the settlement, the Honorable Jennifer L. Bunner stated:

        [N]otice of the settlement to the Class was the best notice practicable under the
        circumstances, including individual notice to all members who can be identified
        through reasonable effort. The Court finds that such effort exceeded even reasonable
        effort and that the Notice complies with the requirements of Civ. R. 23(C).

In re: American Cyanamid, No. CV-97-0581-BH-M (S.D.Al.). The media program targeted
Farmers who had purchased crop protection chemicals manufactured by American Cyanamid.
In the Final Order and Judgment, the Honorable Charles R. Butler Jr. wrote:

        The Court finds that the form and method of notice used to notify the Temporary
        Settlement Class of the Settlement satisfied the requirements of Fed. R. Civ. P. 23 and
        due process, constituted the best notice practicable under the circumstances, and
        constituted due and sufficient notice to all potential members of the Temporary Class
        Settlement.

In re: First Alert Smoke Alarm Litig., No. CV-98-C-1546-W (UWC) (N.D.Al.). Ms. Finegan
designed and implemented a nationwide legal notice and public information program. The
public information program ran over a two-year period to inform those with smoke alarms of
the performance characteristics between photoelectric and ionization detection. The media
program included network and cable television, magazine and specialty trade publications. In
the Findings and Order Preliminarily Certifying the Class for Settlement Purposes, Preliminarily
Approving Class Settlement, Appointing Class Counsel, Directing Issuance of Notice to the Class,
and Scheduling a Fairness Hearing, the Honorable C.W. Clemon wrote that the notice plan:

        …constitutes due, adequate and sufficient notice to all Class Members; and (v) meets
        or exceeds all applicable requirements of the Federal Rules of Civil Procedure, the
        United States Constitution (including the Due Process Clause), the Alabama State
        Constitution, the Rules of the Court, and any other applicable law.

In re: James Hardie Roofing Litig., No. 00-2-17945-65SEA (Sup. Ct. of Wash., King County). The
nationwide legal notice program included advertising on television, in print and on the Internet.
The program was designed to reach all persons who own any structure with JHBP roofing
products. In the Final Order and Judgment, the Honorable Steven Scott stated:


Jeanne C. Finegan, APR CV                                                                     12
        The notice program required by the Preliminary Order has been fully carried out… [and
        was] extensive. The notice provided fully and accurately informed the Class Members
        of all material elements of the proposed Settlement and their opportunity to
        participate in or be excluded from it; was the best notice practicable under the
        circumstances; was valid, due and sufficient notice to all Class Members; and complied
        fully with Civ. R. 23, the United States Constitution, due process, and other applicable
        law.

Barden v. Hurd Millwork Co. Inc., et al, No. 2:6-cv-00046 (LA) (E.D.Wis.) ("The Court approves,
as to form and content, the notice plan and finds that such notice is the best practicable under
the circumstances under Federal Rule of Civil Procedure 23(c)(2)(B) and constitutes notice in a
reasonable manner under Rule 23(e)(1).")

Altieri v. Reebok, No. 4:10-cv-11977 (FDS) (D.C.Mass.) ("The Court finds that the notices …
constitute the best practicable notice... The Court further finds that all of the notices are
written in simple terminology, are readily understandable by Class Members, and comply
with the Federal Judicial Center’s illustrative class action notices.")

Marenco v. Visa Inc., No. CV 10-08022 (DMG) (C.D.Cal.) ("[T]he Court finds that the notice
plan…meets the requirements of due process, California law, and other applicable precedent.
The Court finds that the proposed notice program is designed to provide the Class with the
best notice practicable, under the circumstances of this action, of the pendency of this
litigation and of the proposed Settlement’s terms, conditions, and procedures, and shall
constitute due and sufficient notice to all persons entitled thereto under California law, the
United States Constitution, and any other applicable law.")

Palmer v. Sprint Solutions, Inc., No. 09-cv-01211 (JLR) (W.D.Wa.) ("The means of notice were
reasonable and constitute due, adequate, and sufficient notice to all persons entitled to be
provide3d with notice.")

In re: Tyson Foods, Inc., Chicken Raised Without Antibiotics Consumer Litigation, No. 1:08-md-
01982 RDB (D. Md. N. Div.) (“The notice, in form, method, and content, fully complied with the
requirements of Rule 23 and due process, constituted the best notice practicable under the
circumstances, and constituted due and sufficient notice to all persons entitled to notice of
the settlement.”)

Sager v. Inamed Corp. and McGhan Medical Breast Implant Litigation, No. 01043771 (Sup. Ct.
Cal., County of Santa Barbara) (“Notice provided was the best practicable under the
circumstances.”).

Deke, et al. v. Cardservice Internat’l, Case No. BC 271679, slip op. at 3 (Sup. Ct. Cal., County of
Los Angeles) (“The Class Notice satisfied the requirements of California Rules of Court 1856



Jeanne C. Finegan, APR CV                                                                       13
and 1859 and due process and constituted the best notice practicable under the
circumstances.”).

Levine, et al. v. Dr. Philip C. McGraw, et al., Case No. BC 312830 (Los Angeles County Super.
Ct., Cal.) (“[T]he plan for notice to the Settlement Class … constitutes the best notice
practicable under the circumstances and constituted due and sufficient notice to the members
of the Settlement Class … and satisfies the requirements of California law and federal due
process of law.”).

In re: Canadian Air Cargo Shipping Class Actions, Court File No. 50389CP, Ontario Superior
Court of Justice, Supreme Court of British Columbia, Quebec Superior Court (“I am satisfied the
proposed form of notice meets the requirements of s. 17(6) of the CPA and the proposed
method of notice is appropriate.”).

Fischer et al v. IG Investment Management, Ltd. et al, Court File No. 06-CV-307599CP, Ontario
Superior Court of Justice.

In re: Vivendi Universal, S.A. Securities Litigation, No. 02-cv-5571 (RJH)(HBP) (S.D.N.Y.).

In re: Air Cargo Shipping Services Antitrust Litigation, No. 06-MD-1775 (JG) (VV) (E.D.N.Y.).

Berger, et al., v. Property ID Corporation, et al., No. CV 05-5373-GHK (CWx) (C.D.Cal.).

Lozano v. AT&T Mobility Wireless, No. 02-cv-0090 CAS (AJWx) (C.D.Cal.).

Howard A. Engle, M.D., et al., v. R.J. Reynolds Tobacco Co., Philip Morris, Inc., Brown &
Williamson Tobacco Corp., No. 94-08273 CA (22) (11th Judicial Dist. Ct. of Miami-Dade County,
Fla.).

In re: Royal Dutch/Shell Transport Securities Litigation, No. 04 Civ. 374 (JAP) (Consolidated
Cases) (D. N.J.).

In re: Epson Cartridge Cases, Judicial Council Coordination Proceeding, No. 4347 (Sup. Ct. of
Cal., County of Los Angeles).

UAW v. General Motors Corporation, No: 05-73991 (E.D.MI).

Wicon, Inc. v. Cardservice Intern’l, Inc., BC 320215 (Sup. Ct. of Cal., County of Los Angeles).

In re: SmithKline Beecham Clinical Billing Litig., No. CV. No. 97-L-1230 (Third Judicial Cir.,
Madison County, Ill.). Ms. Finegan designed and developed a national media and Internet site
notification program in connection with the settlement of a nationwide class action concerning
billings for clinical laboratory testing services.



Jeanne C. Finegan, APR CV                                                                         14
MacGregor v. Schering-Plough Corp., No. EC248041 (Sup. Ct. Cal., County of Los Angeles). This
nationwide notification program was designed to reach all persons who had purchased or used
an aerosol inhaler manufactured by Schering-Plough. Because no mailing list was available,
notice was accomplished entirely through the media program.

In re: Swiss Banks Holocaust Victim Asset Litig., No. CV-96-4849 (E.D.N.Y.). Ms. Finegan
managed the design and implementation of the Internet site on this historic case. The site was
developed in 21 native languages. It is a highly secure data gathering tool and information hub,
central to the global outreach program of Holocaust survivors. www.swissbankclaims.com.

In re: Exxon Valdez Oil Spill Litig., No. A89-095-CV (HRH) (Consolidated) (D. Alaska). Ms.
Finegan designed and implemented two media campaigns to notify native Alaskan residents,
trade workers, fisherman, and others impacted by the oil spill of the litigation and their rights
under the settlement terms.

In re: Johns-Manville Phenolic Foam Litig., No. CV 96-10069 (D. Mass). The nationwide multi-
media legal notice program was designed to reach all Persons who owned any structure,
including an industrial building, commercial building, school, condominium, apartment house,
home, garage or other type of structure located in the United States or its territories, in which
Johns-Manville PFRI was installed, in whole or in part, on top of a metal roof deck.

Bristow v Fleetwood Enters Litig., No Civ 00-0082-S-EJL (D. Id). Ms. Finegan designed and
implemented a legal notice campaign targeting present and former employees of Fleetwood
Enterprises, Inc., or its subsidiaries who worked as hourly production workers at Fleetwood’s
housing, travel trailer, or motor home manufacturing plants. The comprehensive notice
campaign included print, radio and television advertising.

In re: New Orleans Tank Car Leakage Fire Litig., No 87-16374 (Civil Dist. Ct., Parish of Orleans,
LA) (2000). This case resulted in one of the largest settlements in U.S. history. This campaign
consisted of a media relations and paid advertising program to notify individuals of their rights
under the terms of the settlement.

Garria Spencer v. Shell Oil Co., No. CV 94-074(Dist. Ct., Harris County, Tex.). The nationwide
notification program was designed to reach individuals who owned real property or structures
in the United States, which contained polybutylene plumbing with acetyl insert or metal insert
fittings.

In re: Hurd Millwork Heat Mirror™ Litig., No. CV-772488 (Sup. Ct. of Cal., County of Santa
Clara). This nationwide multi-media notice program was designed to reach class members with
failed heat mirror seals on windows and doors, and alert them as to the actions that they
needed to take to receive enhanced warranties or window and door replacement.

Laborers Dist. Counsel of Alabama Health and Welfare Fund v. Clinical Lab. Servs., Inc, No.
CV–97-C-629-W (N.D. Ala.). Ms. Finegan designed and developed a national media and Internet


Jeanne C. Finegan, APR CV                                                                     15
site notification program in connection with the settlement of a nationwide class action
concerning alleged billing discrepancies for clinical laboratory testing services.

In re: StarLink Corn Prods. Liab. Litig., No. 01-C-1181 (N.D. Ill).. Ms. Finegan designed and
implemented a nationwide notification program designed to alert potential class members of
the terms of the settlement.

In re: MCI Non-Subscriber Rate Payers Litig., MDL Docket No. 1275, 3:99-cv-01275 (S.D.Ill.).
The advertising and media notice program, found to be “more than adequate” by the Court,
was designed with the understanding that the litigation affected all persons or entities who
were customers of record for telephone lines presubscribed to MCI/World Com, and were
charged the higher non-subscriber rates and surcharges for direct-dialed long distance calls
placed on those lines. www.rateclaims.com.

In re: Albertson’s Back Pay Litig., No. 97-0159-S-BLW (D.Id.). Ms. Finegan designed and
developed a secure Internet site, where claimants could seek case information confidentially.

In re: Georgia Pacific Hardboard Siding Recovering Program, No. CV-95-3330-RG (Cir. Ct.,
Mobile County, Ala.). Ms. Finegan designed and implemented a multi-media legal notice
program, which was designed to reach class members with failed G-P siding and alert them of
the pending matter. Notice was provided through advertisements, which aired on national
cable networks, magazines of nationwide distribution, local newspaper, press releases and
trade magazines.

In re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., Nos. 1203,
99-20593. Ms. Finegan worked as a consultant to the National Diet Drug Settlement
Committee on notification issues. The resulting notice program was described and
complimented at length in the Court’s Memorandum and Pretrial Order 1415, approving the
settlement,

In re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 2000 WL
1222042, Nos. 1203, 99-20593 (E.D.Pa. Aug. 28, 2002).

Ms. Finegan designed the Notice programs for multiple state antitrust cases filed against the
Microsoft Corporation. In those cases, it was generally alleged that Microsoft unlawfully used
anticompetitive means to maintain a monopoly in markets for certain software, and that as a
result, it overcharged consumers who licensed its MS-DOS, Windows, Word, Excel and Office
software. The multiple legal notice programs designed by Jeanne Finegan and listed below
targeted both individual users and business users of this software. The scientifically designed
notice programs took into consideration both media usage habits and demographic
characteristics of the targeted class members.

In re: Florida Microsoft Antitrust Litig. Settlement, No. 99-27340 CA 11 (11th Judicial Dist.
Ct. of Miami-Dade County, Fla.).


Jeanne C. Finegan, APR CV                                                                       16
In re: Montana Microsoft Antitrust Litig. Settlement, No. DCV 2000 219 (First Judicial Dist. Ct.,
Lewis & Clark Co., Mt.).

In re: South Dakota Microsoft Antitrust Litig. Settlement, No. 00-235(Sixth Judicial Cir., County
of Hughes, S.D.).

In re: Kansas Microsoft Antitrust Litig. Settlement, No. 99C17089 Division No. 15 Consolidated
Cases (Dist. Ct., Johnson County, Kan.) (“The Class Notice provided was the best notice
practicable under the circumstances and fully complied in all respects with the requirements of
due process and of the Kansas State. Annot. §60-22.3.”).

In re: North Carolina Microsoft Antitrust Litig. Settlement, No. 00-CvS-4073 (Wake) 00-CvS-
1246 (Lincoln) (General Court of Justice Sup. Ct., Wake and Lincoln Counties, N.C.).

In re: ABS II Pipes Litig., No. 3126 (Sup. Ct. of Cal., Contra Costa County). The Court approved
regional notification program designed to alert those individuals who owned structures with
the pipe that they were eligible to recover the cost of replacing the pipe.

In re: Avenue A Inc. Internet Privacy Litig., No: C00-1964C (W.D. Wash.).

In re: Lorazepam and Clorazepate Antitrust Litig., No. 1290 (TFH) (D.C.C.).

In re: Providian Fin. Corp. ERISA Litig., No C-01-5027 (N.D. Cal.).

In re: H & R Block., et al Tax Refund Litig., No. 97195023/CC4111 (MD Cir. Ct., Baltimore City).

In re: American Premier Underwriters, Inc, U.S. Railroad Vest Corp., No. 06C01-9912 (Cir. Ct.,
Boone County, Ind.).

In re: Sprint Corp. Optical Fiber Litig., No: 9907 CV 284 (Dist. Ct., Leavenworth County, Kan).

In re: Shelter Mutual Ins. Co. Litig., No. CJ-2002-263 (Dist.Ct., Canadian County. Ok).

In re: Conseco, Inc. Sec. Litig., No: IP-00-0585-C Y/S CA (S.D. Ind.).

In re: Nat’l Treasury Employees Union, et al., 54 Fed. Cl. 791 (2002).

In re: City of Miami Parking Litig., Nos. 99-21456 CA-10, 99-23765 – CA-10 (11th Judicial Dist.
Ct. of Miami-Dade County, Fla.).

In re: Prime Co. Incorporated D/B/A/ Prime Co. Personal Comm., No. L 1:01CV658 (E.D. Tx.).

Alsea Veneer v. State of Oregon A.A., No. 88C-11289-88C-11300.


Jeanne C. Finegan, APR CV                                                                         17
                                  INTERNATIONAL EXPERIENCE

Bell v. Canadian Imperial Bank of Commerce, et al, Court File No.: CV-08-359335 (Ontario
Superior Court of Justice); (2016).

In re: Canadian Air Cargo Shipping Class Actions (Ontario Superior Court of Justice, Court File
No. 50389CP, Supreme Court of British Columbia.

In re: Canadian Air Cargo Shipping Class Actions Québec Superior Court).

Fischer v. IG Investment Management LTD., No. 06-CV-307599CP (Ontario Superior Court of
Justice).

In Re Nortel I & II Securities Litigation, Civil Action No. 01-CV-1855 (RMB), Master File No. 05
MD 1659 (LAP) (S.D.N.Y. 2006).

Frohlinger v. Nortel Networks Corporation et al., Court File No.: 02-CL-4605 (Ontario Superior
Court of Justice).

Association de Protection des Épargnants et Investissuers du Québec v. Corporation Nortel
Networks, No.: 500-XX-XXXXXXX-017 (Superior Court of Québec).

Jeffery v. Nortel Networks Corporation et al., Court File No.: S015159 (Supreme Court of British
Columbia).

Gallardi v. Nortel Networks Corporation, No. 05-CV-285606CP (Ontario Superior Court).

Skarstedt v. Corporation Nortel Networks, No. 500-06-000277-059 (Superior Court of Québec).



                        SEC ENFORCEMENT NOTICE PROGRAM EXPERIENCE

SEC v. Vivendi Universal, S.A., et al., Case No. 02 Civ. 5571 (RJH) (HBP) (S.D.N.Y.).
The Notice program included publication in 11 different countries and eight different
languages.

SEC v. Royal Dutch Petroleum Company, No.04-3359 (S.D. Tex.)




Jeanne C. Finegan, APR CV                                                                          18
                    FEDERAL TRADE COMMISSION NOTICE PROGRAM EXPERIENCE

FTC v. TracFone Wireless, Inc., Case No. 15-cv-00392-EMC.

FTC v. Skechers U.S.A., Inc., No. 1:12-cv-01214-JG (N.D. Ohio).

FTC v. Reebok International Ltd., No. 11-cv-02046 (N.D. Ohio)

FTC v. Chanery and RTC Research and Development LLC [Nutraquest], No :05-cv-03460 (D.N.J.)

                                   BANKRUPTCY EXPERIENCE

      Ms. Finegan has designed and implemented hundreds of domestic and international
bankruptcy notice programs. A sample case list includes the following:

In re AMR Corporation [American Airlines], et al., No. 11-15463 (SHL) (Bankr. S.D.N.Y.) ("due
and proper notice [was] provided, and … no other or further notice need be provided.")

In re Jackson Hewitt Tax Service Inc., et al., No 11-11587 (Bankr. D.Del.) (2011). The debtors
sought to provide notice of their filing as well as the hearing to approve their disclosure
statement and confirm their plan to a large group of current and former customers, many of
whom current and viable addresses promised to be a difficult (if not impossible) and costly
undertaking. The court approved a publication notice program designed and implemented by
Finegan and the administrator, that included more than 350 local newspaper and television
websites, two national online networks (24/7 Real Media, Inc. and Microsoft Media Network), a
website notice linked to a press release and notice on eight major websites, including CNN and
Yahoo. These online efforts supplemented the print publication and direct-mail notice provided
to known claimants and their attorneys, as well as to the state attorneys general of all 50
states. The Jackson Hewitt notice program constituted one of the first large chapter 11 cases to
incorporate online advertising.

In re: Nutraquest Inc., No. 03-44147 (Bankr. D.N.J.)

In re: General Motors Corp. et al, No. 09-50026 (Bankr. S.D.N.Y.). This case is the 4th largest
bankruptcy in U.S. history. Ms. Finegan and her team worked with General Motors
restructuring attorneys to design and implement the legal notice program.

In re: ACandS, Inc., No. 0212687 (Bankr. D.Del.) (2007) (“Adequate notice of the Motion and of
the hearing on the Motion was given.”).

In re: United Airlines, No. 02-B-48191 (Bankr. N.D Ill.). Ms. Finegan worked with United and its
restructuring attorneys to design and implement global legal notice programs. The notice was
published in 11 countries and translated into 6 languages. Ms. Finegan worked closely with



Jeanne C. Finegan, APR CV                                                                    19
legal counsel and UAL’s advertising team to select the appropriate media and to negotiate the
most favorable advertising rates. www.pd-ual.com.

In re: Enron, No. 01-16034 (Bankr. S.D.N.Y.). Ms. Finegan worked with Enron and its
restructuring attorneys to publish various legal notices.

In re: Dow Corning, No. 95-20512 (Bankr. E.D. Mich.). Ms. Finegan originally designed the
information website. This Internet site is a major information hub that has various forms in 15
languages.

In re: Harnischfeger Inds., No. 99-2171 (RJW) Jointly Administered (Bankr. D. Del.). Ms. Finegan
designed and implemented 6 domestic and international notice programs for this case. The
notice was translated into 14 different languages and published in 16 countries.

In re: Keene Corp., No. 93B 46090 (SMB), (Bankr. E.D. MO.). Ms. Finegan designed and
implemented multiple domestic bankruptcy notice programs including notice on the plan of
reorganization directed to all creditors and all Class 4 asbestos-related claimants and counsel.

In re: Lamonts, No. 00-00045 (Bankr. W.D. Wash.). Ms. Finegan designed an implemented
multiple bankruptcy notice programs.

In re: Monet Group Holdings, Nos. 00-1936 (MFW) (Bankr. D. Del.). Ms. Finegan designed and
implemented a bar date notice.

In re: Laclede Steel Co., No. 98-53121-399 (Bankr. E.D. MO.). Ms. Finegan designed and
implemented multiple bankruptcy notice programs.

In re: Columbia Gas Transmission Corp., No. 91-804 (Bankr. S.D.N.Y.). Ms. Finegan developed
multiple nationwide legal notice notification programs for this case.

In re: U.S.H. Corp. of New York, et al. (Bankr. S.D.N.Y). Ms. Finegan designed and implemented
a bar date advertising notification campaign.

In re: Best Prods. Co., Inc., No. 96-35267-T, (Bankr. E.D. Va.). Ms. Finegan implemented a
national legal notice program that included multiple advertising campaigns for notice of sale,
bar date, disclosure and plan confirmation.

In re: Lodgian, Inc., et al., No. 16345 (BRL) Factory Card Outlet – 99-685 (JCA), 99-686 (JCA)
(Bankr. S.D.N.Y).

In re: Internat’l Total Servs, Inc., et al., Nos. 01-21812, 01-21818, 01-21820, 01-21882, 01-
21824, 01-21826, 01-21827 (CD) Under Case No: 01-21812 (Bankr. E.D.N.Y).

In re: Decora Inds., Inc. and Decora, Incorp., Nos. 00-4459 and 00-4460 (JJF) (Bankr. D. Del.).


Jeanne C. Finegan, APR CV                                                                         20
In re: Genesis Health Ventures, Inc., et al, No. 002692 (PJW) (Bankr. D. Del.).

In re: Tel. Warehouse, Inc., et al, No. 00-2105 through 00-2110 (MFW) (Bankr. D. Del.).

In re: United Cos. Fin. Corp., et al, No. 99-450 (MFW) through 99-461 (MFW) (Bankr. D. Del.).

In re: Caldor, Inc. New York, The Caldor Corp., Caldor, Inc. CT, et al., No. 95-B44080 (JLG)
(Bankr. S.D.N.Y).

In re: Physicians Health Corp., et al., No. 00-4482 (MFW) (Bankr. D. Del.).

In re: GC Cos., et al., Nos. 00-3897 through 00-3927 (MFW) (Bankr. D. Del.).

In re: Heilig-Meyers Co., et al., Nos. 00-34533 through 00-34538 (Bankr. E.D. Va.).


                            PRODUCT RECALL AND CRISIS COMMUNICATION EXPERIENCE

Reser’s Fine Foods. Reser’s is a nationally distributed brand and manufacturer of food products
through giants such as Albertsons, Costco, Food Lion, WinnDixie, Ingles, Safeway and Walmart.
Ms. Finegan designed an enterprise-wide crisis communication plan that included
communications objectives, crisis team roles and responsibilities, crisis response procedures,
regulatory protocols, definitions of incidents that require various levels of notice, target
audiences, and threat assessment protocols. Ms. Finegan worked with the company through
two nationwide, high profile recalls, conducting extensive media relations efforts.

Gulf Coast Claims Facility Notice Campaign. Finegan coordinated a massive outreach effort
throughout the Gulf Coast region to notify those who have claims as a result of damages caused
by the Deep Water Horizon Oil spill. The notice campaign included extensive advertising in
newspapers throughout the region, Internet notice through local newspaper, television and
radio websites and media relations. The Gulf Coast Claims Facility (GCCF) was an independent
claims facility, funded by BP, for the resolution of claims by individuals and businesses for
damages incurred as a result of the oil discharges due to the Deepwater Horizon incident on
April 20, 2010.

City of New Orleans Tax Revisions, Post-Hurricane Katrina. In 2007, the City of New Orleans
revised property tax assessments for property owners. As part of this process, it received
numerous appeals to the assessments. An administration firm served as liaison between the
city and property owners, coordinating the hearing schedule and providing important
information to property owners on the status of their appeal. Central to this effort was the
comprehensive outreach program designed by Ms. Finegan, which included a website and a
heavy schedule of television, radio and newspaper advertising, along with the coordination of
key news interviews about the project picked up by local media.


Jeanne C. Finegan, APR CV                                                                       21
                                            ARTICLES

Author, “Creating a Class Notice Program that Satisfies Due Process” Law360, New York,
(February 13, 2018 12:58 PM ET).

Author, “3 Considerations for Class Action Notice Brand Safety” Law360, New York, (October 2,
2017 12:24 PM ET).

Author, “What Would Class Action Reform Mean for Notice?” Law360, New York, (April 13,
2017 11:50 AM ET).

Author, “Bots Can Silently Steal your Due Process Notice.” Wisconsin Law Journal, April 2017.

Author, “Don’t Turn a Blind Eye to Bots. Ad Fraud and Bots are a Reality of the Digital
Environment.” LinkedIn article March 6, 2107.

Co-Author, “Modern Notice Requirements Through the Lens of Eisen and Mullane” –
Bloomberg - BNA Class Action Litigation Report, 17 CLASS 1077, (October 14, 2016).

Author, “Think All Internet Impressions Are The Same? Think Again” – Law360.com, New York
(March 16, 2016, 3:39 ET).

Author, “Why Class Members Should See An Online Ad More Than Once” – Law360.com, New
York, (December 3, 2015, 2:52 PM ET).

Author, ‘Being 'Media-Relevant' — What It Means And Why It Matters - Law360.com, New York
(September 11, 2013, 2:50 PM ET).

Co-Author, “New Media Creates New Expectations for Bankruptcy Notice Programs,” ABI
Journal, Vol. XXX, No 9, (November 2011).

Quoted Expert, “Effective Class Action Notice Promotes Access to Justice: Insight from a New
U.S. Federal Judicial Center Checklist,” Canadian Supreme Court Law Review, (2011), 53 S.C.L.R.
(2d).

Co-Author, with Hon. Dickran Tevrizian – “Expert Opinion: It’s More Than Just a Report…Why
Qualified Legal Experts Are Needed to Navigate the Changing Media Landscape,” BNA Class
Action Litigation Report, 12 CLASS 464, May 27, 2011.

Co-Author, with Hon. Dickran Tevrizian, Your Insight, "Expert Opinion: It's More Than Just a
Report -Why Qualified Legal Experts Are Needed to Navigate the Changing Media Landscape,"
TXLR, Vol. 26, No. 21, May 26, 2011.



Jeanne C. Finegan, APR CV                                                                   22
Quoted Expert, “Analysis of the FJC’s 2010 Judges’ Class Action Notice and Claims Process
Checklist and Guide: A New Roadmap to Adequate Notice and Beyond,” BNA Class Action
Litigation Report, 12 CLASS 165, February 25, 2011.

Author, Five Key Considerations for a Successful International Notice Program, BNA Class Action
Litigation Report, April, 9, 2010 Vol. 11, No. 7 p. 343.

Quoted Expert, “Communication Technology Trends Pose Novel Notification Issues for Class
Litigators,” BNA Electronic Commerce and Law, 15 ECLR 109 January 27, 2010.

Author, “Legal Notice: R U ready 2 adapt?” BNA Class Action Report, Vol. 10 Class 702, July 24,
2009.

Author, “On Demand Media Could Change the Future of Best Practicable Notice,” BNA Class
Action Litigation Report, Vol. 9, No. 7, April 11, 2008, pp. 307-310.

Quoted Expert, “Warranty Conference: Globalization of Warranty and Legal Aspects of
Extended Warranty,” Warranty Week, warrantyweek.com/archive/ww20070228.html/
February 28, 2007.

Co-Author, “Approaches to Notice in State Court Class Actions,” For The Defense, Vol. 45, No.
11, November, 2003.

Citation, “Recall Effectiveness Research: A Review and Summary of the Literature on Consumer
Motivation and Behavior,” U.S. Consumer Product Safety Commission, CPSC-F-02-1391, p.10,
Heiden Associates, July 2003.

Author, “The Web Offers Near, Real-Time Cost Efficient Notice,” American Bankruptcy Institute,
ABI Journal, Vol. XXII, No. 5., 2003.

Author, “Determining Adequate Notice in Rule 23 Actions,” For The Defense, Vol. 44, No. 9
September, 2002.

Author, “Legal Notice, What You Need To Know and Why,” Monograph, July 2002.

Co-Author, “The Electronic Nature of Legal Noticing,” The American Bankruptcy Institute
Journal, Vol. XXI, No. 3, April 2002.

Author, “Three Important Mantras for CEO’s and Risk Managers,” - International Risk
Management Institute, irmi.com, January 2002.

Co-Author, “Used the Bat Signal Lately,” The National Law Journal, Special Litigation Section,
February 19, 2001.



Jeanne C. Finegan, APR CV                                                                   23
Author, “How Much is Enough Notice,” Dispute Resolution Alert, Vol. 1, No. 6. March 2001.

Author, “Monitoring the Internet Buzz,” The Risk Report, Vol. XXIII, No. 5, Jan. 2001.

Author, “High-Profile Product Recalls Need More Than the Bat Signal,” - International Risk
Management Institute, irmi.com, July 2001.

Co-Author, “Do You Know What 100 Million People are Buzzing About Today?” Risk and
Insurance Management, March 2001.

Quoted Article, “Keep Up with Class Action,” Kentucky Courier Journal, March 13, 2000.

Author, “The Great Debate - How Much is Enough Legal Notice?” American Bar Association –
Class Actions and Derivatives Suits Newsletter, winter edition 1999.

                            SPEAKER/EXPERT PANELIST/PRESENTER

American Bar Assn.            Faculty Panelist, 4th Annual Western Regional CLE Class Actions,
                              “Big Brother, Information Privacy, and Class Actions: How Big Data
                              and Social Media are Changing the Class Action Landscape” San
                              Francisco, CA June, 2017.

Miami Law Class Action     Faculty Panelist, “ Settlement and Resolution of Class Actions,”
& Complex Litigation Forum Miami, FL December 2, 2016.

The Knowledge Group           Faculty Panelist, “Class Action Settlements: Hot Topics 2016 and
                              Beyond,” Live Webcast, www.theknowledgegroup.org, October
                              2016.

ABA National Symposium        Faculty Panelist, “Ethical Considerations in Settling Class Actions,”
                              New Orleans, LA, March 2016.

S.F. Banking Attorney Assn. Speaker, “How a Class Action Notice can Make or Break your
                            Client’s Settlement,” San Francisco, CA, May 2015.

Perrin Class Action Conf.     Faculty Panelist, “Being Media Relevant, What It Means and Why
                              It Matters – The Social Media Evolution: Trends, Challenges and
                              Opportunities,” Chicago, IL May 2015.

Bridgeport Continuing Ed.     Speaker, Webinar “Media Relevant in the Class Notice Context.”
                              July, 2014.

Bridgeport Continuing Ed.     Faculty Panelist, “Media Relevant in the Class Notice Context.”
                              Los Angeles, California, April 2014.


Jeanne C. Finegan, APR CV                                                                       24
CASD 5th Annual             Speaker, “The Impact of Social Media on Class Action Notice.”
                            Consumer Attorneys of San Diego Class Action Symposium, San
                            Diego, California, September 2012.

Law Seminars International Speaker, “Class Action Notice: Rules and Statutes Governing FRCP
                           (b)(3) Best Practicable… What constitutes a best practicable
                           notice? What practitioners and courts should expect in the new
                           era of online and social media.” Chicago, IL, October 2011.
                           *Voted by attendees as one of the best presentations given.

CASD 4th Annual             Faculty Panelist, “Reasonable Notice - Insight for practitioners on
                            the FJC’s Judges’ Class Action Notice and Claims Process Checklist
                            and Plain Language Guide. Consumer Attorneys of San Diego Class
                            Action Symposium, San Diego, California, October 2011.

CLE International           Faculty Panelist, Building a Workable Settlement Structure, CLE
                            International, San Francisco, California May, 2011.

CASD                        Faculty Panelist, “21st Century Class Notice and Outreach.” 3nd
                            Annual Class Action Symposium CASD Symposium, San Diego,
                            California, October 2010.

CASD                        Faculty Panelist, “The Future of Notice.” 2nd Annual Class Action
                            Symposium CASD Symposium, San Diego California, October 2009.

American Bar Association    Speaker, 2008 Annual Meeting, “Practical Advice for Class Action
                            Settlements: The Future of Notice In the United States and
                            Internationally – Meeting the Best Practicable Standard.”
                            Section of Business Law Business and Corporate Litigation
                            Committee – Class and Derivative Actions Subcommittee, New
                            York, NY, August 2008.

Women Lawyers Assn.         Faculty Panelist, Women Lawyers Association of Los Angeles
                            “The Anatomy of a Class Action.” Los Angeles, CA, February, 2008.

Warranty Chain Mgmt.        Faculty Panelist, Presentation Product Recall Simulation. Tampa,
                            Florida, March 2007.

Practicing Law Institute.   Faculty Panelist, CLE Presentation, 11th Annual Consumer
                            Financial Services Litigation. Presentation: Class Action Settlement
                            Structures – Evolving Notice Standards in the Internet Age. New
                            York/Boston (simulcast), NY March 2006; Chicago, IL April 2006
                            and San Francisco, CA, May 2006.


Jeanne C. Finegan, APR CV                                                                    25
U.S. Consumer Product       Ms. Finegan participated as an invited expert panelist to the CPSC
Safety Commission           to discuss ways in which the CPSC could enhance and measure the
                            recall process. As a panelist, Ms Finegan discussed how the CPSC
                            could better motivate consumers to take action on recalls and
                            how companies could scientifically measure and defend their
                            outreach efforts. Bethesda, MD, September 2003.

Weil, Gotshal & Manges      Presenter, CLE presentation, “A Scientific Approach to Legal Notice
                            Communication.” New York, June 2003.

Sidley & Austin             Presenter, CLE presentation, “A Scientific Approach to Legal
                            Notice Communication.” Los Angeles, May 2003.

Kirkland & Ellis            Speaker to restructuring group addressing “The Best Practicable
                            Methods to Give Notice in a Tort Bankruptcy.” Chicago, April
                            2002.

Georgetown University Law Faculty, CLE White Paper: “What are the best practicable methods
                          to Center Mass Tort Litigation give notice? Dispelling the
                          communications myth – A notice Institute disseminated is a
                          notice communicated,” Mass Tort Litigation Institute. Washington
                          D.C., November, 2001.

American Bar Association    Presenter, “How to Bullet-Proof Notice Programs and What
                            Communication Barriers Present Due Process Concerns in Legal
                            Notice,” ABA Litigation Section Committee on Class Actions &
                            Derivative Suits. Chicago, IL, August 6, 2001.

McCutchin, Doyle, Brown     Speaker to litigation group in San Francisco and simulcast to four
                            other McCutchin locations, addressing the definition of effective
                            notice and barriers to communication that affect due process in
                            legal notice. San Francisco, CA, June 2001.

Marylhurst University       Guest lecturer on public relations research methods. Portland,
                            OR, February 2001.

University of Oregon        Guest speaker to MBA candidates on quantitative and qualitative
                            research for marketing and communications programs. Portland,
                            OR, May 2001.

Judicial Arbitration &      Speaker on the definition of effective notice. San Francisco and Los
Mediation Services (JAMS)   Angeles, CA, June 2000.



Jeanne C. Finegan, APR CV                                                                   26
International Risk           Past Expert Commentator on Crisis and Litigation Communications.
Management Institute         www.irmi.com.

The American Bankruptcy      Past Contributing Editor – Beyond the Quill. www.abi.org.
Institute Journal (ABI)

                                            BACKGROUND

        Ms Finegan’s past experience includes working in senior management for leading Class
Action Administration firms including The Garden City Group (“GCG”) and Poorman-Douglas
Corp., (“EPIQ”). Ms. Finegan co-founded Huntington Advertising, a nationally recognized leader
in legal notice communications. After Fleet Bank purchased her firm in 1997, she grew the
company into one of the nation’s leading legal notice communication agencies.

        Prior to that, Ms. Finegan spearheaded Huntington Communications, (an Internet
development company) and The Huntington Group, Inc., (a public relations firm). As a partner
and consultant, she has worked on a wide variety of client marketing, research, advertising,
public relations and Internet programs. During her tenure at the Huntington Group, client
projects included advertising (media planning and buying), shareholder meetings, direct mail,
public relations (planning, financial communications) and community outreach programs. Her
past client list includes large public and privately held companies: Code-A-Phone Corp., Thrifty-
Payless Drug Stores, Hyster-Yale, The Portland Winter Hawks Hockey Team, U.S. National Bank,
U.S. Trust Company, Morley Capital Management, and Durametal Corporation.

        Prior to Huntington Advertising, Ms. Finegan worked as a consultant and public relations
specialist for a West Coast-based Management and Public Relations Consulting firm.

        Additionally, Ms. Finegan has experience in news and public affairs. Her professional
background includes being a reporter, anchor and public affairs director for KWJJ/KJIB radio in
Portland, Oregon, as well as reporter covering state government for KBZY radio in Salem,
Oregon. Ms. Finegan worked as an assistant television program/promotion manager for KPDX
directing $50 million in programming. She was also the program/promotion manager at KECH-
22 television.

        Ms. Finegan's multi-level communication background gives her a thorough, hands-on
understanding of media, the communication process, and how it relates to creating effective
and efficient legal notice campaigns.




Jeanne C. Finegan, APR CV                                                                     27
                            MEMBERSHIPS, PROFESSIONAL CREDENTIALS

APR     The Universal Board of Accreditation Public Relations Society of America – Accredited.
                  • Member of the Public Relations Society of America
                  • Member Canadian Public Relations Society


                                         SOCIAL MEDIA

LinkedIn: www.linkedin.com/in/jeanne-finegan-apr-7112341b




Jeanne C. Finegan, APR CV                                                                    28
Exhibit 8
  If you purchased New Balance “Made in USA” Shoes your rights
        may be affected by a proposed class action settlement.
A proposed class action settlement has been reached involving New Balance “Made in USA”
Shoes.
ARE YOU AFFECTED?
You may be a Class Member if you purchased the “Made in USA” Shoes listed below from New
Balance and/or its authorized retailers from December 27, 2012 until [DATE].
                                    “MADE IN USA” SHOES

                             ELIGIBLE NEW BALANCE SHOE MODELS
                                 601                     ML996
                               M1140                     ML997
                               M1290                     MR1105
                               M1300                     MR993
                               M1400                     MW812
                               M1540                      PM15
                               M1700                      PM16
                               M2040                     US574
                               M3040                     US576
                                M498                     US990
                                M574                     US993
                                M585                     US998
                                M587                     W1140
                                M770                     W1290
                                M990                     W1400
                                M991                     W1540
                                M995                     W3040
                                M996                      W498
                                M997                      W587
                               M9975                      W990
                                M998                      W998
                               MK706                     WK706
                               ML1300                    WR993
                               ML1978                    WW812




WHAT IS THIS CASE ABOUT?
The lawsuit claims that New Balance violated certain state laws regarding the marketing and sale
of its “Made in USA” Shoes. New Balance denies it did anything wrong. The Court did not
decide which side was right. Instead, the parties have decided to settle.
WHAT DOES THIS SETTLEMENT PROVIDE?
A settlement fund of $750,000 has been set up to pay (i) claims to eligible Class Members, (ii)
the costs of settlement notice and administration, and (iii) service awards to the named plaintiffs.
New Balance is also agreeing to engage in certain notice practices and separately pay attorneys’
fees and costs. Full details about the Settlement are on the website below.
HOW DO YOU ASK FOR A PAYMENT?
To get money, eligible Class Members must submit a Claim Form online no later than [DATE]
or postmarked no later than [DATE]. Payments could be up to $10 for each pair of “Made in
USA” Shoes purchased, up to a maximum of five pairs, but the precise amount may be less
depending upon the number of claims submitted by all Class Members and the amount of the
fees, costs, and payments specified in the Settlement Agreement.
WHAT ARE YOUR OPTIONS?
If you are a Class Member, you may (1) do nothing; (2) exclude yourself; (3) send in a Claim
Form; and/or (4) object to the settlement. If you don’t want to be bound by the settlement, you
must exclude yourself by letter postmarked by [DATE]. If you exclude yourself, you can’t get a
payment, but you preserve the right to sue New Balance for these claims. If you stay in the Class,
you may submit a Claim Form and/or object to the settlement. Claim Forms must be submitted
by [DATE]. Objections must be mailed to the Claims Administrator, postmarked by [DATE] and
filed with the Court by [DATE].


PLEASE SEE THE DETAILED NOTICE
at [WEBSITE] or call [TOLL FREE NUMBER] for complete instructions on how to file a claim,
object, or exclude yourself and other important information. It is important that you review these
instructions carefully, as failure to follow them may result in a denial of your claim, request for
exclusion, or objection. The Court will hold a hearing in this case on [DATE] at [TIME] in the
Edward J. Schwartz Federal Courthouse, Courtroom 5B, located at 221 West Broadway, San
Diego, California 92101, to consider final approval of the settlement, payment of attorneys’ fees
and expenses of up to $650,000 to lawyers for the Class (Schneider Wallace Cottrell Konecky
Wotkyns LLP and The Wand Law Firm, P.C.), and payments of up to $5,000 for each of the
three named plaintiffs, and related issues. The motion(s) by Class Counsel for those fees, costs
and service awards will be available on the Settlement website after they are filed, and no later
than 14 days before the objection/exclusion deadline. The Court has appointed Jason H. Kim of
Schneider Wallace Cottrell Konecky Wotkyns LLP and Aubry Wand of The Wand Law Firm,
P.C. to represent the Class. You may appear at the hearing, but you don’t have to.
HOW CAN YOU GET MORE INFORMATION?
Visit [WEBSITE] or call [TOLL FREE NUMBER], or write to Dashnaw v. New Balance
Athletics, Inc., c/o [PO BOX ADDRESS]. Or visit us on Facebook at [FACEBOOK
SETTLEMENT PAGE].
Exhibit 9
 1   THE WAND LAW FIRM
     Aubry Wand (SBN 281207)
 2   400 Corporate Pointe, Suite 300
 3   Culver City, California 90230
     Telephone: (310) 590-4503
 4   Facsimile: (310) 590-4596
 5   E-mail: awand@wandlawfirm.com

 6   SCHNEIDER WALLACE COTTRELL
 7   KONECKY & WOTKYNS LLP
     Todd M. Schneider (SBN 158253)
 8   Jason H. Kim (SBN 220279)
 9   2000 Powell Street, Suite 1400
     Emeryville, California 94608
10   Telephone: (415) 421-7100
11   Facsimile: (415) 421-7105
     E-mail:
12   tschneider@schneiderwallace.com
13           jkim@schneiderwallace.com

14   Attorneys for Plaintiffs
15
16                        UNITED STATES DISTRICT COURT

17                     SOUTHERN DISTRICT OF CALIFORNIA

18 SHEILA DASHNAW, WILLIAM
19 MEIER, and SHERRYL JONES,
   individually, and on behalf of all others
20
   similarly situated,                         Case No. 3:17-cv-00159-L-JLB
21
22       Plaintiffs,                           CONFIDENTIALITY
         v.                                    AGREEMENT FOR DISCOVERY
23
   NEW BALANCE ATHLETICS, INC., a              MATERIALS MADE AVAILABLE
24 corporation; and DOES 1 through 50,         TO CLASS MEMBERS
25 inclusive,
                                               Judge: Hon. M. James Lorenz
26
           Defendants.                         Courtroom: 5B
27
28
1          Pursuant to the Settlement Agreement and all of its exhibits, which are
2    incorporated herein by reference, including, but not limited to, this Confidentiality
3    Agreement for Discovery Materials Made Available to Class Members
4    (“Confidentiality Agreement”), it is hereby stipulated and agreed, by and between the
5    undersigned, as follows:
6              1. Pursuant and subject to the Court’s Order, New Balance will provide the
7    undersigned Class Member(s) and/or counsel retained at those Class Member(s)’
8    expense and/or certain other persons identified in Paragraph 6 (below) with access to
9    documents New Balance disclosed to Class Counsel in the course of discovery in this
10   Action.
11             2. The following documents and materials to be reviewed pursuant to this
12   Confidentiality   Agreement      shall   be       deemed   “Confidential   Information.”
13   “Confidential Information” shall be limited to:
14                     (a)      sales and accounting records relating to the “Made in USA”
15                     Shoes;
16                     (b)      marketing, advertising, media and public relations materials
17                     relating to the “Made in USA” Shoes;
18                     (c)      intercompany and intracompany communications relating
19                     to the information above; and
20                     (d)      related information and materials.
21   In addition, any and all notes, memoranda, or dictation that copies, reproduces,
22   reflects, incorporates, or otherwise refers to the Confidential Information made by any
23   person afforded access to Confidential Information pursuant to this Confidentiality
24   Agreement shall be treated as, and deemed to be, Confidential Information as well.
25             3. All Confidential Information to which the undersigned and/or certain
26   other persons identified in Paragraph 6 (below) are given access is subject to this
27   Confidentiality Agreement, and such Confidential Information shall not be used or
28   disclosed to anyone or in any manner, except as provided herein.
                                                   1
1              4. The undersigned and/or certain other persons identified in Paragraph 6
2    (below) specifically certify(ies) that he/she/they shall use the Confidential
3    Information solely for purposes of evaluating the fairness, reasonableness, and
4    adequacy of the proposed settlement in this Action and for no other purpose. In
5    particular and without limitation, Confidential Information provided pursuant to this
6    Confidentiality Agreement shall not be used: (a) in the litigation of this Action, should
7    the Parties not reach a settlement and/or in the Other Actions; (b) in the litigation of
8    this Action, if the Court should fail to approve the proposed settlement for any reason,
9    or if any appellate court should reverse an order of this Court approving the proposed
10   settlement and/or the Other Actions; and/or (c) in any other litigation, arbitration, or
11   other judicial or administrative proceeding, including, without limitation, in the
12   investigation or preparation of any such proceeding, and/or the Other Actions.
13             5. The undersigned and/or certain other persons identified in Paragraph 6
14   (below) may inspect the Confidential Information by prior appointment at a time
15   during regular business hours and at a location designated by Class Counsel.
16   Duplication of documents or materials containing Confidential Information shall not
17   be permitted, except for documents that the undersigned Class Member(s) and/or their
18   counsel represent to the Court that they need to duplicate for the Court in support of
19   a point of objection. The cost of any duplication shall be borne by the requesting Class
20   Member or their counsel. Any such documents shall be filed under seal with the Court,
21   labeled, “Confidential – Subject to Protective Order,” and shall be delivered to the
22   Clerk of the Court in an envelope bearing the notation, “THIS DOCUMENT
23   CONTAINS CONFIDENTIAL INFORMATION SUBMITTED UNDER SEAL
24   PURSUANT TO COURT ORDER.” However, in the course of inspecting the
25   Confidential Information, the undersigned Class Member(s) and/or certain other
26   persons identified in Paragraph 6 (below) shall be permitted to make a reasonable
27   amount of notes reflecting their review of Confidential Information, which shall also
28   be treated as Confidential Information.
                                                  2
1             6. Access to Confidential Information shall be subject to the protective
2    order entered in this case and limited to those persons who are working directly on
3    the Class Member’s behalf, to whom it is necessary that the Confidential Information
4    be disclosed and who are:
5                      (a)     the undersigned Class Member(s);
6                      (b)     their undersigned counsel;
7                      (c)     employees of such counsel assigned to and necessary to
8                      assist such counsel in evaluating the proposed settlement; and
9                      (d)     consultants or experts, to the extent necessary to assist the
10                     undersigned Class Member(s) and/or their counsel in evaluating
11                     the proposed settlement.
12            7. Any person given access to Confidential Information shall be advised,
13   prior to being granted access, of the terms of this Confidentiality Agreement and of
14   the Court’s Protective Order and shall thereby become bound by their terms, including
15   without limitation, the requirement that such Confidential Information may not be
16   disclosed to any person other than those described in Paragraph 6 (above). In addition,
17   access to Confidential Information shall not be provided to any person described in
18   Subparagraphs 6.c or 6.d of this Confidentiality Agreement until and unless such
19   person has executed an undertaking in the form attached hereto as Exhibit A. The
20   individual who provides access to Confidential Information to such person shall retain
21   the executed undertaking and shall provide a copy of it to Designated Class Counsel
22   and to New Balance’s Counsel.
23            8. By providing access to Confidential Information, no party to this Action
24   shall be deemed to have waived any claim that such information is privileged,
25   confidential, or protected from discovery as attorney work product, nor shall any party
26   use this Confidentiality Agreement as an admission or concession that the
27   Confidential Information is relevant, material, responsive, admissible, or otherwise
28   discoverable in any pending or future litigation or judicial or administrative
                                                  3
1    proceeding. The undersigned Class Member(s) and/or certain other persons identified
2    in Paragraph 6 (above) agree that they, or any of them, shall not contend or otherwise
3    take the position in this or in any other pending or future litigation or judicial or
4    administrative proceeding that any party has waived the attorney-client privilege
5    and/or the protection of the attorney work product doctrine, or any other privilege or
6    protective doctrine, with regard to Confidential Information.
7              9. The terms of this Confidentiality Agreement shall survive the
8    termination of this Action and/or the Other Actions. At the earlier of: (a) the
9    conclusion of any or all appeals of the Final Order and/or Final Judgment approving
10   the proposed settlement, or (b) such time as the parties terminate their Settlement
11   Agreement, all persons having received Confidential Information shall either return
12   such material and all copies thereof (including notes and other records containing or
13   reflecting Confidential Information) to New Balance’s Counsel or shall destroy such
14   material. New Balance reserves the right to demand written certification of
15   destruction from any person who has been given access to Confidential Information.
16             10. The terms of this Confidentiality Agreement shall be enforceable by any
17   aggrieved party, including any party to this Action. The undersigned and/or other
18   persons identified in Paragraph 6 (above) agree(s) that, if he/she/they fail to comply
19   with this Confidentiality Agreement, New Balance may suffer irreparable harm that
20   may not be adequately compensated for by monetary damages alone. Any breach of
21   the terms of this Confidentiality Agreement shall give rise to any and all applicable
22   legal and equitable remedies for enforcement of the Confidentiality Agreement and/or
23   relief, including, without limitation, injunctive relief and/or damages, for its breach,
24   in addition to any other remedies available at law.
25             11. Pursuant to the Court's Preliminary Approval Order incorporating this
26   Confidentiality Agreement, any breach of the terms of this Confidentiality Agreement
27   shall constitute a violation of the Court’s Preliminary Approval Order and may result
28   in an order of contempt of Court and/or other sanctions, upon application to the Court
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1    by any party aggrieved by such violation, including any party to this Action. The
2    undersigned and/or certain other persons identified in paragraph 6 below consent to
3    the jurisdiction of the United States District Court for the District of Massachusetts
4    for purposes of interpretation and enforcement of the terms of this Confidentiality
5    Agreement.
6             12. Any dispute over the meaning or interpretation of this Confidentiality
7    Agreement shall be governed by the laws of the State of California, disregarding any
8    conflicts-of-law provisions.
9             13. The undersigned Class Member(s) and/or their counsel agree(s) to notify
10   Class Counsel and New Balance’s Counsel immediately: (a) of any disclosure of
11   Confidential Information in violation of this Confidentiality Agreement and or the
12   Court's Preliminary Approval Order, even if inadvertent; and (b) if any person granted
13   access to the Confidential Information under this Confidentiality Agreement is served
14   with or otherwise receives a subpoena, summons, court order, request, or application
15   requiring disclosure of Confidential Information. In any such instance, the
16   undersigned Class Member(s) and/or their counsel agree(s): (a) not to oppose New
17   Balance’s efforts to prevent the disclosure of the Confidential Information; and (b)
18   not to surrender the Confidential Information to any third party without the consent
19   of New Balance or except by the final order of a court with competent jurisdiction.
20            14. The notice required in Paragraph 13 of this Confidentiality Agreement
21   must be provided by e-mail and overnight delivery service to:
22
              New Balance Athletics, Inc.:
23                    R. David Hosp
24                    FISH & RICHARDSON P.C.
                      1 Marina Park Drive
25                    Boston, Massachusetts 02210
26                    Tel.: 617.542.5070
                      Fax: 617.542.8906
27                    E-Mail: hosp@fr.com
28
                                                5
1              and
2              Erin Michael
3              New Balance Athletics, Inc.
               100 Guest Street
4              Boston, Massachusetts 02135
5              Tel.: 617.779.7408
               E-Mail: erin.michael@newbalance.com
6
7    With a copy to:
8              General Counsel
9              New Balance Athletics, Inc.
               100 Guest Street
10             Boston, Massachusetts 02135
11             Fax: 617.787.9355
12
     Plaintiffs:
13
14
               Jason H. Kim
15             SCHNEIDER WALLACE COTTRELL
               KONECKY & WOTKYNS LLP
16
               2000 Powell Street, Suite 1400
17             Emeryville, California 94608
               Telephone: (415) 421-7100
18
               Facsimile: (415) 421-7105
19             E-Mail: jkim@schneiderwallace.com
20
               and
21
               Aubry Wand
22
               THE WAND LAW FIRM
23             400 Corporate Pointe, Suite 300
               Culver City, California 90230
24
               Telephone: (310) 590-4503
25             Facsimile: (310) 590-4596
               E-Mail: awand@wandlawfirm.com
26
27
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                                    6
 1            15. No waiver by any party hereto of any breach of any term or condition of
 2   this Confidentiality Agreement shall be deemed a waiver of a similar or dissimilar
 3   term or condition.
 4            16. The waiver by one party of any breach of this Confidentiality Agreement
 5   by another party shall not be deemed a waiver of any prior or subsequent breach of
 6   this Confidentiality Agreement.
 7            17. The undersigned certify(ies) and agree(s) that he/she/they: (a) has read,
 8   understands, consents, accepts, and agrees to be bound by the terms of this
 9   Confidentiality Agreement and the Preliminary Approval Order and by the terms of
10   any future Orders of the Court concerning the information he/she shall receive; and
11   (b) shall use the Confidential Information solely for the purposes of evaluating the
12   fairness, reasonableness, and adequacy of the proposed settlement in this Action and
13   for no other purpose.
14            18. This Confidentiality Agreement may be executed in one or more
15   counterparts, each of which shall constitute a duplicate original.
16
17 Dated: ________________
18        COUNSEL, INDIVIDUALLY AND ON BEHALF
19        OF THE CLASS MEMBER(S):
20 ____________________________________ [Signature]
21 ____________________________________ [Print Name]
22 ____________________________________ [Firm Name]
23 ____________________________________ [Print Name of Class Member(s)]
24 ____________________________________ [Address and Telephone Number]
25
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1 THE CLASS MEMBER(S):
2 ____________________________________ [Signature]
3 ____________________________________ [Print Name]
4 ____________________________________ [Address and Telephone Number]
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1                EXHIBIT A TO THE CONFIDENTIALITY AGREEMENT
2          The undersigned hereby certifies that he/she understands, consents and
3    acknowledges that Confidential Information is being provided to him/her pursuant
4    to the terms and restrictions of the Settlement Agreement preliminarily approved by
5    the United States District Court for the Southern District of California (the “Court”)
6    in Sheila Dashnaw et al. v. New Balance Athletics, Inc., Case No. 3:17-cv-00159-L-
7    JLB, and by the Court's Preliminary Approval Order. The undersigned also certifies
8    that he/she has been provided with the Confidentiality Agreement, has read,
9    understands, consents, accepts and agrees to be bound by its terms.
10         The undersigned acknowledges that breach of the Confidentiality Agreement
11   shall be actionable by any aggrieved party, including any party to the
12   aforementioned Action, and that such breach shall subject the undersigned to any
13   and all applicable legal and equitable remedies for enforcement of the Stipulation
14   and/or relief, including damages, for its breach. The undersigned also acknowledges
15   that breach of the Stipulation will violate the Court’s Order and may subject the
16   undersigned to an order of contempt of Court or other sanctions, upon application to
17   the Court by any party aggrieved by such violation, including any party to the
18   aforementioned Action. The undersigned hereby subjects himself/herself to the
19   jurisdiction of the Court for purposes of enforcement of the terms and restrictions of
20   the Stipulation and/or the Preliminary Approval Order.
21
22   Dated:_________________, ______
23   By: _________________________________
24   Print Name: __________________________
25
26
27
28
                                                 9
Exhibit 10
 1   THE WAND LAW FIRM                         SCHNEIDER WALLACE COTTRELL
     Aubry Wand (SBN 281207)                   KONECKY & WOTKYNS LLP
 2   400 Corporate Pointe, Suite 300           Todd M. Schneider (SBN 158253)
 3   Culver City, California 90230             Jason H. Kim (SBN 220279)
     Telephone: (310) 590-4503                 2000 Powell Street, Suite 1400
 4   Facsimile: (310) 590-4596                 Emeryville, California 94608
 5   E-mail: awand@wandlawfirm.com             Telephone: (415) 421-7100
                                               Facsimile: (415) 421-7105
 6                                             E-mail: tschneider@schneiderwallace.com
 7   Attorneys for Plaintiffs                         jkim@schneiderwallace.com
     FISH & RICHARDSON P.C.                    FISH & RICHARDSON P.C.
 8
     R. David Hosp (Pro Hac Vice)              Garrett K. Sakimae (SBN 288453)
 9   Sheryl Garko (Pro Hac Vice)               12390 El Camino Real
     Mark S. Puzella (Pro Hac Vice)            San Diego, California 92130
10
     Laura B. Najemy (Pro Hac Vice)            Telephone: (858) 678-5070
11   1 Marina Park Dr.                         Facsimile: (858) 678-5099
     Boston, MA 02210                          E-mail: sakimae@fr.com
12
     Telephone: (617) 542-5070
13   Facsimile: (617) 542-8906
14   E-mail: hosp@fr.com; garko@fr.com
         puzella@fr.com; najemy@fr.com
15
     Attorneys for Defendant [Additional Counsel listed on last page]
16
17                        UNITED STATES DISTRICT COURT
18                     SOUTHERN DISTRICT OF CALIFORNIA
19 SHEILA DASHNAW, WILLIAM
20 MEIER, and SHERRYL JONES,
   individually, and on behalf of all others
21 similarly situated,                              Case No. 3:17-cv-00159-L-JLB
22
         Plaintiffs,                                STIPULATION OF DISMISSAL
23       v.
24 NEW BALANCE ATHLETICS, INC., a                   Judge: Hon. M. James Lorenz
   corporation; and DOES 1 through 50,
25 inclusive,                                       Courtroom: 5B
26
          Defendants.
27
28
                                                1
                                                                CASE NO. 3:17-CV-00159-L-JLB
1          Pursuant to the Settlement Agreement filed on April 23, 2018 in Sheila
2    Dashnaw et al. v. New Balance Athletics, Inc., Case No. 3:17-cv-00159-L-JLB (S.D.
3    Cal.) (the “Settlement Agreement”), and finally approved by the Court on [DATE],
4    Plaintiffs Sheila Dashnaw, William Meier, and Sherryl Jones (“Plaintiffs”) and
5    Defendant New Balance Athletics, Inc. hereby jointly stipulate to the dismissal of
6    Plaintiffs’ Complaint and above-captioned action in its entirety with prejudice,
7    without costs and fees (except as otherwise provided in the Settlement Agreement),
8    and waiving all rights of appeal.
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                                                              CASE NO. 3:17-CV-00159-L-JLB
     Dated: April   , 2018        Respectfully submitted,
1
2                                 NEW BALANCE ATHLETICS, INC.
3
                                  By its attorneys,
4
5                            By:
6                                  R. David Hosp (Pro Hac Vice)
                                     Massachusetts BBO 634091
7                                  Sheryl Koval Garko (Pro Hac Vice)
8                                    Massachusetts BBO 657735
                                   Mark S. Puzella (Pro Hac Vice)
9                                    Massachusetts BBO 644850
10                                 Laura B. Najemy (Pro Hac Vice)
                                     Massachusetts BBO 678756
11                                 FISH & RICHARDSON P.C.
12                                 One Marina Park Drive
                                   Boston, MA 02210-1878
13                                 Tel: (617) 542-5070
14                                 Fax: (617) 542-8906
                                   hosp@fr.com; garko@fr.com;
15
                                   puzella@fr.com; najemy@fr.com
16
                                   Garrett K. Sakimae
17
                                   FISH & RICHARDSON P.C.
18                                 12390 El Camino Real
                                   San Diego, CA 92130
19
                                   Tel: (858) 678-5070
20                                 Fax: (858) 678-5099
                                   sakimae@fr.com
21
22                                 Elizabeth Brenckman (Pro Hac Vice)
                                     Minnesota State Bar No. 0388871
23
                                   FISH & RICHARDSON P.C.
24                                 601 Lexington Avenue, 52nd Floor
                                   New York, NY 10022
25
                                   Tel: (212) 765-5070
26                                 Fax: (212) 258-2291
                                   brenckman@fr.com
27
28
                              3
                                                CASE NO. 3:17-CV-00159-L-JLB
     Dated: April __, 2018        Respectfully submitted,
1
2                                 SHEILA DASHNAW, WILLIAM
                                  MEIER, AND SHERRYL JONES
3
4                                 By their attorneys,
5
                             By:
6                                  Jason H. Kim
7                                  Todd M. Schneider
                                   SCHNEIDER WALLACE
8                                  COTTREEL KONECKY &
9                                  WOTKYNS LLP
                                   2000 Powell Street, Suite 1400
10                                 Emeryville, CA 94608
11                                 Tel: (415) 421-7100
                                   Fax: (415) 421-7105
12                                 tschneider@schneiderwallace.com;
13                                 jim@schneiderwallace.com
14                                 and
15
                                   Aubry Wand
16                                 THE WAND LAW FIRM
17                                 400 Corporate Point, Suite 300
                                   Culver City, CA 90230
18                                 Tel: (310) 590-4503
19                                 Fax: (310) 590-4596
                                   awand@wandlawfirm.com
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                                                CASE NO. 3:17-CV-00159-L-JLB
1                            SIGNATURE CERTIFICATION
2
3          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administration

4    Policies and Procedures Manual, I hereby certify that the content of this document is

5    acceptable to Jason H. Kim, counsel for Plaintiffs, and that I have obtained Mr.

6    Kim’s authorization to affix his electronic signature to this document.

7
8                                               By:
                                                      R. David Hosp
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                                                                 CASE NO. 3:17-CV-00159-L-JLB
Exhibit 11
New Balance and the plaintiffs in Dashnaw, et al. v. New Balance Athletics, Inc. have amicably
resolved claims on behalf of California consumers who purchased certain models of athletic
shoes containing 70% or more domestic content and marketed as “Made in the USA.” New
Balance marketed the shoes in question with disclosures stating, “Where the domestic value is at
least 70%, we label our shoes ‘Made in the USA.’” While New Balance stands behind its
marketing of its “Made in USA” shoes, this settlement will allow the company to focus on its
mission of employing American workers in its five domestic manufacturing facilities, and
creating and marketing the finest athletic shoes available.

The claims in the lawsuit asserted that, under California law, unqualified “Made in the USA”
claims can be made only for products for which the domestic content is 95% or greater, and that
New Balance’s claims were unqualified. New Balance contended that it made qualified—rather
than unqualified—claims due to its 70% disclosure statements and, as such, its marketing was
truthful and not deceptive.

Under the terms of the settlement, New Balance has agreed to continue to disclose its 70%
standard, and make its disclosures even more prominent in connection with its shoes marketed as
“Made in the USA.” New Balance will also create a fund of $750,000, which will be used, in
part, to pay class members up to $10 per pair of “Made in the USA” shoes purchased.

New Balance maintains its commitment to its American workers, and stands behind its
marketing of its “Made in the USA” shoes. This settlement does not signal the company's
agreement with plaintiffs’ claims in the litigation.
